                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                         AT KNOXVILLE

  JESSE PIERCE and MICHAEL PIERCE,                    )
  on behalf of themselves and all others              )
  similarly situated,                                 )
                                                      )
                  Plaintiffs,                         )
                                                      )
  v.                                                  )      No. 3:13-CV-641-CCS
                                                      )
  WYNDHAM VACATION RESORTS, INC., and                 )
  WYNDHAM VACATION OWNERSHIP, INC.,                   )
                                                      )
                  Defendants.                         )

                                     MEMORANDUM OPINION

          This case is before the undersigned pursuant to 28 U.S.C. § 636(c), Rule 73(b) of the

  Federal Rules of Civil Procedure, and the consent of the parties, for all further proceedings,

  including entry of judgment [Doc. 193].

          This matter came before the Court on October 10, 2017, for a bench trial, which continued

  through October 27, 2017. After the bench trial, Defendants filed a Motion for Partial Findings

  and Conclusions Regarding Representative Evidence [Doc. 403]. Plaintiffs filed a Response [Doc.

  407] in opposition to the Motion, and Defendants filed a Reply [Doc. 412]. Further, both parties

  filed their Proposed Findings of Fact and Conclusions of Law [Docs. 417, 418], and Responses

  thereto [Docs. 420, 422, 424, 425], which the Court has considered. Accordingly, for the reasons

  further explained below, the Court DENIES Defendants’ Motion [Doc. 403] and will enter a

  decision in favor of Plaintiffs.




Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 1 of 157 PageID #: 16183
  I.      BACKGROUND

          The Court has repeatedly summarized the background of this case. The Court, however,

  finds the background information helpful in its decision and will again summarize the history of

  this matter.

          By way of background, Defendants (collectively, “Wyndham” or “Defendants”) provide

  family destination vacations. Customers purchase points that may be used for vacations at

  Wyndham resorts or other locations. Wyndham employs three groups of sales representatives: (1)

  Front-Line Sales Representatives, (2) In-House Sales Representatives, and (3) Discovery Sales

  Representatives. Wyndham’s Tennessee operations span to four Wyndham properties. The Smoky

  Mountain Region includes two properties located in Sevierville: the Crossing and the Lodge. The

  Wyndham Nashville (“Nashville”) and the Wyndham Resort at Fairfield Glade (“Glade”)

  comprise the other Tennessee region.

          The Complaint in this matter was filed on October 23, 2013. [Doc. 1]. The Complaint

  alleges that certain sales representatives who worked at Defendants’ offices worked off the clock

  and were not paid for working in excess of forty hours in a work week. [Id. at ¶ 2]. The Complaint

  alleges that Defendants willfully violated the Fair Labor Standards Act (“FLSA”). [Id. at ¶ 3].

  The action was conditionally certified on August 21, 2014. [Doc. 84]. Specifically, the collective

  action was defined as follows: Current and former non-exempt, commission-paid: (1) Front-Line

  Sales Representatives, (2) In-House Sales Representatives, (3) Discovery Sales Representatives,

  who were employed at Defendants’ Tennessee Resorts between October 21, 2010, to October 31,

  2013.

          After the District Judge conditionally certified this action, the parties spent several months

  disputing over the proposed notice and opt-in form. The District Judge entered an Order with



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 2 of 157 PageID #: 16184
  respect to the appropriate notice and opt-in form on June 1, 2015. [Doc. 125]. Subsequently, on

  May 31, 2016, the parties consented to the undersigned for all further proceedings. [Doc. 193].

  The undersigned set a scheduling conference, but it was continued so that the parties could

  participate in mediation. [Doc. 197]. The mediation was unsuccessful, and the Court conducted

  a scheduling conference with the parties on September 15, 2016. [Doc. 203].              During the

  scheduling conference, the parties stated that they had agreed to allow Defendants an additional

  twenty-four (24) depositions. [Id.]. The Court also set a hearing to address sample representation

  and allowed the parties to file briefs regarding the appropriate sample representation. [Id.].

         At the hearing, Plaintiffs proposed a sample representation of two groups: (1) opt-in

  Plaintiffs who worked as sales representatives at one of Defendants’ four Tennessee resorts for

  more than six months (Group 1); and (2) opt-ins Plaintiffs who worked as sales representatives at

  one of the Defendants’ four Tennessee resorts for less than six months (Group 2). [Doc. 215].

  Through random sampling, Group 1 consisted of 35 representative Plaintiffs (out of 139 opt-in

  Plaintiffs), and Group 2 consisted of 13 Plaintiffs (out of 25 opt-in Plaintiffs). [Id.]. Thus, both

  groups represented 25% and 50% of each group, respectively. [Id.]. At the hearing, Defendants

  argued that there should not be any sample representation in this case. [Id.]. Defendants continued

  that they should be permitted to take each and every Plaintiffs’ deposition. [Id.]. After hearing

  from both parties, the Court limited discovery to the Plaintiffs’ representative sampling because it

  appeared to be “fair and proportional to the needs to the case” and would “minimize the burden of

  Plaintiffs and their counsel while still allowing the Defendants an opportunity to depose these

  alleged representative Plaintiffs to determine the similarity and ability to serve as representatives

  and/or to determine if there is any basis to their various defenses.” [Id.]. The Court continued:

                 Once the parties complete discovery of the representative Plaintiffs,
                 if the Defendants contend that either the Plaintiffs’ claims or the


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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 3 of 157 PageID #: 16185
                 Defendants’ defenses are too distinct or too individualized to permit
                 this subset of representative Plaintiffs to be used to establish a
                 collective class action and/or liability and/or damages, then
                 Defendants may move for either additional discovery beyond the
                 representative list and/or try to establish class decertification.

  [Id.]. Later, and because Defendants had earlier agreed with the Plaintiffs to take only twenty-four

  additional depositions, Defendants moved the Court to allow them to depose the remaining

  members in the Plaintiffs’ sample representation. The Court granted [Doc. 254] Defendants’

  request.

          On June 30, 2017, Defendants moved for decertification, which this Court denied [Doc.

  362] on October 3, 2017.1     In its decision, the Court analyzed the three-factor test outlined in

  O’Brien v. Ed Donnelly Enters. Inc., 575 F.3d 567, 584 (6th Cir. 2009), abrogated on other

  grounds by Campbell-Ewald Co., v. Gomez, 136 S. Ct. 663 (2016), and found that Plaintiffs were

  similarly situated to proceed to trial as a collective action. [Doc. 362]. With respect to Defendants’

  arguments that the representative proof in this case was inadequate, the Court held that Plaintiffs

  met their burden to proceed as a collective action but whether Plaintiffs had actually presented

  representative testimony of liability and damages of the collective action was reserved for trial.

  [Id. at 12].

          As mentioned above, the case proceeded as a bench trial on October 10, 2017, and

  continued through October 27, 2017. The Court will summarize the testimony below.

  II.     EVIDENCE

          Plaintiffs presented live testimony of twenty-six witnesses. In addition, they submitted the

  deposition testimony of five Plaintiffs and four defense witnesses. [Doc. 414-1]. They also

  submitted depositions of rebuttal witnesses. [Doc. 416]. Defendants presented live testimony of


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           The Court notes that it granted both parties additional time to brief the motion. [Docs.
  226, 257, 282, and 301].

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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 4 of 157 PageID #: 16186
  nine witnesses. They also designated thirty-two depositions. [Doc. 351].           The Court will

  summarize the live testimony below.2

         A.      Plaintiffs’ Evidence

         Due to the volume of the testimony and the number of exhibits submitted at trial, the Court

  will not separately summarize each individual witnesses’ testimony.          The Court will only

  separately summarize the testimony of a few witnesses, such as the managers, who provided

  background information. The Court will then summarize the remaining testimony collectively by

  location.

         1.      Kristen Creson

         Kristen Creson (“Creson”) testified that she was employed with Fairfield in 1999 and

  stayed with Fairfield until it was purchased by Wyndham in 2000 or 2002. [Doc. 378 at 11]. While

  employed with Wyndham, she worked in several positions, including positions in accounts

  payable, contract processing, and quality assurance. [Id. at 12]. In addition, she worked as an

  inventory analysist in Orlando, Florida. [Id. at 14].

         Creson testified that in January 2004, she began working as the administration manager at

  Wyndham’s Nashville location. [Id. at 16]. This change in position was a promotion. [Id.] She

  testified that she was responsible for everything, such as building maintenance, accounts payable

  and receivables, and payroll. [Id. at 16-17]. She was the highest level of authority with respect to

  administration. [Id. at 17]. She worked as the administration manager in Nashville from January

  2004 through May 2013. [Id. at 19]. She testified that she left her position because Wyndham




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           Although the Court has reviewed the parties’ deposition designations, the Court will not
  summarize the depositions. The Court will discuss the deposition designations in section III to the
  extent that they are relevant to the Court’s analysis.

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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 5 of 157 PageID #: 16187
  asked her to leave, explaining that Wyndham was tired of her complaining about payroll issues,

  which turned out to be the issues in this case. [Id. at 20].

         She explained the hierarchy in Nashville with respect to sales: site vice president, site

  director of sales, sales managers and then sales representatives. [Id. at 21-22]. She stated that

  prior to January 2009, sales representatives were classified as exempt. [Id. at 26]. In January

  2009, Wyndham reclassified its sales representatives, companywide, as overtime eligible (i.e.,

  non-exempt). [Id.]. She believed this change was a result of a lawsuit that was filed in Las Vegas.

  [Id.]. She explained that in January 2009, Wyndham changed its compensation plan, wherein sales

  representatives received an hourly pay, plus overtime, in addition to commission. [Id. at 26-27].

  The hourly pay was minimum wage. [Id. at 28]. The minimum wage pay and the overtime pay

  on the minimum wage was “recoverable” by Wyndham. [Id. at 29-30]. The overtime pay on

  commissions, however, was “not recoverable” by Wyndham. [Id.]. Creson stated that she noticed

  in the financial documents a new line item shortly after January 2009, which was called “non-

  recoverable overtime pay.” [Id. at 30]. Management did not know what the new line item meant,

  but it was Creson’s job to determine its meaning. [Id. at 30-31]. She was able to determine that

  this new line item was non-recoverable overtime commission pay. [Id. at 31]. Creson explained

  that “recoverable” means that Wyndham takes the minimum wage overtime pay back out of the

  sales representatives’ commissions and that “non-recoverable” means that Wyndham does not take

  the overtime pay back out of sales representatives’ commissions, and it would go directly to the

  employees in addition to their commissions. [Id. at 32].

         Creson stated that upper management, including the site vice president, the director of

  sales, and the director of marketing expressed concerns of having to pay overtime to sales

  representatives because it adversely affected the net operating income. [Id. at 41-42]. Overtime



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 6 of 157 PageID #: 16188
  pay affected upper management’s compensation plan because the compensation plan included a

  component for a net operating income bonus. [Id. at 42]. Creson testified that the better bottom-

  line performance at a site equaled a higher compensation for upper management. [Id. at 42]. In

  order to handle this new overtime pay, Creson testified that upper management in Nashville

  instructed everyone that sales representatives could not receive overtime and that they had to

  manage their hours. [Id. at 46-47]. She explained that upper management included the site Vice

  President, Dave LaBelle, and the Directors of Sales, Jerry Prosise and Mike Carneal. [Id. at 48].

  Creson continued that when the classification of sales representatives was changed from exempt

  to non-exempt, she was told to “doctor” timecards to show less than forty hours, and thus no

  overtime worked, on the time records. [Id. at 34].

         The sales managers were also told that sales representatives could not receive overtime.

  Sales representatives were instructed to clock in while they were with customers but to clock out

  if they were not with customers, despite continuing to work. [Id. at 49, 51]. Sales representatives

  were instructed to show under forty hours per week. [Id. at 51]. Creson stated that sales

  representatives had hectic days, so Dave LaBelle and Jerry Prosise told Creson it was her job to

  ensure that sales representatives showed less than forty hours on the time records. [Id. at 52]. She

  was instructed to, and did, use WynTime to “doctor” time cards in order to ensure Sales

  Representatives showed less than forty hours on their time records. [Id.]. She stated that in

  Nashville, it was her responsibility and her staff’s responsibility to “doctor” time. [Id. at 59]. She

  explained that she used WynTime on a daily basis to input lunches on timecards and to clock sales

  representatives out early. [Id.]. She stated that she was instructed to, and did, whatever was

  necessary to keep sales representatives’ time records showing under forty hours per week. [Id. at

  59-60]. She testified that she did not know whether sales representatives actually took a lunch



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 7 of 157 PageID #: 16189
  break and that with respect to her edits, 90% of them were done to keep sales representatives’

  hours under forty and were not made as legitimate time edits. [Id. at 60].

         Creson testified that each month, she attended meetings with the site vice president and all

  other department heads, such as site marketing, administration, resort management, human

  resources, training director, and the quality assurance director. [Id. at 32-33]. Sometimes, the area

  Vice President, Dave LaBelle, would also attend the meetings.3 [Id. at 33]. During these meetings,

  each department head briefed issues and accomplishments. [Id.]. Creson stated that she brought

  timecards with her to these meetings to make it a point to them that she needed signatures for the

  corrections. [Id. at 33-34]. She testified that the timecards she brought to the meetings had been

  doctored and that she brought them to show examples of missing signatures. [Id. at 34]. She

  testified that she refused to make timecard “corrections” without the sales representatives’

  signatures. [Id.]. She stated that she wanted the help of the site managers to obtain the sales

  representatives’ signatures. [Id. at 34-35].

         Creson testified that she grew tired of being the middle man. [Id. at 61]. She explained

  that she became the middle man because when she attempted to obtain signatures on the edited

  timecards from the sales representatives, they stated that the edited time was not correct. [Id.].

  She directed them to talk to their sales manager. [Id.]. Creson testified that she eventually

  transferred the doctoring/editing of time records to sales managers because sales representatives

  were not part of her staff and sales managers should have been editing the time. [Id.].

         She testified that everyone knew this (i.e., altering timecards) was happening at every level

  because she sent emails on Tuesdays, Wednesdays, and Thursdays. [Id. at 52]. She began sending


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           Creson testified that Dave LaBelle was promoted to area Vice President and that as area
  Vice President, he was responsible for all Tennessee resorts (Nashville, Glade, and the Smokies).
  [Doc. 378 at 44]. He was also responsible for the overall performance of the Tennessee sites as
  the area Vice President.

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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 8 of 157 PageID #: 16190
  emails because sales representatives and sales managers did not care about details, and she was

  tired of cleaning up their mess. [Id. at 53]. She explained that on Tuesdays, she identified the

  sales representatives who (1) had thirty-two hours or more, (2) had missing “punches,” or (3)

  worked more than five hours per day without a recorded break. [Id.].4 She put their names in an

  email that she sent to the site vice president, the site In-House and Front-Line Sales

  Representatives, the sales managers, and to her corporate counterparts, Corey Miller and Mellissa

  Camper, the regional administrative directors. [Id. at 53-54]. She sent these emails so that the

  sales managers would be aware of the issues with the timecards and they could then doctor/edit

  the timecards identified.        [Id. at 54].        The subject line of the emails were

  “WynTime/payroll/employee information for the week.” [Id.]. She testified that she sent these

  emails for years. [Id.]. She continued that Miller and Camper never called or inquired about the

  emails. [Id. at 57].

          Creson testified that the emails were important because time was of the essence since sales

  managers could make changes in WynTime during the current pay period. [Id. at 62]. Once the

  pay period closed, however, sales managers did not have access to make WynTime changes, and

  she would have to do it for them. [Id.]. She stated that the pay period closed Friday at 8 a.m.,

  eastern standard time, despite Nashville being located in central time zone. [Id.]. If the managers

  failed to reduce hours, then Creson made the edits. [Id.]. She tried to avoid having to make the

  edits by sending the emails (discussed above) while the pay period was still active. [Id.]. She

  continued that the managers’ edits were similar to the edits she made, including edits showing

  three hour lunches or showing that a sales representative left early, such as 1:00 p.m. [Id. at 63].

  She stated that some managers would get lazy and just put 9 a.m. to 5 p.m., or the exact same start


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           The Court notes that during the trial the word, “punches,” was used to describe entering
  the time worked in the time clock.

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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 9 of 157 PageID #: 16191
  and end time, to the minute every day and testified, “You can’t get any lazier than that.” [Id. at

  63-64].     She continued that they (managers and herself) had no choice but to edit sales

  representatives’ time. [Id. at 64]. She explained that the site vice president and the director of

  sales instructed her and the sales managers to edit sales representatives’ time. [Id. at 65].

            Creson further testified that she did not like falsifying timesheets and that she expressed

  her concerns to Dave LaBelle because she had a good working relationship with him. [Id. at 65-

  66]. She also expressed concerns to Miller and Camper and to Dottie Justice (who was either the

  area Human Resource Officer or the regional Human Resource Officer). [Id. at 66]. She recalled

  telling Justice that falsifying timesheets was a “lawsuit waiting to happen.” [Id.]. She also

  expressed her concern during the sales meetings and testified that she viewed as the “squeaky

  wheel.” [Id.].      Creson stated that when she complained to LaBelle, Prosise, or Justice, “their

  response was to blow [her] off.” [Id.]. Creson was told the sales representatives needed to

  “manage” their time and time records and if they cannot, Creson was to “help” them. [Id. at 66-

  67].

            Creson also testified that she attended business unit meetings, where she would meet with

  her counterparts from other resorts at Corporate in Orlando, Florida. [Id. at 67]. She continued

  that after one meeting, a few individuals went to dinner, including Pam Borger, the Administrative

  Director in South Florida; Judy Warren, the Administrative Director in Orlando; Amanda Pedigo,

  the Administrative Director at the Glade; and Donna Parton, the Administrative Director at the

  Smokies. [Id. at 68-69]. Creson explained that during dinner, they discussed as follows:

                   We all had our own individual policies of how we doctored the time
                   and how we went about getting signatures and covering our tails. So
                   we just started bouncing ideas off of each other, who did what, how
                   they did it, and who they assigned it to. Because we didn’t have
                   time as admin directors to do it all the time, so we had to have
                   assistants that did some of our legwork for us.


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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 10 of 157 PageID #: 16192
  [Id. at 71]. Creson explained, “We all shared what we were doing.” [Id.].

         Defendants did not cross examine Creson, and thus, did not challenge Creson’s testimony

  on a single point. Nor did Defendants call Dave LaBelle, Corey Miller, Mellissa Camper, Dottie

  Justice (or any of the individuals that she had dinner with in Florida) as witnesses to rebut her

  accusatory testimony regarding their knowledge and instructions as to “doctoring” time sheets of

  the sales representatives.

         2.      Testimony of David Nelon

         David Nelon (“Nelon”) worked as a manager and as an In-House Sales Representative at

  the Crossing during the Recovery Period.

         Nelon testified that he began working for Fairfield Communities, Inc., in July 1980. [Doc.

  375 at 85-86]. Nelon stated that Fairfield Communities, Inc., changed its name to Fairfield Resorts,

  which then became part of Syndic Corporation. [Id. at 87]. Syndic Corporation split into four

  companies that eventually became Wyndham. [Id. at 87-88]. He retired from Wyndham in April

  2014. [Id. at 88]. Throughout his years employed with Wyndham, he worked at various locations,

  including Lake Lure, North Carolina, and the two locations in Sevierville, Tennessee. [Id. at 91,

  99]. Nelon testified that he did very well at Wyndham, citing his status as a “Legend,” which

  means he was given extra benefits by the company, including invitations to attend President’s

  Trips as a top sales representative. [Id. at 99-102].

         In 2009, Nelon testified that he left Lake Lure, North Carolina, and went to work at the

  Smoky Mountains. [Id. at 123]. He noted that he had worked long hours at Lake Lure, but more

  at the Crossing because it was “a machine.” [Id. at 108]. He described the three different types of

  Sales Representatives: (1) Front-Line Sales Representatives; (2) In-House Sales Representatives;

  and (3) Discovery Sales Representatives. [Id. at 117-118]. He continued that it was the same


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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 11 of 157 PageID #: 16193
  selling process with all three positions: meet with customers, close, and follow-up. [Id. at 119,

  122]. In-House Sales Representatives attempted to sell to people who already owned timeshares.

  [Id. at 118]. Front-Line Sales Representatives attempted to sell to people who did not already own

  a timeshare. [Id. at 118, 120]. Discovery Sales Representatives attempted to sell a discovery

  package to people who had declined an offer from the In-House Sales Representative or the Front-

  Line Sales Representative. [Id. at 118]

         Nelon continued that regarding the Recovery Period (October 21, 2010, to October 31,

  2013), he was employed from October 21, 2010, to July 19, 2012, he was employed as a manager

  at Wyndham. [Id. at 140]. He was employed as an In-House Sales Representative from July 19,

  2012, to October 31, 2013. [Id. at 178].

         Nelon testified that Wyndham began requiring employees to clock in and out “roughly” at

  the end of 2009, while he was still employed at Lake Lure. [Id. at 126]. When Wyndham began

  using the time clock, Wyndham instructed him to clock in when he arrived, clock out within six

  hours, and then clock back in and out during the day. [Id. at 126-127]. Even though sales

  representatives did not take breaks, they were required to show a break on their timecard. [Id. at

  127]. When explaining why breaks were not taken, Nelon testified that timeshare sales are

  different than many other businesses “because you’re running and gunning, as they say in the

  office, all day long.” [Id. at 128]. Nelon testified that there was no time for a break. [Id.]. Nelon

  testified that taking lunch breaks did not start until sometime after 2013 and that immediately after

  the instant lawsuit, several changes were made, including not providing customers with the sales

  representatives’ cell phone numbers. [Id. at 128-29].

         Nelon testified that as a manager he had to ensure that sales representatives’ timecards

  reflected a break before six hours and ensure that timecards did not show more than forty hours



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 12 of 157 PageID #: 16194
  worked. [Id. at 130-31].      With respect to breaks, Nelon testified that he would log in to the

  computer and review his sales representatives’ hours, and if anyone had more than six hours, he

  would adjust the time to show a break. [Id.] He testified that no one ever mentioned that sales

  representatives could receive overtime and that “[e]verybody would have been clocked in and

  clocked out and we wouldn’t be here today if we knew that there was overtime.” [Id. at 131]. He

  testified that he adjusted his sales representatives’ hours as required every Thursday before the

  timecards were turned in on Friday mornings. [Id.]. He testified that no one ever explained that

  sales representatives were legally entitled to overtime based upon commission rates for all hours

  worked over forty. [Id. at 133]. He testified that as a manager, it was his responsibility to ensure

  that the time records of the sales representatives stayed under forty hours and that the actual

  number of hours actually worked were not reflected on the time sheets because they “had no

  relevance.” [Id. at 134]. He continued that the sales representatives who he supervised were all

  actually working in excess of forty hours per week but that he was instructed by management to

  adjust their timecards and to do so by Thursday night. [Id.].        Accordingly, their actual time

  worked was not reflected on their timesheets.

         Nelon testified that the sales representatives had a hard time remembering to clock in and

  out because there was no incentive to do so. [Id. at 140-41]. He stated that he was not sure how

  it worked at other locations, but he received emails on occasion from Amanda Hill, the

  commissions analyst, asking him to obtain a sales representative’s signature on the WynTime

  sheet, which showed that the hours had been altered. [Id. at 141, 48]. He explained that the

  company did not care about the actual break time as long as the timecards reflected a break. [Id.

  at 141-42]. In addition, he stated that corporate did not care about the time of arrival reflected on

  a timecard, as long as there was some arrival time reflected. [Id.]. He stated, “They explained it



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 13 of 157 PageID #: 16195
  was about liability.” [Id. at 142]. He continued that there was simply no attempt to be accurate.

  [Id. at 179].

          Nelon testified that all managers had access to WynTime, the computer program used to

  document hours. [Id. at 141, 143]. As an example of how hours were altered, Nelon identified

  an email from Amanda Hill requesting Jim Acee’s and John Geissberger’s approval to insert

  breaks for sales representatives’ timecards that showed more than six hours a day. [Id. at 147, Ex.

  930]. With respect to Jesse Pierce, there were no hours on his timecard, so Hill requested

  permission to alter his timecard to show that he worked from 8 a.m. to 5 p.m. for five days. [Id.

  at 149, Ex. 930]. Geissberger responded within seven minutes, stating, “Approved.” [Id. at 156,

  Ex. 930]. Nelon stated that this is an example of similar emails that he received from Hill. [Id.

  at 155]. He stated that Geissberger was the Director of Sales for In-House Sales Representatives

  and that Jim Acee was the Director of Sales for Front-Line Sales Representatives. [Id. at 155, 157-

  158]. In addition, Nelon testified that the sales representatives identified in the email did not

  usually take lunch breaks and that he (Nelon) did not confirm with the sales representatives that

  the alterations to their timecards were correct. [Id. at 150-52, 156].

          Nelon explained that it was the sales representatives’ responsibility to clock in and out

  sometime during the day and to make sure that they reflected a break on their timecards. [Id. at

  153]. It was the managers’ responsibility to double-check the sales representatives’ timecards and

  that it was Amanda Hill’s responsibility to double-check the managers to ensure that the timecards

  were completed before Thursday. [Id.]. Nelon stated that with respect to employees who needed

  a lunch break, Hill usually just inserted a break for those sales representatives from 11:00 a.m., to

  11:30 a.m., and that she adjusted other timecards to reflect an arrival time of 8:00 a.m., and a

  departure time at 1:00 p.m. [Id.]. After the changes were made, Nelon stated that he was required



                                                   14

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 14 of 157 PageID #: 16196
  to obtain the specific sales representative’s signature on a Missed/Changed Punch Notification

  Form (“Punch Form”) and that the Punch Form was then placed into a binder. [Id. at 163]. A

  Punch Form shows the date and the time that was changed and an “explanation” or reason for the

  change. [Id.]. Nelon testified that, normally, the explanation provided on the Punch Form was

  “forgot.” [Id.] The explanation on the Punch Form was usually completed by the manager, and

  the explanation provided was normally fictitious. [Id.]. Nelon testified to receiving a number of

  emails from Hill, wherein Hill adjusted time cards and instructed him to obtain the sales

  representative’s signature on the Punch Form. [Id. at 159-68, Ex. 976]. Nelon continued that the

  sales representatives’ time as reflected in the company’s records is “all bogus.” [Id. at 168].

         Nelon testified that Geissberger instructed him to make sure that breaks were reflected in

  WynTime and sales representatives’ hours shown were no more than forty in WynTime. [Id. at

  170-71]. Geissberger stated that the company was no longer going to pay overtime. [Id.]. Other

  managers said the same, including Larry Whaley and Lisa Jarvis, who were both senior managers.

  [Id. at 172-74]. Nelon testified that he was constantly changing time records. [Id. at 177]. He

  continued that all managers “were taught to do the same by the same people in the same way.” [Id.

  at 178]. He clarified that as a manager, he was aware that sales representatives’ time records did

  not accurately reflect the time that they actually worked and that he did not think it mattered since

  “they were not going to get paid on it or compensated or benefited by it at all.” [Id. at 180]. Nelon

  stated that for example, with respect to Ronald Banks, he (Nelon) clocked him in at 5:00 p.m., and

  then realized that he (Banks) was close to forty hours, so he clocked Banks out at 5:12 p.m. [Id.

  at 216-17. [Ex. 1619A].       Nelon continued that it was his specific responsibility as Banks’s

  supervisor to alter his time. [Id. at 217]. Nelon testified to other examples of altering time cards,

  similar to the above alterations. [Id. at 218-228, Ex. 1619B, 1619C, 1622A, 1622B]. For instance,



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 15 of 157 PageID #: 16197
  on Terry McGlothin’s Punch Form, [Ex. 1622A], the reason provided was, “Forgot was too busy!”

  Nelon stated that this meant that McGlothin was on a table or out on a tour, working. [Id. at 226].

  The other Punch Form for Terry McGlothin, [Ex. 1622], stated, “Busy.” [Id., Ex. 1622B]. Nelon

  clocked out sales representatives, even though he knew that at that time they were still working.

  [Id. at 218-223].

          Nelon testified that Terry McGlothin was on his team. [Id. at 259]. Nelon stated that there

  was a situation with McGlothin not having insurance coverage for a medical issue. [Id.].

  Apparently, this was due to his time records not showing enough hours worked to qualify for

  coverage. [Id. at 259-61]. John Geissberger spoke with the managers and the employees and

  stated, “Look, make sure, when you clock in and out—we’ve got to make sure that you’re having

  at least 30 hours show upon the clock.” [Id.]. Nelon stated that John Geissberger sent him an

  email on July 19, 2013, stating as follows:

                 You are responsible for doing you[r] wyntime clocking in and out,
                 as well as keeping up with how many hours you have each week.
                 You must have an average of 30 hours a week or 1250 hours in a 12
                 month time frame, if you have less then that you would not have full
                 support of the wyndham programs. Please respon[d] to this email.

  [Ex. 658]. Nelon responded, “I will keep track,” and testified that Geissberger was aware that

  sales representatives were working many hours and that the clocking in and out was fictitious. [Id.

  at 258-59]. He explained that Geissberger was explaining in this email, “If you want to keep your

  insurance, you better show up on that clock—at least 30 hours that show up on the clock.” [Id. at

  260].

          Nelon testified that the hours on his own timecards were not accurate and that he worked

  more hours than they reflected. [Id. at 375 at 182-83, Ex. 387]. In addition, he testified that the

  hours on his earnings statements were also incorrect. [Id. at 187-88, Ex. 60]. When asked whether



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 16 of 157 PageID #: 16198
  Wyndham’s time records during the Recovery Period, which reflected Nelon averaged 29.4 hours

  per week, were accurate, Nelon testified that the average was incorrect. [Id. at 202-03, Ex. 3245].

  He continued that during his time at Wyndham, a senior manager or the director of sales reviewed

  different policies and that he had to acknowledge that they reviewed the policies with him [Id. at

  205]. Nelon testified that there were many times that he was instructed to sign a document or face

  disciplinary action. [Id. at 206].

         As mentioned above, Nelon was also an In-House Sales Representative during the

  Recovery Period. [Id. at 118]. He stated that every day the managers and the sales representatives

  had a meeting. [Id. at 175]. In addition, part of his duties as an In-House Sales Representative

  was to “run tours.” [Id. at 108-110]. A “tour” simply refers to visiting a unit and attempting to

  arrange an appointment with the timeshare owner at the office. [Id. at 110-11]. Nelon testified

  that it would take approximately an hour to two hours for each tour. [Id. at 109]. Tour sheets,

  which included the owner’s name, room number and account number, were distributed in the

  morning. [Id. at 110]. Before taking a tour, Nelon testified that he reviewed the owner’s timeshare

  history to give him an idea of the vacations that the owner likes to take and whether the owner was

  losing any points. [Id. at 112].     He also obtained a packet that the marketers put together,

  brochures of activities in the area, and a gift Wyndham provided. [Id.]. The goal of the tour is to

  schedule an appointment to come back to the office. [Id. at 113].5 The length of tours varied from

  twenty minutes to several hours. [Id.]. A meeting with the owners in the unit is called “setting

  the hook.” [Id.]. Nelon testified that he conducted three to four tours per day. [Id. at 246]. He

  stated that once an appointment was set, a sales representative received another tour or if the




         5
             The follow-up appointment was commonly referred to as a “continuance.”

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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 17 of 157 PageID #: 16199
  appointment was immediately after the visit to the unit, the sales representative would continue

  with the appointment. [Id. at 238].

         Nelon testified that tours were set in waves, which meant that the marketers scheduled the

  tours at different times. [Id. at 249]. In between tours, sales representatives continued working,

  such as making telephone calls, preparing for the next day, and discussing work with other sales

  representatives. [Id. at 249-50]. The ideal situation is for a sales representative to conduct a tour

  in the morning and schedule an appointment with that customer and then come back to the office

  for an appointment that was set from the previous day. [Id.].

         With respect to closing a contract, Nelon testified that when a contract was entered into the

  system, the paperwork would be put into a stack for the quality assurance department. [Id. at 253].

  The quality assurance officer would review the paperwork for approximately thirty minutes and

  then met with the customers with the sales representative present. [Id.]. Once the customer signed

  the paperwork, the quality assurance officer took the paperwork to the contracts department to

  make copies. [Id. at 254]. The quality assurance officer came back to the office to answer

  questions about ownership and then the sales representative escorted customers back to the office

  area. [Id.]. The sales representative also escorted the customer to his/her car and later completed

  a follow-up sheet. [Id. at 255].      Nelon testified that back-enders and front-enders were both

  required to stay and close the deal. [Id. at 258].6 Nelon identified an email dated July 11, 2012,

  from John Geissberger to Nelon and several other individuals that stated as follows:

                 All,

                 I have said this over and over both reps must stay for the closing!
                 Any rep that is not on site at the time of the closing will be on
         6
          The Court notes that sometimes two sales representatives closed a deal: front-enders and
  back-enders. Front-enders worked with the customers in the beginning of the process, and back-
  enders assisted front-enders on closing the deals.


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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 18 of 157 PageID #: 16200
                    overage all day on their next work day with a coaching note in their
                    file!

                    Any manger letting this happen will get a coaching note as well.

                    End of story.

  [Id., Ex. 1046].

          Nelon testified that the closing process on average took approximately an hour and fifteen

  minutes. [Id. at 255]. Nelon further testified that there were times that he was not clocked in

  during a closing. [Id. at 255-56, Ex. 3236].7 With respect to Exhibit 3236, Nelon testified that

  the entries in blue describe situations that he or his manager clocked him out before the closing of

  the contract was completed. [Id. at 256-57]. He stated that the yellow entries indicate that he was

  not clocked in. [Id. at 252]. The red entries indicate situations where he closed a contract but he

  did not clock in at all that day. [Id. at 255].

          Nelon stated that during the Recovery Period as a sales representative, he worked

  approximately fifty to sixty hours per week, which did not include the time that he spent working

  away from the premises. [Id. at 228-29]. For instance, he was required to follow up with owners

  or present owners with a certificate for an extra week’s vacation. [Id. at 229, 232-33]. He also

  participated in platinum appreciation weekends, wherein Wyndham would invite existing owners

  to the resort. [Id. at 230]. He stated that all sales representatives were required to send letters to

  customers and provide customers with their personal cell phone number so that customers could

  contact them after hours. [Id. at 232]. Nelon further identified an email dated January 17, 2012,

  that he sent to Matthew Chodak, the senior Sales Manager and Nelon’s supervisor. [Id. at 234-36,

  Ex. 1024]. The email is entitled, “Commitment Meeting,” and Nelon explained that they had a




          7
              The Court observes that Exhibit 3236 was used for a majority of Plaintiffs’ testimony.

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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 19 of 157 PageID #: 16201
  meeting to discuss the plans for the year. [Id. at 234]. The email states, “Every night do your

  home work,” which Nelon stated means to send letters and call owners every night. [Id. at 236].

         Nelon also testified that sales representatives would participate in nightline. [Id. at 237-

  38]. He explained that typically many owners check in after 4:00 p.m. [Id. at 237]. When owners

  checked in, a marketer would let the owner know that a sales representative would visit the unit in

  thirty minutes to an hour to check on the unit and answer questions about his/her ownership. [Id.].

  The sales representative was given a tour sheet with the owner’s information, and the sales

  representative visited the unit to attempt to schedule an appointment with the owner. [Id.]. Sales

  representatives attempted to schedule these appointments immediately after visiting the unit or the

  following day. [Id. at 238]. The sales representative tried to schedule the appointment at times

  that the sales representative did not have a tour or if a sales representative was working with a

  back-ender, the sales representative would try to schedule the appointment when the back-ender

  was also free. [Id.].

         Nelon testified that he usually began his workday at 7:30 a.m., and stopped his workday at

  roughly between 5:30 p.m. and 8:30 p.m. [Id. at 239]. He continued, however, that there were

  occasions where he went home but continued working. [Id.]. He testified that he spent roughly

  twelve hours per week making telephone calls, writing letters, and participating in party

  appreciation weekends and nightline. [Id. at 249-50]. The average number of hours that he

  testified to above did not include these additional twelve hours. [Id. at 240]. He explained that

  he arrived at that estimate by calculating his arrival time at 7:30 a.m., and his departure time, which

  was normally 5:30 p.m., to 8:30 p.m., on a daily basis. [Id. at 241]. He stated that his wife quit

  cooking supper because they never were able to eat together. [Id.].




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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 20 of 157 PageID #: 16202
         Nelon testified that sales seemed to slow down in January but the amount of time and effort

  put into making a sale and following up on sales did not change at all. [Id. at 243]. Nelon stated

  that in January and February, sales representatives reviewed old tour sheets and called owners

  using their notes from the tour sheets.      [Id. at 243-44].   In addition, sales representatives

  participated in road shows where they visited restaurants and hotels and invited owners back to

  the hotels and restaurants. [Id. at 244].    Finally, Nelon testified that a day involving tours,

  telephone calls, and follow-ups was a typical workday for all the sales representatives that he

  worked with and that he supervised. [Id. at 261].

         On cross examination, Nelon testified that sales representatives thought it was a waste of

  time to clock in and out because Wyndham recouped the hourly wage that sales representatives

  received. [Id. at 263-64]. He stated that he never told sales representative that someone else could

  clock them in and out. [Id. at 268]. He continued that no one complained that his/her time was

  not recorded correctly. [Id.]. In addition, he identified a few of his earning statements wherein he

  was paid overtime. [Id. at 284, Ex. 60]. Further, Nelon testified that he signed several documents,

  including the Salesperson Agreement, the Business Principles, Employee Policy Handbook,

  Timekeeping and Overtime Policy. [Doc. 377 at 12-16, Ex. 4023A-C, 4035]. In addition, Nelon

  identified his W2 statements, reflecting the amounts that he earned at Wyndham during the

  Recovery Period. [Id. at 18, Ex. 4037].

         The Court notes that Nelon’s testimony regarding John Geissberger, Amanda Hill, Lisa

  Jarvis, and Larry Whaley was not impeached, nor were these individuals ever called witnesses by

  Defendants.




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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 21 of 157 PageID #: 16203
         3.       Testimony of Jeff Cross

         Jeff Cross (“Cross”) testified that he worked as a manager and as a sales representative at

  the Glade. Cross stated that he currently works for Wyndham as a Senior Sales Associate at the

  Glade. [Doc. 383 at 150]. He began working for Wyndham in the 1980s when the company was

  named Fairfield. [Id.]. He left the company “for a while” and came back in April 2007. [Id.].

  He testified to the following dates of employment with Wyndham, along with his positions:

                 May 2010 to August 2010, he was an In-House Sales Manager;

                 August 2010 to September 2011, he was the Senior Sales Manager;

                 September 2011 to August 2012, he was a selling manager; and

                 August 2012 to January 2013, he was a Senior Sales Representative.

  [Id. at 151-52]. He took a leave of absence in January 2013 and came back in April 2013 as a

  Senior Sales Representative, which is his current position. [Id. at 152].    As the In-House Sales

  Manager, his duty was to manage the team of representatives and to drive revenue for the site. [Id.

  at 153]. As the Senior Sales Manager, he was in charge of all the sales managers, making sure that

  they managed the teams and drove the results on the sales floor. [Id.] He testified that the senior

  sales manager position is the equivalent of the director of sales position at the other locations.

  During that time, he supervised In-House, Discovery, and Front-Line Sales Managers. [Id.].

         Cross testified that in 2009, when Wyndham began using a time clock, he was an In-House

  Sales Representative. [Id. at 156]. He testified that managers instructed the sales representatives

  that their timecard must reflect a lunch break, regardless whether a lunch break was taken. [Id.]

  In addition, managers stated that sales representatives could not be clocked in while they were not

  on tour and that no one could receive over forty hours.           [Id.].    Management told sales

  representatives the above during sales meetings every morning. [Id. at 157]. With respect to how



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 22 of 157 PageID #: 16204
  sales representatives were paid, Cross testified that they were told by management that they would

  be paid a minimum wage upon clocking in, which had to be paid back. [Id.]. He testified,

  “Obviously, the more time you spent on the clock, the more money you had to pay back.” [Id.].

  They were never told overtime would be paid on commissions. [Id.]. He continued that he was

  instructed to clock out and continue working by managers. [Id. at 158].

         Cross testified that when he was a manager, he was instructed, and thus instructed his sales

  representatives, to clock out and continue working. [Id. at 159]. He instructed them to clock out

  while they were not on tour, even though they were not allowed to leave the site and they continued

  working on other matters. [Id.]. When asked why he instructed his sales representatives to clock

  out and continue working, he testified, “Because we were told – and I was told – to tell them that

  they had to pay that money back. And the fact that it was affecting bonus hurdles, it affected the

  bottom line, the profit of that site, the NOI, it was a chain reaction to everything.” [Id. at 159-60].

         Cross continued that as a manager, he received daily emails from Camille Combs, the

  Human Resource Representative for the Glade. [Id. at 160-61]. The emails included information

  regarding sales representatives’ timecard entries, including whether they were missing a punch,

  whether they were approaching thirty-two hours, or whether they had made a sale while they were

  not clocked in. [Id. at 161]. Cross stated that if a sales representative was approaching 32 to 38

  hours, he/she was instructed to clock out and continue working. [Id.]. Combs sent these emails

  to the in-house manager, the front-line manager, the discovery manager, and the senior manager.

  [Id.]. If there was no senior manager, she sent the email to the director of sales. [Id. at 162]. She

  also sent the email to the site vice president, who was Pat Burk at the time and then later Mike

  Carneal. [Id. at 161-62]. Cross testified that he heard conversations between Combs and Carneal

  about altering sales representatives’ time in the computer instructing her that no one gets overtime



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 23 of 157 PageID #: 16205
  and to keep the time under forty hours. [Id. at 162]. Cross testified that he did not complain about

  working off the clock because he understood that overtime would just be paid back in

  commissions. [Id. at 165]. He stated that he would not have worked off the clock if he would

  have known that was entitled to overtime on commission. [Id. at 165-66].

          Cross continued that overtime greatly affected the bottom-line profit, which in turn affected

  each manager’s bonus hurdle and the vice president’s, the senior vice president’s, and the area vice

  president’s pay. [Id. at 167]. Cross stated that he heard Vice President Mike Carneal and the area

  supervisor at that time, Dave LaBelle, discuss how overtime incurred would affect the profit of the

  site. [Id. at 168].

          Cross testified that his hours reflected on his earnings statements were a joke. [Id. at 183,

  Ex. 1682, 1685, 1687]. Cross testified that he consistently worked seventy plus hours in a

  workweek during the Recovery Period. [Id. at 168]. He stated that he typically arrived at work at

  7:00 a.m., and worked ten to twelve hours. [Id. at 169]. He continued that when Mike Carneal

  became Vice President, he (Carneal) had an “all in all day” policy, meaning that every sales

  representative was there all the time. [Id.]. In addition, at the Glade, sales representatives

  participated in “late night,” which means that they visited units when guests checked in about 5:00

  p.m. [Id. at 170]. Cross testified that the sales representative tried to “hook” the guest to come

  straight back to the office or the next morning. [Id.]. Cross stated that “late night” typically ran

  until 9:00 p.m. [Id.]. In addition, Cross stated that the sales representatives consistently worked

  “six-ones,” meaning a sales representative worked six days and was off one day. [Id. at 171].

  Cross continued that he personally worked six and seven days per week all the time, once working

  three weeks straight without a day off. [Id.]




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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 24 of 157 PageID #: 16206
           Cross testified that he worked on his days off and that he would work “continuances” on

  his days off. [Id. at 172-73]. He explained that a “continuance” means when a sales representative

  is able to schedule a sales presentation with the customer after visiting with the customer in his/her

  unit. [Id. at 173]. He also came in on his days off to work his hero tour. [Id.].8 In addition, Cross

  testified that he also performed work when he got home, such as making telephone calls. [Id.].

  He further testified that there was an off season at the Glade from January to February but that he

  did not work less hours. [Id. at 175-76]. He explained that he did not work fewer hours because

  he participated in dinner parties and party weekends and Wyndham did not replace people who

  “fall by the wayside” until the first of March. [Id. at 176]. He also traveled during this time for

  road shows to other states, which were week long trips. [Id. at 176-77].

           On cross examination, Cross acknowledged that he was paid overtime on several occasions

  when some cards “got through” and he was on the clock for over forty hours. [Id. at 190-92, Ex.

  1687].       In addition, Cross acknowledged that one Punch Form reflected sixty-three hours of

  work. [Id. at 198, Ex. 4654A]. Cross further acknowledged that he signed several Wyndham

  documents, including Salesperson Agreements, Business Principles, Employee Policy Handbook,

  Timekeeping and Overtime Policy, and the Standards of Performance Agreement, Sales

  Representative. [Id. at 192-93, Ex. 4649A-G]. Cross also testified that he signed the Ownership

  iPad Acknowledgment, which states that he was required to obtain prior authorization from his

  manager before using the iPad for work-related activities to work from home or to work overtime

  hours. [Id. at 194-95, Ex. 4649G]. Finally, Cross identified his earnings as reflected on his W2

  statements from 2012 to 2013. [Id. at 195, Ex. 4655A].




           8
           The Court learned that a “hero tour” means that a sales representative made a sale the
  previous day and is the first sales representative to receive a tour the following day.

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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 25 of 157 PageID #: 16207
         The Court notes that Cross’s testimony regarding Camille Combs, Mike Carneal, Dave

  LaBelle was not impeached, nor were they ever called as witnesses by Defendants.

         4.        Other Testimony

         The Court will now turn to the non-managerial testimony. Although the testimony did not

  vary by location, the Court finds the most logical way to summarize the voluminous testimony is

  to do so by location.

         Plaintiffs presented live testimony of twenty-five Plaintiffs.9 Out of those twenty-five

  Plaintiffs, two Plaintiffs worked in Nashville: Michael Pierce, Sr., and Alana Cheij.10 Further,

  three Plaintiffs worked at the Glade: Jeff Cross, Danny Chappell, and Jimmy Dixon.11 The

  remaining Plaintiffs worked at either the Crossing, the Lodge, or both: James Abbott, Kisa Abbott,

  Claudia Bogardus, James Campbell, Danny Chappell, Russ Cooper, Brenda Davis, James Dodson,

  Belinda Drew, Thomas Garrett, Lee Johnson, Perry Magee, David Nelon, Jesse Pierce, Michael

  Pierce, Sr., Tony Siler, Rebecca Slone, Bobby Stallings, Bryan Tesh, Craig Thrift, and Angela

  Woods.

         a.        Nashville

         As mentioned above, Alana Cheij (“Cheij”) and Michael Pierce, Sr., (“Pierce, Sr.”) worked

  at the Nashville location during the Recovery Period. Because Pierce, Sr., worked primarily at the

  Crossing, the Court will not include his testimony in this section. Cheij’s testimony is summarized

  as follows:



         9
             The only non-party witness that Plaintiffs called was Kristen Creson.
         10
            The Court observes that during the Recovery Period, Michael Pierce, Sr., worked for
  only a few months in Nashville and primarily worked at the Crossing.
         11
            The Court observes that Danny Chappell only worked for a few months at the Glade
  (April 2013 to September 2013) and worked primarily at the Crossing during the Recovery Period.

                                                   26

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 26 of 157 PageID #: 16208
         Cheij was hired in the Spring of 2011 and worked as a Front-Line Sales Representative for

  a few months and then became an In-House Sales Representative. [Doc. 376 at 59]. She testified

  that the jobs were similar but as an In-House Sales Representative, she sold to people who already

  owned timeshares. [Id. at 64]. Cheij testified that she was told she was not permitted to be on the

  clock for over forty hours. [Id. at 61-62]. Cheij stated that it was her In-House Sales Managers,

  Eric Florek and Twila Higgins, told her not to clock in for more than forty hours a week. [Id. at

  63-65]. Cheij continued that Florek made it very clear that sales representatives were not allowed

  to be “clocked in” for over forty hours but “not that we weren’t to work over 40 hours.” [Id. at

  63]. She was told there was no overtime policy. [Id. at 62]. She testified sales representatives

  were verbally reprimanded if they went over forty hours. [Id. at 82]. Cheij testified to a number

  of ways that Wyndham implemented this policy. For example, she was required to reflect lunch

  breaks on her timecard, despite not taking a lunch break. [Id. at 65]. She was also instructed by

  her managers if she was getting to close to 40 hours, to clock out and not to clock in during certain

  times or events, such as in between tours, dinner parties, or nightline. [Id. at 69-85]. She was told

  by Florek that she was required to stay at work, on the property, even if clocked out. [Id. at 83].

  Cheij explained that in between tours, she performed other responsibilities, such as referrals,

  checking on other customers, answering e-mails, or waiting for the next tour. [Id. at 85]. She

  further testified that her work hours were reduced by her managers on the computer and that she

  was required to complete Punch Forms when her managers changed her hours. [Id. at 80]. With

  respect the Punch Forms and timecards, Cheij testified that they do not accurately reflect her actual

  hours at work and that she did not recognize her signature on a few of the Punch Forms and

  timecards. [Id. at 99-100; Ex. 1905]. In addition, she stated that her managers brought her blank

  Punch Forms for her to sign. [Id. at 91-92]. Cheij testified that she was not aware that she was



                                                   27

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 27 of 157 PageID #: 16209
  entitled to overtime pay that could not be recouped. [Id. at 80]. Further, she testified that her

  timecards do not accurately reflect her hours. [Id. at 91].

         Cheij testified that she conducted “tours,” which simply means a sales presentation. A tour

  could last several hours. Cheij continued that after she completed a tour, the customer would either

  purchase or decline to purchase. [Id. at 72]. If the person wanted to purchase, she would write-up

  the proposal. [Id.]. The contracts department would then type the real estate contract, which could

  take a while because there was a significant amount of paperwork. [Id. at 72-73]. In addition,

  the sales representative had to wait his/her turn for the contract to be printed. [Id. at 73]. After

  the contract was printed, the sales representative waited on the quality assurance department. [Id.].

  The quality assurance department actually conducted the real estate closing and facilitated the

  signing of all the paperwork. [Id.]. The quality assurance officer and the sales representative

  discussed background information and the reasons why the customers decided to purchase. [Id.].

  The customers then met with the quality assurance officer and the sales representative to sign all

  the closing documents. [Id. at 73-74]. Once all the paperwork was signed, the sales representative

  provided copies to the customers and walked them to their vehicle. [Id. at 74].

         Cheij testified that she was required to stay through the closing in case the customer had

  any questions. The time it took to close a contract varied from two hours to four or five hours.

  She stated that it depended on how many other sales were occurring, meaning that the contracts

  department or quality assurance department were really busy. She stated that each day was

  different, but on average, she had about four tours per day. She testified that she closed contracts

  while not clocked in. [Id. at 110, Ex. 3236]. In one example, Cheij closed five contracts, despite

  her timecard reflecting that she was not clocked in the entire day. [Ex. 3236].




                                                   28

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 28 of 157 PageID #: 16210
         Cheij testified that she also participated in dinner parties, which were simply sales

  presentations that occur over dinner. [Id. at 84]. Sometimes she would not clock in for dinner

  parties. [Id.]. Cheij testified that her managers, Florek or Higgins, instructed her to not clock in

  and that dinner parties lasted approximately four hours. [Id. at 83-84].

         Further, Cheij testified that she also participated in nightlines. Nightlines occur when sales

  representatives were assigned a tour when a guest checked in to the resort. Nightlines generally

  began at 4:00 p.m., and concluded when guests stopped arriving at the resort, approximately 9:00

  p.m. or 10:00 p.m. Cheij worked nightlines about one or two times per week.

         Cheij also participated in party weekends. Cheij explained that party weekends were

  special promotions where Wyndham invited people to stay at the resort for free in exchange for

  attending a sales presentation. [Id. at 67]. Cheij explained that these occurred one or two times

  per month. [Id.].

         Cheij testified that she worked between five to six days per week both as a Front-Line Sales

  Representative and as an In-House Sales Representative. [Id. at 69]. She testified that she had

  one day off but often she came in on her days off as well. [Id. at 70]. For example, Cheij explained

  that she came in on her day off if a sales presentation from the previous day was continued, but if

  she was close to forty hours she did not record her time. [Id.]. She stated that guests were there

  to enjoy their vacation, so sometimes they had plans and they would return the next day to finish

  the sales presentation. [Id.].

         In addition, Cheij testified that she worked from home. [Id. at 86-87]. Cheij explained that

  she received telephone calls and emails from customers with questions or concerns. [Id. at 87].

  Cheij explained that her managers knew that she worked from home because she discussed her

  work with them the next day. [Id. at 88]. She did not record the time that she spent performing



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 29 of 157 PageID #: 16211
  work at home because it was her understanding that she was not supposed to record that time. [Id.

  at 88-89]. Cheij stated that she averaged about fifty-five hours per week but that average did not

  include the time that she performed work at home. [Id. at 88]. She further stated that she received

  about four to five telephone calls each week and that they would last from thirty minutes to an

  hour. [Id. at 87]. In addition, she spent a couple of hours each week responding to emails. [Id. at

  87-88]. It was her understanding that she was not supposed to record the time worked at home.

  [Id. at 88-89].

          Cheij testified that she complained about working off the clock. [Id. at 104]. She scheduled

  a meeting with human resources, but the meeting never took place. Instead, she was called to meet

  with Dennis Moore, the Director of Sales. [Id. at 106]. Jonas Weather, the Director of Quality

  Assurance, was also in attendance, along with the human resource officer. [Id. at 107-08]. During

  the meeting, Cheij stated that she was working all these hours and not getting paid for it. [Id. at

  107].   She testified that no one responded to her statement. [Id.]. She requested that she be

  transferred to the quality assurance department, and she was permitted to transfer. [Id. at 108-09].

  She stated that when she worked with the quality assurance department, she was paid hourly

  because she no longer received commissions. [Id. at 109]. Cheij resigned from the company when

  she moved to Florida. [Id. at 111].

          On cross examination, Cheij acknowledged that during her deposition, she could not recall

  the amount of time she spent working from home and the number of tours she took each day. [Id.

  at 116]. In addition, she acknowledged that during her deposition, she testified she clocked out to

  take a lunch break once or twice a week during her employment. [Id. at 117]. Cheij testified that

  there were numerous times that she was paid overtime. [Id.].         Cheij also acknowledged her

  signature on several Wyndham documents, including a Salesperson Agreement, Business



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 30 of 157 PageID #: 16212
  Principles, Standards of Performance, Timekeeping and Overtime Policy Acknowledgment, the

  Employee Policy Handbook Acknowledgment Form. [Id. at 124, 133-36, Ex. 3484A, 3494, 3501,

  3496, 3497]. Finally, Cheij identified her earnings as reflected on her W2 statements for 2011 and

  2012. [Id. at 136-37, Ex. 3490].

         The Court notes that Cheij’s testimony regarding Eric Florek, Twila Higgins, Dennis

  Moore, and Jonas Weather was not impeached, nor were they called as witnesses by Defendant.

         b.      Glade

         Three Plaintiffs testified that they worked at the Glade during the Recovery Period: Danny

  Chappell, Jimmy Dixon, and Jeff Cross. The Court has summarized Jeff Cross’s testimony above

  and will not repeat it herein. With respect to Chappell, he worked primarily at the Crossing and

  only a few months (April 2013 to September 2013) at the Glade. Therefore, the Court will only

  summarize Dixon’s testimony below.12

         Dixon testified that he initially worked as a Front-Line Sales Representative at the Glade

  but later became an In-House Sales Representative. Sales representatives were paid an hourly rate

  and a commission, but the hourly pay was recouped once a sale was made. [Doc. 386 at 10-11].

  He stated that overtime pay was also recouped. [Id.]. Dixon testified that he was told to manage

  his hours to ensure that his hours were forty or less during the workweek. [Id. at 11-12]. He was

  never told that he was legally entitled to overtime pay. [Id.]. He testified that, to the contrary,

  during the first few weeks as a sales representative, he accumulated overtime, but the human

  resource representative and his team manager told him that Wyndham does not pay overtime. [Id.



         12
            The Court observes that the testimony of Danny Chappell, Jimmy Dixon, and Jeff Cross
  was consistent, especially with respect to not being allowed to record over forty hours despite
  working more than forty hours and that sales managers altered their timecards to show less than
  forty hours.


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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 31 of 157 PageID #: 16213
  at 12]. He continued that they adjusted his time so that it would not reflect overtime. [Id.]. His

  Sales Manager was Jeff Hughes and the Human Resource Representative was Camille Combs.

  [Id.].13

             Dixon continued that as a Front-Line Sales Representative, the last tour began at 2:00 p.m.,

  and that as an In-House Sales Representative, the last tour began at 3:00 p.m. [Id. at 13]. Hughes

  instructed Dixon to clock out if Dixon was not on tour. [Id.]. Hughes also directed Dixon to clock

  out but continue working. [Id. at 14]. He testified that neither his timecards, nor his earnings

  statements, accurately reflected the actual number of hours worked each week at Wyndham. [Id.

  at 17-18, Ex. 1701, Ex. 1699, Ex. 1703]. He continued that they do not accurately reflect his actual

  hours because team managers helped monitor the time to make sure sales representatives did not

  exceed forty hours per week. [Id. at 18]. Team managers instructed sales representatives to clock

  out and to stay on site while waiting for the next tour. [Id.].

             Dixon testified that Punch Forms were given to sales representatives to make adjustments

  to their timecards. [Id. at 19]. Dixon testified, “For example, if we were supposed to be taking

  lunch, say from 11:30 to noon and we were on a table running a tour, we would work through that.

  And then sometimes before the end of the pay period, Combs would bring the documents to our

  team managers and we would sign the adjustments to keep our time under its appropriate level.”

  [Id. at 19-20]. He stated that the adjustments had to be made by Combs or the team manager. [Id.

  at 20]. The explanation on the Punch Form usually stated, “I forgot,” but that was not an accurate

  explanation. [Id. at 21]. Punch Forms were used to get time under forty hours. [Id.].

             Dixon testified that he averaged fifty-five hours per week and that he worked five to seven

  days per week. [Id. at 22]. Dixon stated that once a sale was closed, he was required to follow-


           Chappell testified that Jeff Hughes was his manager when he worked at the Glade. [Doc.
             13

  383 at 32].

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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 32 of 157 PageID #: 16214
  up with the client by letters, postcards, or telephone calls. [Id. at 24]. Sales representatives were

  required to stay on site during closings and were required to walk the client to his/her car. [Id. at

  24-25]. Dixon stated that he closed contracts while he was not clocked in. [Id. at 25, Ex. 3236].

         Dixon testified that he participated in nightlines, which was when a sales representative

  was assigned a guest when the guest checked in. [Id. at 26]. He testified that nightlines began at

  4:00 p.m., or 5:00 p.m., and he participated in nightlines about three times per month. [Id. at 26-

  27]. He also participated in dinner parties two or three times a month. [Id. at 28]. During a dinner

  party, he met his clients for dinner at one of the restaurants on-site and then the next morning, he

  met them for breakfast and a sales presentation. [Id. at 27]. In addition, he participated in road

  shows, wherein he traveled over the Midwest and the North. [Id. at 28]. He participated in road

  shows during the second week in December but came back for Christmas. [Id.]. He left again

  after the first of the year and traveled until mid-January. [Id.]. He did not clock in for nightline

  or for dinner parties. [Id. at 28-29]. With respect to road shows, there were manual timesheets,

  but everyone recorded the same time because the manager controlled the timesheet. [Id. at 29].

  He continued that the sales representatives recorded the same time and that at the end of the trip,

  it was presented to the sales representatives for their signature. [Id.]. The timecards, however,

  were not accurate. [Id.].

         Dixon continued that there was an off-season from mid- December to mid-January but that

  it did not affect his hours because he participated in roadshows. [Id. at 30]. He further testified

  that he worked from home, sending follow-up letters or cards and making telephone calls. [Id. at

  31-32]. He stated that it was not uncommon to perform work from home and that he on average,

  he spent thirteen hours performing work from home. [Id. at 32-33]. The hours worked from home

  were not included in the fifty-five hours per week that he testified to above. [Id. at 33]. Dixon



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 33 of 157 PageID #: 16215
  was ultimately terminated when he drank after a dinner party and did not pass a breathalyzer that

  his site manager administered to him. [Id. at 33-35].

            On cross examination, Dixon stated that he did not keep a journal of his hours. [Id. at 44].

  In addition, he stated that he could not recall the minimum number of hours that he worked in a

  week. [Id. at 45]. He testified that several of his earnings statements reflected overtime, ranging

  from 15 minutes to 5.25 hours. [Id. at 45-54, Ex. 1699]. He continued that he may have received

  that overtime pay in a pay period but that if he made a sale, it was later recovered. [Id. at 49]. He

  testified that he signed the following documents: Salesperson Agreement (Non-California);

  Wyndham Vacation Ownership Employee Policy Handbook Acknowledgement Form; Business

  Principles Acknowledgement Form; Wyndham Vacation Ownership Timekeeping and Overtime

  Policy Acknowledgment; Wyndham Vacation Ownership Standards of Performing Agreement,

  Sales Representative; and Notices of Corrective Action. [Id. at 54-56, Ex. 3598A-H]. Finally, he

  testified that the Notices of Corrective Action relate to his failure to meet the minimum standards

  for Wyndham’s volume per guest requirements. [Id. at 59].

            The Court observes that Defendants did not call either Jeff Hughes or Camille Combs as

  witnesses to rebut any of Dixon’s testimony.

            c.     Lodge

            There were three Plaintiffs who stated that they worked exclusively at the Lodge during

  the Recovery Period: Lee Johnson, Tony Siler, and Angela Woods. Johnson worked as an In-

  House Sales Representative; Siler worked as a Front-Line Sales Representative; and Woods

  worked as a Front-Line Sales Representative.14 Siler is still employed by Wyndham. [Doc. 377

  at 37].


            14
           The Court observes that Woods’s employment with Wyndham was brief and that she
  only worked from May 2013 to July 2013.

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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 34 of 157 PageID #: 16216
         Siler testified that in 2009, employees began clocking in and out and that Wyndham started

  paying its employees minimum wage and commissions but that Wyndham recovered the minimum

  wage. [Doc. 377 at 39-40]. He stated that he was told not to get overtime because it was something

  they would have to pay back. [Id. at 40-41]. All three Plaintiffs testified that they were not allowed

  to reflect over forty hours on their timecards, despite working more than forty hours each week.

  [Docs. 377 at 41; 378 at 125; 383 at 13]. Siler testified that all three of his managers, Jackie

  Wallace, David Bill and Bryce Berkompas, stated that no one could clock in for more than forty

  hours and that Wallace was “paranoid” about overtime. [Doc. 377 at 51-52].            In addition, all

  three Plaintiffs testified that they were not made aware that they were entitled to overtime for hours

  worked over forty. [Docs. 377 at 39-40; 378 at 128; 383 at 15]. Woods testified that her manager,

  Connie McGlothin, told her to clock out in between tours and to clock in while on a tour. [Doc.

  383 at 12]. Woods stated that while she was clocked out, she shadowed other sales representatives

  or trained on the computer. [Id.]. Siler testified that sometimes managers instructed him to clock

  out while he was still talking to customers and that it was like a code, “Hey, get a lunch break in.”

  [Doc. 377 at 52].

          In addition, all three Plaintiffs testified that they signed Punch Forms. Woods testified

  that she does not believe the adjustments on the Punch Forms were accurate because her manager,

  Connie McGlothin, used the Punch Forms to adjust her time to under forty hours. [Doc. 383 at

  13]. She also stated that she never initiated such changes. [Id.]. Johnson testified that he never

  initiated the changes on the Punch Forms and that most of the time, his managers wrote the

  explanation and that he just initialed. [Doc. 378 at 135-36]. He stated that the Punch Forms were

  usually signed on Wednesdays or Thursdays because time had to be approved on Thursday before

  the deadline. [Id. at 138]. Johnson continued that he signed Punch Forms that were blank. [Id.].



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 35 of 157 PageID #: 16217
  Siler also testified that he signed blank Punch Forms. [Doc. 377 at 55]. He explained that he never

  provided an explanation for the changes and that his managers always wrote the explanation for

  him. [Id.]; see also [Ex. 1993E].

         Johnson testified that his time detail [Ex. 1837] does not accurately reflect the number of

  hours that he worked and that he worked much more than what was reflected in the time detail and

  that there were significant gaps in the time detail. [Doc. 378 at 134]. For example, he explained

  that he rarely worked five hours per day and that there are many days on his time detail that reflect

  only five hours per day. [Id.]. With respect to the changes made on his timecards, Johnson testified

  that many of the initials or signatures were not his. [Id. at 139-41, Ex. 2149A-C]. He also testified

  that he closed contracts on days that his time detail reflected zero hours. [Id. at 143-51, Ex. 1836A-

  F].

         Siler testified that the hours reflected on his earnings statements [Ex. 497] do not represent

  the hours that he actually worked. [Doc. 377 at 56-58]. He testified that, for example, it was

  simple math that a sales representative could not work six days in the summer and only reflect

  seventeen hours per week. [Id. at 58]. He stated that he may have worked twenty hours per week

  in January and February but not in the other months. [Id. at 59]. He explained that in January and

  February, there were not as many tours, unless it was a holiday, such as Martin Luther King, Jr.,

  Day or Valentine’s Day. [Id.]. He stated that a number of the signatures and/or initials on the

  Punch Forms were not his. [Id. at 64-69, Ex. 1993A-H].15 He also testified that he closed contracts

  when he was not on the clock. [Id. at 108]; see also [Ex. 3236].

         Woods testified that neither the time detail, nor her earnings statements, reflected the hours

  that she worked. [Doc. 383 at 17-19, Ex. 1827, 1825]. She explained that she did not want to


         15
            Siler testified that the initials on Exhibit 1993G were his but not the signature. [Doc.
  377 at 68].

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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 36 of 157 PageID #: 16218
  complain about not recording all her hours because she did not want to lose her job and that she

  was unsure if anyone else had complained. [Doc. 383 at 19]. She stated that she did not want to

  be the only person who complained. [Id.].

         With respect to the average number of hours worked, Woods testified that she worked at

  least fifty hours or more each week, Johnson testified that he worked at least sixty hours per week,

  and Siler testified that he worked on average, fifty to sixty hours per week. [Docs. 377 at 59; 378

  at 130, 383 at 16]. Siler continued that in January and February, his average was probably twenty

  to thirty hours per week, unless it was a holiday weekend. [Doc. 377 at 59]. He stated that his

  pay checks would have been correct in January and February. [Id. at 83].

         Siler testified that sales representatives participated in a morning meeting, which typically

  started at 8:00 a.m. [Doc. 377 at 43]. Siler testified that tours came in waves: 8:30 a.m., 10:30

  a.m., and 3:00 p.m. [Id. at 43-46]. He stated that tours typically lasted two hours, unless the

  customer agreed to purchase. [Id. at 46]. He continued that it may take a significant amount of

  time to close a contract, depending on whether the contracts department was busy. [Id. at 48].

  After the contract was typed, the customer met with the quality assurance department, which took

  about thirty to fifty minutes. [Id.]. Siler testified that he stayed on the property during the closing

  in case the customer had a question and that he walked his customers out. [Id. at 50]. He stated

  that the average time to close a contract was about an hour and fifteen minutes. [Id. at 48]. Siler

  testified that he was scheduled five days a week but that in October and on holidays, he typically

  worked “six ones,” meaning six days of work and one day off. [Id. at 51]. He also stated that if a

  sales representative received a sale from the previous day, he/she was expected to work the

  following day, even if it was his/her day off. [Id.].16


         16
            As previously noted, see infra note 8, a “hero tour” means that the sales representative
  was the first to receive a tour because he/she made a sale the previous day.

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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 37 of 157 PageID #: 16219
         Johnson and Siler both testified that they participated in party weekends, in which owners

  were invited to a complimentary stay and the sales representatives took the owners out to dinner

  and to entertainment, and the following day, the owners attended a sales presentation. [Docs. 377

  at 42, 378 at 130-31].       Johnson testified that he also worked nightlines. [Doc. 378 at 131].

  Johnson explained that nightlines were to contact guests who had just checked in. [Id.]. In

  addition, Siler testified that he worked off premises returning e-mails and telephone calls from

  clients. [Doc. 377 at 81].

         On cross examination, Woods acknowledged that she received overtime for ten hours on

  one paycheck. [Doc. 383 at 20, Ex. 1825]. She testified that she was not familiar with nightline

  and did not participate in nightline. [Id. at 20-21]. She stated that there were days in which she

  did not have a tour. [Id. at 21]. She stated that fewer sales representatives where there in the

  evening than in the daytime hours. [Id.]. In addition, she testified that she could not recall the

  fewest hours that she worked in a week, nor could she testify to the largest number of hours that

  she worked in a week. [Id. at 21-22]. She did not keep a written record of the hours she worked.

  [Id. at 22]. She further testified that she did not make any commissions because she never made a

  sale during her employment. [Id.]. She stated that because she did not make a sale, she was

  assigned tours in the afternoon. [Id.].

         On cross examination, Johnson testified that there were times he did not clock in in the

  mornings and that his clock in times were the same, but the lunches and the clock out times were

  fictitious. [Doc. 378 at 152-53]. He testified that Wyndham wanted its top performer to work

  nightlines. [Id. at 155]. In addition, he acknowledged that during his deposition, he testified that

  the slow season began in mid-December as opposed to January. [Id. at 155-56].




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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 38 of 157 PageID #: 16220
         On cross examination, Siler testified that he complained to his manager one time about the

  timekeeping policy but that his manager stated, “It is what it is. We work for commissions.” [Doc.

  377 at 84-85]. He continued that no one wanted to “make a big stink about it.” [Id.]. He stated

  that he worked on average about twenty to thirty hours in January and February and fifty to sixty

  hours per week in the other months. [Id. at 95]. He stated that if he did travel, it would have been

  in January and February and he added two days off to his already scheduled two days off. [Id.].

  He assumed his recorded time in January and February was accurate. [Id. at 96-99].          He also

  stated that he took lunches in January and February but did not lunch breaks during the other

  months. [Id. at 100]. He does not have a personal record of his hours. [Id. at 102].

         All three Plaintiffs testified that they signed a number of Wyndham’s forms, including the

  Salesperson Agreement, Employee Handbook, and Acknowledgment of Time Keeping and

  Overtime Policy. [Ex. 4263, 4245, 4253, 4250, 4254, 4255, 4257, 4258, 3811A-E, 441, 443, 448,

  4438, 4439]. Finally, they all acknowledged their earnings as indicated on their W2 Statements.

  [Ex. 4266, 3817, 4448].

         The Court observes that Defendants did not call Jackie Wallace, David Bill, or Bryce

  Berkompas to rebut the above testimony.

         d.        Crossing

         There were four Plaintiffs who stated that they worked exclusively at the Crossing during

  the Recovery Period: Brenda Davis, David Nelon, James Shannon Abbott, and Bobby Stallings.17

  The Court will also include Michael Pierce, Sr.’s testimony and Danny Chappell’s testimony in

  this section because, as explained above, they spent a majority of time during the Recovery Period

  at the Crossing.


         17
              Nelon’s testimony is summarized above, and the Court will not repeat it here.


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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 39 of 157 PageID #: 16221
         During the Recovery Period, Chappell worked as an In-House Sales Representative, Bobby

  Stallings worked as a Discovery Sales Representative, Brenda Davis worked as an In-House Sales

  Representative, Shannon Abbott worked as an In-House Sales Representative, and Michael Pierce,

  Sr., worked as a Front-Line Sales Representative.18 [Docs. 383 at 30; 389 at 10, 43; 384 at 50; 392

  at 214, 218]. Abbott currently works for Wyndham in California. [Doc. 384 at 49].

         All five Plaintiffs testified that their managers told them that they could not reflect more

  than forty hours on their timecard. [Docs. 389 at 10, 50; 384 at 61; 392 at 245; 383 at 34].

  Specifically, Chappell testified that if he was close to forty hours, his manager directed to him

  clock out or if he was busy, his manager would clock out for him. [Doc. 383 at 35]. His manager

  directed him to sign a Punch Form, and if he did not sign it, he would not be assigned a tour. [Id.

  at 35-36].    Stallings testified that his manager, Rosemary Meyers, instructed the sales

  representatives to clock out for lunch and stay clocked out during the next tour. [Doc. 389 at 11].

  This happened a few times per week. [Id.]. Davis testified that her first manager, Cory Burkhartt,

  told his team that he had “repeat offenders” and that he was tired of having to doctor sales

  representatives’ time. [Id. at 50]. Burkhartt reminded the sales representatives not to be clocked

  in for over forty hours. [Id.]. Davis stated that she had similar conversations with all of her

  managers. [Id.]. For example, Davis testified that another manager, Susan Middleton, specifically

  told her (Davis) to clock out while she was working and that Middleton would interrupt Davis

  during presentations and direct her to clock out. [Id. at 51]. Davis continued that she would excuse

  herself and go clock out and then continue the presentation. [Id.]. Middleton warned that if sales

  representatives’ hours were not under forty, they would be reprimanded, meaning that they would



         18
           Michael Pierce, Sr., testified that he worked as an In-House Sales Representative at the
  Crossing toward the end of his employment in approximately July 2014. [Doc. 392 at 241].


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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 40 of 157 PageID #: 16222
  not receive a tour. [Id. at 52-53]. Davis stated that she began setting an alarm on her telephone to

  remind herself to clock out. [Id. at 52].

         Abbott explained that in 2008, sales representatives were not required to clock in and out

  but in February 2009, Wyndham used time clocks. [Doc. 384 at 70]. He continued that his

  managers, including Kyle Smith, John Geissberger, Susan Middleton, Russ Cooper, Stefanos

  Kambanellos, and Lisa Jarvis, all made it clear that sales representatives could not reflect over

  forty hours on their timecard. [Id. at 71]. He was instructed to clock out but continue working.

  [Id. at 72]. He stated that his managers explained that timekeeping was just a nuisance for legal

  purposes and that sales representatives were paid by taking a client. [Id. at 74].   Finally, Pierce,

  Sr., testified that all of his managers instructed him not to clock in for more than forty hours and

  that he clocked out while he was on tours. [Doc. 392 at 245-246].

         Chappell testified that his managers told him not to worry about clocking out that they

  would take care of that for him. [Doc. 383 at 40]. He explained that if he was going to be at

  Wyndham for ten hours, managers clocked him out after lunch. [Id. at 36]. He continued that it

  was standard operating procedure for managers to enter time and that managers walked around

  with three ring binders that contained Punch Forms. [Id. at 41]. Chappell stated his manager,

  Susan Middleton, presented Punch Forms in the morning before tours and that if sales

  representatives did not sign them, they would not receive a tour. [Id. at 35-36] He further stated

  that David Nelon presented Punch Forms on Wednesdays or Thursdays and that sales

  representatives signed them all at one time. [Id. at 47]. In addition, Chappell testified that

  sometimes he did not even sign the Punch Forms and his managers signed them for him. [Id. at

  41]. He stated that he did not typically take a lunch break and that managers would also clock him




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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 41 of 157 PageID #: 16223
  out for lunch breaks that he did not take. [Id. at 45]. He testified that he also signed blank Punch

  Forms. [Id. at 46].

         Davis testified that it was her responsibility to ensure she did not record more than forty

  hours and that if she forgot, she was called out in meetings and was required to complete and sign

  a form. [Doc. 389 at 54-55]. She testified that Wyndham required her timecards to show a lunch

  break, despite not taking a lunch break. [Id. at 70]. She explained that she could count on one

  hand how many lunch breaks she took during her employment and that when her stomach growled,

  she clocked out. [Id.].

         Stallings testified that he talked to his manager, Rosemary Meyers, about his hours, but

  that she never wanted his timecards to show more than forty hours, which meant that he had to

  clock out early many times. [Doc. 389 at 18]. His manager directed him to not clock back in after

  lunch. [Id.]. He also explained that Meyers brought him blank forms to sign. [Id.]. He was not

  sure what the forms were actually called and stated that Meyers did not share the information on

  the forms. [Id. at 18-19].

         Abbott testified that his managers made sure that he did not reflect over forty hours on his

  timecard. [Doc. 384 at 71]. He stated that he was told to clock out when he was not on tour,

  although he was not allowed to leave the building in case a tour was scheduled. [Id. at 73]. He

  stated that people were constantly checking in, so sales representative needed to be there. [Id.].

         Pierce, Sr., testified that he was given Punch Forms for a couple of weeks at a time to sign.

  [Doc. 392 at 270]. He testified that his managers frequently changed his time. [Id.]. He stated

  that they would add lunch breaks that he did not take. [Id.] In addition, he testified that the

  explanations provided on the Punch Forms were not accurate. [Id. at 271]. He continued that he




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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 42 of 157 PageID #: 16224
  signed blank and inaccurate Punch Forms because if he refused, he would not be given a tour. [Id.

  at 279].

         Further, Chappell testified that Wyndham never told him that overtime could not be

  recouped. [Doc. 383 at 37]. Davis stated that she did not receive any training on the overtime

  policy. [Doc. 389 at 47-48]. Stallings testified that he was not aware that he could receive

  overtime pay for hours worked over forty. [Doc. 389 at 17]. Abbott stated that he was never told

  that he had been reclassified as an hourly employee. [Doc. 384 at 72]. Pierce, Sr., testified that

  he was never told that he was a non-exempt hourly employee. [Doc. 392 at 244].

         All five Plaintiffs testified that the time on their time detail and/or timecards was not

  accurate. [Docs. 389 at 22-23, 55; 384 at 75; 392 at 287; 383 at 44-45] For instance, Chappell

  testified that according to his time detail, he averaged twenty-seven hours per week, which he

  referred to as “ludicrous.” [Doc. 383 at 44, Ex. 1902]. He stated that it also showed two to three

  hours per day, which is a joke because working two to three hours per day was not feasible. [Id.

  at 44-45, Ex. 1902]. In addition, Chappell testified that he knew his timecards were changed

  because when time had been changed in WynTime, a small box appeared where the time was

  changed. [Id. at 46]. He stated that only managers had access to WynTime. [Id., Ex. 1902]. He

  testified that a number of signatures and/or initials were not his on his timecards. [Id. at 48, Ex.

  1902]. He also testified to a number of days that he was not clocked in but closed on a contract.

  [Id. at 56, Ex. 3236].

         Stallings testified that his time detail was not accurate because it showed such few hours

  and that he worked more than what was reflected. [Doc. 389 at 22-23, Ex. 412]. For example, he

  stated that October, or “Rocktober,” was the busiest time of the year, but the hours from October

  9, 2012, to October 23, 2012, do not look right at all. [Id. at 23-24]. He further testified that he



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 43 of 157 PageID #: 16225
  would not have clocked in at 9:59 a.m., 10:01 a.m., or 9:57 a.m., because the morning meetings

  were mandatory. [Id. at 24-25, Ex. 412]. Stallings further stated that as a Discovery Sales

  Representative, his primary goal was to close contracts and that he recalled closing contracts while

  he was not clocked in. [Id. at 28, Ex. 3236].

         Davis testified that her time detail did not accurately reflect the hours she worked. [Doc.

  389 at 56-57, Ex. 365]. She explained that she never clocked out at 12:00 p.m., 1:00 p.m., or even

  5:00 p.m. [Id. at 56, Ex. 365]. She stated that she worked beyond those hours and that she did not

  take two days off a week. [Id. at 56-57, Ex. 365]. In addition, she testified that the hours on her

  earnings statements were not accurate. [Id. at 59, Ex. 113]. She further stated that some of the

  signatures on the timecards were not her signatures. [Id. at 72-73, Ex. 1912]. She continued that

  she absolutely worked more hours than the average number of hours reflected on her pay stubs,

  which was 25.609. [Id. at 76, Ex. 3245]. She stated that her managers fixed her time on the

  computer and that it was no secret that time was altered. [Id.]. Davis testified that she told John

  Geissberger that she would work for Wyndham for a year. [Id. at 45]. She stated that she stayed

  for the year that she promised but that she could not take it any longer because the hours were

  horrendous. [Id.]. Finally, she testified that she closed contracts while not on the clock. [Id. at

  83, Ex. 3236].

         Abbott testified that the time reflected on his timecards was not even close and that his

  timecards show exceptionally low hours. [Doc. 384 at 75]. He stated that his timecards and Punch

  Forms show a consistent forgery of his signatures and initials and that the timekeeping was

  completely off. [Id. at 86]. He estimated that over sixty documents had been forged. [Id., Ex.

  1881B, 1881D-AA]. In addition, he testified that there were numerous timecards/Punch Forms

  that were not signed or initialed by anyone. [Id. at 94, Ex. 1881C]. One of his timecards showed



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 44 of 157 PageID #: 16226
  that he worked two hours the entire week, and Abbott stated that it occurred in July, which is the

  busiest travel month of the year. [Id. at 96, Ex. 1881D]. Another timecard in April showed 3.25

  hours for the entire week, and he stated that because it was Easter week, he would have been very

  busy. [Id. at 99, Ex. 1881I]. In addition, he stated that it took him an hour to drive to work so that

  he would not have worked 1.5 hours per day as shown on the May 1, 2011 timecard. [Id. at 100,

  Ex. 1881J]. He further testified that every year, he left on December 31 for Florida and that he

  stayed there for two months until February. [Id. at 102]. He stated that his timecards during that

  period, which reflected that he worked, could not be accurate because he was in Florida when they

  were signed. [Id. at 102-103, Ex. 1881L, 1881M, 1881Q, 1881S, 1881U]. 19 Abbott testified that

  there were times when sales representatives were scheduled to work six-ones and that he would

  also work on his day off. [Id. at 77, 144]. He stated that in June 2012, John Geissberger sent an

  email canceling all existing vacation and placed the sales representatives on six-ones through

  September 2012. [Id. at 76]. He further explained that October was referred to as “Rocktober”

  and that during this month, he worked every day about twelve to fourteen hours. [Id. at 78]. He

  later explained that if a sales representative received a hero tour, he/she would come in the

  following day to take the hero tour even if it was the sales representatives’ day off. [Id. at 139-

  140].

          Pierce, Sr., also testified that his time detail were not correct. [Doc. 392 at 286-288, Ex.

  392-A, 1488-B]. He explained that some of the signatures on his timecards were not his signatures.




          19
              With respect to Exhibit 1881Q, the top portion of the timecard states that he worked 12
  p.m. to 4 p.m., each day for four days for a total of 16 hours. On the bottom portion of the timecard,
  it states that he worked a total of 36 hours. Abbott stated the inconsistency resulted when managers
  made adjustments after the cut-off period to do so. [Doc. 384 at 112-13].


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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 45 of 157 PageID #: 16227
  [Id. at 274].20 For example, he testified that during March 25, 2011, through March 31, 2011, he

  would not have clocked out at 1:00 p.m., every day, nor would he have worked for three hours

  over a five-day time span. [Id. at 275-75]. He continued that with respect to his timecard dated

  April 29, 2011, to May 5, 2011, he signed it at the bottom but did not write, “+6,” in the middle

  of the timecard. [Id. at 275]. He continued that this was probably an instance where he complained

  about the “numerous times on [his] time clocks” and that the next day he would be called into the

  human resource office to discuss this issue with Kristen. [Id. at 275]. Kristen told Pierce, Sr.,

  “You’re not going to be paid for anything over forty hours.” [Id. at 275]. She then made whatever

  adjustments she needed, and Pierce, Sr., was called to the vice president’s office or Dave Labelle

  talked to Pierce, Sr. [Id. at 275]. LaBelle told Pierce, Sr., that he needed “to carry on.” [Id. at

  276]. When asked about the hours reflected in a June earnings statement, Pierce, Sr., stated that

  he would have absolutely worked more than the hours reflected. [Id. at 278, Ex. 20C]. He

  continued that he was required to sign blank or inaccurate Punch Forms and that if he refused, he

  would not receive a tour. [Id. at 279]. Pierce, Sr., testified that the hours on his timecards and

  earnings statements were not correct. [Id. at 277-303, Ex. 20C, 1488F-1488BB]. In addition, the

  hours on his earnings statements did not match the hours on his timecard. [Id. at 282-83; 285-286,

  Ex. 20E; Ex. 20A, 1488K]. Further, his hours on his time detail did not match his timecard. [Id.

  at 287-88]. He explained that his timecard reflected nine hours on October 29 but that his time

  detail reflected zero hours for the same. [Id. at 286-87]. He explained that the small boxes on

  most of his timecards meant that the timecards had been edited. [Id. at 289]. He testified that he

  closed contracts while he was not clocked in. [Id. at 305; Ex. 3236].




         20
           The Court observes that several of his timecards were generated when Pierce, Sr., worked
  in Nashville. See [Ex. 1488-B].

                                                  46

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 46 of 157 PageID #: 16228
         Pierce, Sr., also testified to receiving an email dated June 27, 2013, from Bryce Berkompas,

  stating as follows:

                 Hello Everyone,

                 To everyone on this list that is hourly, you are currently working an
                 amount of hours that will not let you carry any benefits.

                 The magic number is 30 hours per week to carry and maintain
                 benefits. Some of you are averaging 27 hours and other are
                 averaging 8 hours per week. If you want to know what your average
                 is please respond back to just me on this email, not everyone so I
                 can let you know.

                 This is all about time management!! It is absolutely imperative that
                 you pay more attention to your time clock.

                 If you have any questions please let me know.

  [Doc. 393 at 11, Ex. 925]. Pierce, Sr., testified that he learned that Terry McGlothin had cancer

  and had to come back to work. [Id. at 12]. He continued that the sales representatives were

  averaging twenty-seven hours or less and that the email was to let them know that the magic

  number to carry any benefits was thirty hours. [Id.]. During this time, Berkompas was the Director

  of Sales for Front-Lines Sales Representatives. [Id. at 13]. Pierce, Sr., testified that he wanted to

  confirm his own hours because he was talking to surgeons about having back surgery during the

  off-season. [Id. at 15]. Pierce, Sr., sent an email to Carla Ogle asking for his average number of

  hours, but Ogle did not respond. [Id. at 15-16]. Pierce, Sr., discussed his concerns with Tammie

  Smith, who was with human resources. [Id. at 16-17]. He was later called to a meeting with

  human resources; Berkompas; and Kyle Smith, the Vice President. [Id. at 18]. The human

  resource representative inquired as to who directed him to work while not clocked in and Pierce,

  Sr., stated every manager, including Berkompas, which Berkompas denied. [Id.]. The human

  resource representative accused Pierce Sr., of breaking the law. [Id. at 19]. Subsequently, Dave



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 47 of 157 PageID #: 16229
  LaBelle visited the site and told Pierce, Sr., “Listen, you don’t want to get involved in any of this.

  You don’t want to get involved in a lawsuit.” [Id. at 22-23]. LaBelle stated that with respect to

  Pierce, Sr.’s surgery, the vice president had the ability to overwrite the thirty hours. [Id. at 23].

         All five Plaintiffs testified to the average number of hours that they worked. Chappell

  testified that he worked approximately 65 hours per week. [Doc. 383 at 39]. Stallings testified

  that he worked at least 61 hours per week.21 [Doc. 389 at 19-20]. Davis testified that she worked

  approximately 60 to 70 hours per week. [Id. at 59]. Abbott estimated that he worked 65 to 70

  hours per week. [Doc. 384 at 125]. Pierce, Sr., testified that he averaged about 60 hours per week

  and that his co-workers worked the same amount of hours. [Doc. 392 at 246-48]. In addition, he

  spent 10 to 15 hours performing work away from the site. [Id. at 263].

         Stallings and Davis testified that the mandatory sales meeting began at 8:00 a.m. [Docs.

  389 at 14; 60]. Davis testified that a sales representative was put on overage if he/she missed the

  mandatory meeting. [Id. at 61]. Davis stated that after the meeting, the tours started. [Id.].

  Chappell testified that sales representatives were not allowed to leave the property in case a tour

  came up. [Doc. 383 at 40]. Stallings testified that in between tours, he made telephone calls and

  completed paperwork. [Doc. 389 at 16]. Davis stated that if she was not with a client, she made

  follow-up telephone calls and that most sales representatives worked throughout the day. [Id. at

  66]. Abbott testified that he conducted tours in the morning and continuances in the afternoon.

  [Doc. 384 at 128]. He stated that they were not allowed to leave the property in between tours.

  [Id. at 73]. Abbott stated that Wyndham had what was called a power line for tours, meaning sales

  representatives were assigned tours based on his/her production. [Id. at 126]. This process started



         21
             Stallings testified that he averaged at least fifty-five hours per week but that his average
  did not include the work that he did from home, which was about six hours each week. [Doc. 389
  at 19-20].

                                                    48

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 48 of 157 PageID #: 16230
  at 8:00 a.m., and then the line was cut every day at approximately 2:00 p.m., which was the check-

  in period for VIPs. [Id.]. At that point, Wyndham shifted into the nightline process. [Id.].

  Nightline was not official until 4:00 p.m., but Wyndham wanted someone to take a tour as soon as

  guests checked in. [Id.]. Stallings and Davis testified that sales representatives were required to

  stay throughout the closing of a contract. [Doc. 389 at 15, 77-78]. Pierce, Sr., testified that with

  respect to Discovery Sales Representatives, they were required to stay until after the closing in

  case the deal was canceled so that they could attempt to sell a discovery package. [Doc. 392 at

  255-256].

         Chappell, Abbott, and Davis testified that they participated in nightlines. [Docs. 389 at 89;

  384 at 130; 383 at 39]. Abbott stated that the official nightline process was from 4:00 to 7:00 p.m.,

  but that he consistently took tours up until 10:00 p.m., to 11:00 p.m. [Doc. 384 at 130]. Chappell,

  Davis, Abbott, and Pierce, Sr., also testified that they participated in dinner parties or party

  weekends. [Docs. 384 at 132; 389 at 71; 392 at 249-250; Doc. 383 at 39]. All five Plaintiffs

  testified that they worked from home. [Docs. 392 at 260-261; 389 at 20, 66; 384 at 125; 383 at

  39].

         Abbott and Pierce, Sr., testified to a number of changes after the lawsuit was filed. [Docs.

  393 at 24; 384 at 142]. For instance, they testified that sales representatives began using podium

  presentations instead of visiting units. [Docs. 393 at 60; 384 at 142]. This led to more group

  presentations. [Docs. 384 at 143; 393 at 60-61]. They also testified that Wyndham prohibited six-

  ones. [Docs. 393 at 175; 384 at 144]. Sales representatives were also prohibited from providing

  customers with their cell phone numbers. [Docs. 393 at 175-176; 384 at 144]. Abbott also testified

  that Wyndham, for the most part, stopped nightline and that when Wyndham had nightline, it was

  only one or two times a week. [Doc. 384 at 142-43].



                                                   49

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 49 of 157 PageID #: 16231
         On cross examination, Chappell testified that he was paid some overtime during the time

  he worked for Wyndham. [Doc. 383 at 59]. He also testified that he had no firsthand knowledge

  of how other locations operated other than the Crossing and the Glade. [Id. at 67].        Stallings

  testified that January and February were considered the slower season. [Doc. 389 at 34]. He also

  testified that he did not have any knowledge of the other sites’ operations in Tennessee and that he

  did not pay attention to when other sales representatives clocked in. [Id. at 37].     In addition,

  Stallings testified that he always clocked in about 8:00 a.m. [Id. at 31]. He further testified that

  he took a leave of absence from December 21, 2010, to February 28, 2011, for his open heart

  surgery. [Id. at 35]. He stated that Front-Line Sales Representatives brought him tours and not

  In-House Sales Representatives. [Id. at 37].

          Davis testified on cross examination that not all sales representatives participated in

  nightline or dinner parties and that a sales representative had to have a high volume per guest

  before they could participate in nightline or dinner parties. [Id. at 89-90]. Further, Pierce, Sr.,

  testified that eleven of his earnings statements reflected hours above forty. [Id. at 43-46, Ex.

  5055A]. Each Plaintiff identified their earnings as reflected on their W-2 statements. [Ex. 3349,

  3563, 4300, 4487, 5059]. Finally, Plaintiffs testified that they signed a number of Wyndham’s

  forms, including the Salesperson Agreement, Employee Handbook, and Acknowledgment of Time

  Keeping and Overtime Policy. [Ex. 3443A-H, 4295A-E, 4481A-E, 4481H, 4326, 3553, 3561,

  3560, 5053A-I].

         The Court observes that Defendants did not call Rosemary Meyers, Corey Burkhartt, Susan

  Middleton, John Geissberger, Stefanos Kambellos, Lisa Jarvis, Dave LaBelle, Bryce Berkompas

  to rebut the above testimony.




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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 50 of 157 PageID #: 16232
         e.     Crossing and Lodge

         As mentioned above, there were a number of Plaintiffs who testified that they worked at

  both the Crossing and the Lodge during the Recovery Period: Craig Thrift, who worked as an In-

  House Sales Representative;22 Rebecca Slone, who worked as an In-House Sales Representative;

  James Dodson, who worked as an In-House Sales Representative;23 Claudia Bogardus, who

  worked as a RCI Sales Representative;24 Belinda Drew, who worked as an In-House Sales

  Representative and as a Front-Line Sales Representative; Perry MaGee, who worked as an In-

  House Sales Representative; Kisa Abbott, who worked as an In-House Sales Representative; Brett

  Williamson, who worked as an In-House Sales Representative; Bryan Tesh, who worked as an In-

  House Sales Representative and as a Front-Line Sales Representative; Thomas Garrett, who

  worked as an In-House Sales Representative; Russell Cooper, who worked as an In-House Sales

  Representative and as an In-House Sales Manager; James Campbell, who worked as a Front-Line

  Sales Representative and as an In-House Sales Representative; and Jesse Pierce, who worked as

  an In-House Sales Representative.25




         22
            The Court observes that Thrift spent a majority of the time during the Recovery Period
  at the Lodge and only spent a few months at the Crossing.
         23
            The Court observes that Dodson began his employment in May 2013, just a few months
  before the Recovery Period ended.
         24
           The Court understands that RCI is part of the in-house sales department. RCI Sales
  Representatives sell to guests that are not members, but they are guests of existing Wyndham
  owners. [Doc. 378 at 174].
         25
            The Court observes that Pierce spent a majority of time during the Recovery Period at
  the Crossing and only spent a few months at the Lodge.


                                                 51

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 51 of 157 PageID #: 16233
         Abbott, Tesh, and Garrett testified that in January 2009, Wyndham began using time

  clocks. [Docs. 383 at 81; 389 at 113; 392 at 44-45].26 Pierce explained that in early 2009,

  Wyndham began providing a minimum wage advance and that the compensation was 100%

  commissions. [Doc. 393 at 193-94]. Abbott explained that when Wyndham introduced time

  clocks, Brad Berkompas, the Vice President of Operations, conducted a staff meeting and

  explained that if the sales representatives were clocked in for thirty-two hours, they had to talk

  with their managers so that the sales representative could be monitored. [Doc. 383 at 81].27 Tesh

  testified that when the time clocks were introduced, Wyndham had two different policies: one

  policy on paper (which was over a prior lawsuit) and the other policy was not to reflect more than

  forty hours. [Doc. 389 at 115].

         All Plaintiffs testified that their managers stated that they were not allowed to record more

  than forty hours on their timecards, despite working more than forty hours. Specifically, Slone

  testified that her manager, David Fowler, stated that she was going to get Fowler fired if she kept

  showing more than forty hours on her timecard. [Doc. 376 at 176]. She testified that another

  manager, Susan Middleton, also told her that her timecard could not reflect more than forty hours.

  [Id. at 175-76]. Bogardus was told by her supervisor, Daryl Kracker, that she needed to reduce

  her hours because she recorded too much. [Doc. 378 at 168]. Bogardus began tracking her hours

  and sending them to Kracker and that when she recorded her hours, they were “above 50, 60 hours,

  but they weren’t the 60 hours every week. Sometimes it was 60, 65, 60, 65. It was well over 45

  hours.” [Id. at 168-69]. She testified that Lisa Jarvis and Kracker told her that Wyndham did not




         26
           Garrett testified that Wyndham began using time clocks in January or February 2009.
  [Doc. 392 at 44-45].
         27
              The Court believes his actual name is Bryce Berkompas, not Brad Berkompas.

                                                  52

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 52 of 157 PageID #: 16234
  pay overtime. [Id. at 177].    She met with Lisa Jarvis, who was with human resources, and

  eventually John Geissberger, about her overtime hours, but she was never paid. [Id. at 177-84].

         Abbott testified that she was encouraged to record minimum hours so that she was not

  working on borrowed money.         [Doc. 383 at 84].     She stated that her manager, Stefanos

  Kambanellos, made her “stay low on the clock” and reminded her that the more hours recorded,

  the more money she had to pay back. [Id. at 88]. Williamson testified that his manager, David

  Fowler, told him to watch his timecard and testified that his other manager, Susan Middleton, was

  a “WynTime Nazi.” [Doc. 386 at 81-83].           Garrett testified that his manager, Bernie Reid,

  instructed him to not report more than forty hours. [Doc. 392 at 46]. Cooper testified that as a

  sales representative, he was instructed to clock out but continue working. [Doc. 393 at 99]. He

  testified that when he was a sales manager, he does not recall instructing sales representatives to

  not record over forty hours. [Id.]. He continued that he knew some Plaintiffs testified to that fact

  and that he cannot dispute their testimony. [Id.]. Campbell testified that John Geissberger told

  the entire staff not to show forty hours on their timecards and that he made this statement

  frequently. [Doc. 392 at 161]. Pierce testified that he accidentally clocked in over forty hours and

  that he had a meeting with Jim Acee, Bryce Berkompas, and Jerry Prosise and was “ripped a new

  one” for reporting over forty hours. [Doc. 393 at 113-14].

         All Plaintiffs testified that their managers adjusted their timecards. Tesh stated that when

  David Nelon was promoted as a manager, he (Nelon) asked Tesh to help him edit timecards. [Doc.

  389 at 118]. He testified that Nelon liked selling and not sitting behind a computer. [Id.]. Tesh

  stated that it began with Nelon, but then every manager provided him his/her credentials to access

  WynTime. [Id. at 126]. He testified that he even edited Nelon’s timecard and that John

  Geissberger knew that Tesh edited timecards because they discussed it. [Id.]. He continued that



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 53 of 157 PageID #: 16235
  he edited his own hours in WynTime at the direction of his colleagues and that he honestly did not

  realize that his actions were wrong. [Id. at 125]. He explained, “We weren’t being paid on that is

  what I was being told. It was being taken back, so it didn’t matter.” [Id.]. He stated that it started

  with Nelon, but then he began editing time for Dale Heil, Dallas Smith, Carla Ogle, Devon Brown,

  and some for Stefanos Kambanellos and David Fowler. [Id. at 128]. He edited time at the Crossing

  and the Lodge and later explained, “[T]here wasn’t a manager that didn’t do it. To work there,

  you did it.” [Id. at 137, 140, 142]. He stated that he saw Susan Middleton edit timecards, and that

  he also edited timecards for Chuck Fine and Larry Whaley, who were senior managers of in-house

  sales. [Id. at 142-43]. He explained that he had the managers’ logins. [Id. at 132]. He was also

  given emails from senior managers, such as Dottie Justice and Lisa Jarvis. [Id. at 132-33]. Dottie

  Justice was the head of human resources in the southeast region. [Id. at 133]. Lisa Jarvis was a

  senior manager of the in-house department. [Id.].

          Tesh testified that in WynTime, managers had access to all the sales representatives’ time

  on site and that managers helped each other by reminding one another that a sales representative

  needed a break or that a sales representative was approaching forty hours. [Id. at 130-31]. Tesh

  testified that he altered time daily. [Id. at 144]. He explained that when he made edits in WynTime,

  it showed that an edit was made on that specific time. [Id. at 145].        With respect to how he

  changed time, he stated that he changed the end time, he added a break, or made someone not there

  that day. He continued that he was also required to input the reason for the change in the computer

  and that the standard reason, about 99% of the time, was “missing punch.” [Id.]. He testified that

  there was a written form that had to match the change that was made on the computer. [Id. at 145-

  46]. He handed this form to the sales representatives, and the sales representatives initialed and

  signed the WynTime computer-generated form, and managers signed it at the bottom. [Id. at 146].



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 54 of 157 PageID #: 16236
  He continued that often the managers would sign blank forms and that it was his job to make sure

  everyone filled it in. [Id.]. He printed the payroll from WynTime for the individual that week and

  attached the payroll to the Punch Form, which he then provided to the manager so that the manager

  could place the forms in a binder. [Id.]. Tesh continued that 90 percent of the time, the edits he

  made in WynTime were to reduce hours. [Id. at 147].

         Tesh testified that had a certain style to making edits. He stated that management told him

  that he needed to make edits look legitimate. [Id. at 149-50]. He stated that for instance, many of

  the edits on Exhibit 1870A were perfect entries of clock in times of 8:00 a.m., and clock out times

  of 1:00 p.m., and clock back in times at 1:30 p.m., which were not realistic. [Id.]. He stated that

  he did not make the edits on Exhibit 1870A. [Id.].

         Cooper testified that when he was an In-House Sales Manager, he adjusted timecards upon

  the instruction of Lisa Jarvis and John Geissberger. [Doc. 392 at 100]. They told him to make

  sure that no one was clocked in for more than forty hours and to make sure everyone had a break

  during the day. [Id. at 102].

         All Plaintiffs testified that the hours on their timecards and/or time detail and/or earnings

  statements were not accurate and that many of the signatures and/or initials on the Punch Forms

  were forgeries. Specifically, Plaintiffs testified that the following timecards and/or time detail

  and/or earnings statements were not accurate and that many of the signatures and/or initials on the

  Punch Forms were forgeries:

                    Craig Thrift: Exhibits 1491A-M; 1491P-S

                    Rebecca Slone: Exhibit 1605

                    James Dodson: Exhibit 47




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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 55 of 157 PageID #: 16237
                    Claudia Bogardus: Exhibits 420, 2014, 2014B-D, 61928

                    Belinda Drew: Exhibits 1501, 1919A, 1919B, 1500

                    Perry MaGee: Exhibits 384, 1825, 2069

                    Kisa Abbott: Exhibits 1882, 1882A-I, 280

                    Brett Williamson: Exhibits 214, 512, 1871A-O

                    Bryan Tesh: Exhibits 1870B-D

                    Thomas Garrett: Exhibits 1627A-G, 155

                    Russell Cooper: Exhibits 406, 595, 1907A, 560A

                    James Campbell: Exhibits 363, 83, 1857

                    Jesse Pierce: Exhibits 1482, 1482A-J, 19A-G

         Thrift testified that once it became readily apparent that he would be working a minimum

  of sixty hours each week, his manager, Andy Payne, began taking care of his time. [Doc. 377 at

  161]. Thrift stated that he never clocked himself in or out after the middle of September 2011.

  [Id.]. Pierce testified that his manager, Dale Heil, clocked him in and out. [Doc. 393 at 119].

  Pierce gave Heil his ID number and Pierce observed Heil clocking him (Pierce) in and out. [Id.].

  In addition, all Plaintiffs, except Tesh, testified that they closed contracts while they were not

  clocked in. See [Ex. 3236].29


         28
            Bogardus testified that she signed blank Punch Forms. The Court observes that both
  Bogardus’s and her manager’s signatures on the Punch Forms dated April 13, 2013, April 14,
  2013, April 15, 2013, April 18, 2013, April 21, 2013, April 23, 2013, April 24, 201[3], April 28,
  2013, April 29, 2013, April 30, 2013, May 5, 2013, and May 13, 2013, are unusually identical. For
  instance, when comparing all twelve Punch Forms, all the signatures are located at the exact place
  on the signature lines.
         29
            The Court observes that although Tesh did not specifically testify that he closed contracts
  while he was not clocked in, Plaintiffs submitted an “Off-the-Clock Study” [Ex. 3236], which
  shows that he closed approximately four contracts when his timecard reflected zero hours on the
  days that the contracts were closed.

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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 56 of 157 PageID #: 16238
          With respect to the average number of hours worked during a workweek, the Plaintiffs

  testified as follows:

                Craig Thrift: 65 hours

                  Rebecca Slone: 60 hours

                  James Dodson: 60 to 65 hours

                  Claudia Bogardus: 60 to 65 hours

                  Belinda Drew: 65 hours (as an In-House and Front-Line Sales Representative)

                  Perry MaGee: 72-74 hours30

                  Kisa Abbott: 65 hours

                  Brett Williamson: 60 plus hours

                  Bryan Tesh: 65 hours to upper 80s

                  Thomas Garrett: 60 to 70 hours

                  Russell Cooper: 76 to 87 hours31

                  James Campbell: 70 hours

                  Jesse Pierce: 80 hours32

          All Plaintiffs, except Drew, testified that they worked six days per week, which was

  commonly referred to as “six-ones,” and that sometimes they would work seven days per week.




          30
            MaGee testified that he averaged 65 hours per week but that average did not include the
  7 to 9 hours that he worked from home each week. [Doc. 384 at 286-88].
          31
            Cooper testified that he worked on average 70 to 75 hours per week but that average did
  not include the 6 to 12 hours that he worked off premises. [Doc. 392 at 108, 113].

          32
            Pierce testified that his “extremely conservative” estimate was 65 hours plus but that did
  not include the 15 hours per week of off-site work. [Doc. 393 at 124, 127].


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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 57 of 157 PageID #: 16239
  Specifically, Pierce identified an email, dated June 7, 2012, written by John Geissberger that was

  forwarded to him from Andy Payne, stating as follows:

                   All,

                   Effective immediately, all vacation time that has been
                   submitted or is currently requested off through 9/30/12 has
                   been cancelled. All reps and managers will work 6-1 till the
                   end of 9/30/12, no time off will [be] allowed till then.

                   If you have any questions or concerns, please let me know.

  [Doc. 393 at 145-46, Ex. 1144].

            All Plaintiffs, except Thrift and Campbell, testified that they worked nightlines. See [Doc.

  417-1].     All Plaintiffs, except Slone, Tesh, and Williamson, testified to performing work after

  leaving the premises, such as answering emails and/or telephone calls. See [Id.]. All Plaintiffs,

  except Bogardus, testified that it was very rare to take an uninterrupted lunch break. Specifically,

  several Plaintiffs, including Dodson, Drew, Abbott, Williamson, Garrett, and Cooper, testified that

  they did not take a lunch, although they were directed to show a lunch break on their timecards.

  Further, Dodson, Garrett, Pierce, Slone, Tesh, and Williamson testified that they attended party

  weekends and/or dinner parties. See [Doc. 417-1].

            Finally, Pierce, Garrett, Tesh, and Dodson stated that after the lawsuit was filed, Wyndham

  implemented certain changes. For example, Pierce stated that nightline was eliminated, and Tesh

  stated that Wyndham cutback on nightlines. [Docs. 389 at 176-77; 393 at 175]. Pierce, Garrett,

  and Dodson testified that Wyndham prohibited sales representatives from giving their cell phone

  numbers to clients. [Docs. 392 at 71; 393 at 175-76]. In addition, Pierce, Garrett, Tesh, and

  Dodson stated that Wyndham began conducting sales presentations in large groups (“podium

  presentations”) instead of visiting individual units. [Docs. 389 at 175-76; 392 at 70; 393 at 174-

  75]. Further, Pierce and Garrett stated that “six-ones” was eliminated. [Docs. 392 at 70, 393 at


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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 58 of 157 PageID #: 16240
  175]. Finally, Pierce stated that the net operating income decreased and that he heard Matt Chodak

  and Kyle Smith discuss that the net operating income had decreased after the above changes. [Doc.

  393. at 176-77].

         On cross examination, Thrift testified that only one sales representative had to be present

  during closing, but the back ender could not leave the property. [Doc. 376 at 26]. He testified that

  there are less tours than there are sales representatives and that the people at the bottom of the line

  would not get a tour, which “generally speaking” are the representatives who are not very good

  sales people. [Id. at 31]. In addition, Thrift testified that Mike Pierce was an exception to the

  normal salesperson’s schedule because he would take about two days off a week and would miss

  about one day of work every two weeks. [Id. at 29]. Thrift stated that he may have testified in his

  deposition that another sales representative, Tiffany Nelon, took two or three weeks of vacation

  every year. [Id. at 29-30].

         Thrift stated that he received overtime for the period ending October 25, 2012, in the

  amount of .5 hours. [Id. at 39]. He further testified that his earnings statement for November 8,

  2012, showed that he was paid $3.45 in overtime. [Id. at 41]. When asked whether he received

  overtime for the period ending August 15, 2013, he testified that he did not work a single day that

  week because he was suspended in July 2013 and never returned to work. [Id. at 42-43]. He stated

  that it appeared someone was clocking him in when he was not there because at that time, he was

  either suspended or terminated. [Id.].

         On cross examination, Drew testified that she recognized her signature on a Leave of

  Absence form, stating that she took a leave of absence from January 13, 2012, to February 11,

  2012. [Doc. 384 at 234-35, Ex. 3641B]. She testified that she was not gone for that amount of

  time. [Id. at 236].   She acknowledged, however, that her earning statements showed that she



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 59 of 157 PageID #: 16241
  received short-term disability for the period ending January 26, 2012, through February 16, 2012.

  [Id. at 236-39, Ex. 1500]. She continued that she did not recall taking a leave of absence in July

  and August 2012, but identified her name on a document stating that she took a leave of absence

  from July 10, 2012, to August 20, 2012. [Id. at 239-40, Ex. 3641C]. She further testified that no

  one ever clocked her in or out and that Wyndham was pretty serious about not allowing others to

  clock a sales representative in or out. [Id. at 243].

         In addition, on cross examination, Drew testified that she worked one dinner party and that

  she could not recall if she was paid for her time working the dinner party. [Id. at 243-44]. She

  identified a Punch Form, showing time from 6:00 p.m. to 9:00 p.m., for a dinner party, [Id. at 245,

  Ex. 1919], wherein time was added to her timecard; however, she testified that the signature on

  the timecard was not hers. [Id. at 245-46]. Drew did not recall testifying at her deposition that no

  one instructed her to clock out for lunch and continue working but admitted that is what she

  testified to during her deposition. [Id. at 250].

         On cross examination, Williamson testified that he did not know the maximum, nor the

  minimum, number of hours that he worked in a week. [Doc. 386 at 148].                   Williamson

  acknowledged that during his deposition, he stated that he played the role as a discovery sales

  representative when he/she was busy and that it was the weakest job in the company and that he

  did it for laughter. [Id. at 138]. He testified that he played the discovery representative role

  unofficially when he surveyed customers or took gifts to them but that he did not sell guests a

  discovery package. [Id. at 139]. In addition, Williamson testified that depending on the person,

  a Front-Line Sales Representative’s job was not as hard as an In-House Sales Representatives’ job

  because upgrading an owner is more difficult than selling to a new owner. [Id. at 139-40]. He




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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 60 of 157 PageID #: 16242
  also stated in his deposition that both Front-Line Sales Representatives and In-House Sales

  Representatives had the same amount of tours each day. [Id. at 140-42].

          On cross examination, Cooper testified that he supervised Randy Bonnette and Sean Jeter

  and that they did record some overtime. [Doc. 392 at 123-126, Ex. 4536A, 4894A]. Cooper stated

  that he was not sure how sales representatives operated and how tours were ran at the other

  locations (Glade and Nashville). [Doc. 392 at 126]. Cooper stated that on rare occasions, he left

  at 4:00 p.m. to 5:00 p.m., and that he did not know how many hours other employees worked. [Id.

  at 131-32]. He testified that when he gave his estimate of 70 to 75 hours during direct examination,

  he did not include the time worked away from Wyndham. [Id. at 133]. He acknowledged that he

  testified differently during his deposition and that in his deposition, he stated his 70 to 75 hour

  estimate included all work performed for Wyndham. [Id. at 133-34]. He also acknowledged that

  in his deposition, he testified that he never told anyone to clock out and continue working so that

  the timecards would not show more than forty hours. [Id. at 135]. Cooper also identified an email

  written by Lisa Jarvis, wherein Jarvis lists a number of topics that were discussed in a meeting

  with the managers held on February 13, 2013. [Id. at 136-37, Ex. 3524]. In the email, Jarvis states

  that one of the topics at the meeting was to make “sure sales representatives are clocked in when

  working at all times.” [Id. at 137, Ex. 3524]. He further acknowledged that he testified in his

  deposition that there were some sales representatives who did not care when they arrived to work

  or if they arrived at all. [Id. at 192].

          On cross examination, Tesh testified he did not work from September 24, 2013, to

  November 4, 2013, for knee surgery. [Doc. 389 at 193]. In addition, Tesh testified that he was

  denied FMLA leave for his wife’s illness but that Bryce Berkompas, the head of the In-House




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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 61 of 157 PageID #: 16243
  Sales Representatives, told him to take whatever time he needed, which was in January 2014. [Id.

  at 193-94].

         Further, on cross examination, the following Plaintiffs stated that they did not make a

  complaint to the Department of Labor, human resources, or by calling the hotline: Thrift, Garrett,

  and Campbell. [Docs. 376 at 9-10; 392 at 198; 393 at 84]. Pierce explained that he did not

  complain in 2010 to human resources or to the Department of Labor, or call the hotline to complain

  about the timekeeping policies. [Doc. 393 at 191-92]. Pierce stated that he complained to John

  Geissberger about not qualifying for benefits. [Id. at 192]. Further, Thrift, Williamson, and Tesh

  testified that they did not keep a diary, log, or journal of the hours that they worked. [Docs. 377

  at 16-17; 389 at 194; 386 at 148].

         MaGee and Dodson acknowledged a few times that they were paid overtime. [Ex. 1825,

  147]. Further, several Plaintiffs testified that January and February were the slow season,

  including Thrift, Dodson, MaGee, Williamson, Cooper, and Campbell. [Docs. 376 at 22-23; 378

  at 116-17; 386 at 137; 384 at 319; 393 at 199; 393 at 131]. Williamson testified that in January,

  February, and March, he worked the least amount of hours compared to other months. [Doc. 386

  at 137]. Campbell stated that there were more tours in May through December than January

  through April. [Doc. 392 at 199].

         In addition, Dodson, Bogardus, and Campbell testified the number of tours varied. [Docs.

  378 at 114-15; 384 at 35, Doc. 392 at 199-200]. Campbell stated that the number of tours varied

  depending on the season. [Doc. 392 at 199-200]. Dodson testified that there were days where he

  had one tour. [Doc. 392 at 115]. Bogardus, Drew, and MaGee testified that there were days that

  they and/or other sales representatives did not have any tours. [Doc. 384 at 36, 248, 319]. In




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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 62 of 157 PageID #: 16244
  addition, Drew testified that the time spent with customers varied, and MaGee testified to the same,

  comparing it to the time lawyers spend on different cases. [Docs. 384 at 246-47; 384 at 323].

         Further, Drew testified that hours varied and that she was not aware of how many hours

  other sales representatives worked. [Doc. 384 at 246, 254-55]. Campbell acknowledged that he

  did not have firsthand knowledge about the operations or tours at the other locations (Nashville

  and Glade). [Doc. 392 at 198].

         Bogardus testified that she was not required to shadow other sales representatives but that

  she was told it was within her best interest to make sales. [Doc. 384 at 31]. MaGee admitted that

  in his deposition, he testified that he would be speculating if he tried to guess how much time he

  spent on calls with customers. [Doc. 384 at 306-07]. In addition, MaGee testified that not all

  sales representative worked nightline. [Id. at 323].

         Abbott testified that generally she left between 5:00 p.m., and 8:00 p.m. [Doc. 383 at 133].

  Further, she stated that it was very rare that she left at 2:00 p.m., and that the only time that a 2:00

  p.m., leaving period would have occurred was in January or February. [Id.]. She stated that it is

  potentially true that she only worked nightlines on the weekends and acknowledged that in her

  deposition, she testified it was only on the weekends or holidays. [Id. at 135-36]. She stated that

  in the off season, she worked about eight hour days and that she took that into account when

  determining her average. [Id. at 137]. She stated that her duties and responsibilities were different

  than Front-Lines Sales Representatives. [Id. at 139].        She explained that the only differences

  between them was the type of clients. [Id. at 140].

         Slone stated that she was given corrective actions for failing to maintain volume per guests

  but explained that a sales representative could receive these and then turn around and be at the top

  of the power line. [Ex. 1606]. Bogardus also testified to receiving corrective actions. [Doc. 384



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 63 of 157 PageID #: 16245
  at 32-33, Ex. 3368G-H]. Garrett testified that he was suspended for seven days in January 2011

  for creating a disturbance. [Doc. 392 at 88, Ex. 4774J].

         Finally, Plaintiffs were able to identify their signatures on a number of Wyndham policies.

  [Ex 4386A, 4396, 4402, 1606,33 3368A-E, 3641A, 3660, 3655, 3894B, 3906, 3905A, 3894C,

  5285A, 5309, 5350, 5204A-F,34 4774A-I, 3508A-C, 3521, 3518, 3519, 3430A-C, 3416, 3417,

  3413, 3414, 3415, 4441A-J]. Several Plaintiffs also testified to their earnings as reflected on their

  W2 statements. [Ex. 4391, 4275, 3647A, 5291, 5209, 4780, 3514, 4117].

         The Court observes that Defendants did not call Bryce Berkompas, David Fowler, Susan

  Middleton, Daryl Kracker, Lisa Jarvis, John Geissberger, Stefanos Kambanellos, Bernie Reid, Jim

  Acee, Jerry Prosise, Andy Payne, or Dale Heil to rebut the above testimony. The testimony

  regarding these individuals was not impeached. The Court further notes that Plaintiffs submitted

  deposition designations for David Fowler, [Doc. 414-8], and Defendants submitted counter-

  designations. [Doc. 423-2].

         B.        Defendants’ Evidence

         Defendants presented the testimony of nine witnesses during the trial in this matter. The

  Court will summarize their testimony below.

         1.        Greg Christian

         Greg Christian (“Christian”) testified that he is still employed at Wyndham and that he has

  worked for Wyndham for approximately seventeen years. [Doc. 395 at 15]. He testified that he



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              Slone was questioned about these policies on direct examination.
         34
            Exhibit 5204E is an email regarding Wyndham’s wage and hour policy dated January
  27, 2009. [Ex. 389 at 190-91]. The Court notes that on direct examination Tesh testified that the
  signatures on other Wyndham documents were not his signatures and that they were forgeries.
  [Doc. 389 at 167-69, Ex. 615B-H].


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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 64 of 157 PageID #: 16246
  has worked at various locations during his tenure with Wyndham but that during the Recovery

  Period, he worked at the Crossing as an In-House Sales Representative. [Id. at 15, 18-19].

          Christian testified that the sales meeting began at 7:30 a.m., and that he and Michael Pierce,

  Sr., were exempt from the sales meetings because they were Legends. [Id. at 24]. Christian

  testified that he started his tour at 8:00 a.m. [Id.]. He stated that the next tour rounds were at 10:30

  a.m., and 1:30 p.m. [Id.]. He testified that a tour that resulted in a sale would take about two to

  three hours from tour to sale. [Id.]. He testified that he worked five days per week, and sometimes

  he worked six days a week, if he needed to work or wanted to work. [Id. at 26]. He continued that

  at the most, he averaged 25 to 30 hours per week. [Id.].

          Christian stated that he left work when he was finished with his tours, unless someone

  asked him to stay. [Id. at 26-27]. In addition, he left for lunch quite often. [Id. at 27]. He explained

  that he lived ten minutes from the resort so he often had lunch at his house. [Id.]. He stated that

  Legends have much more freedom. [Id. at 27-28]. He continued that he did not participate in

  nightline tours or party weekends and that not all sales representatives attended party weekends.

  [Id. at 30-31].

          Christian testified that no one ever instructed him to clock out and continue working and

  that no one ever told him to misrepresent his time. [Id. at 32]. He testified that he clocked in when

  he began work and clocked out when he left, for the most part. [Id.]. He explained that there were

  some times he did not clock in or out because he was not perfect. [Id.]. When he forgot, he

  completed a Punch Form and signed it. [Id. at 32-33]. He stated that the Punch Form accurately

  reflected his time. [Id. at 33].

          Christian stated that Pierce, Sr., did not work sixty hours per week. [Id.]. He stated that if

  he or Pierce, Sr., were selling a timeshare, they would be there until 4:00 p.m. or 5:00 p.m. [Id.].



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 65 of 157 PageID #: 16247
  He stated that the day is typically over at 3:00 p.m., to 5:00 p.m. [Id. at 33-34]. He testified that

  January and February were “dead” and that sales representatives went weeks without tours. [Id.

  at 34]. He continued that many sales representatives took their vacations in the winter because

  nothing was happening. [Id. at 34-35]. He testified that he and Pierce, Sr., were both hunters and

  that they left Wyndham during the winter. [Id. at 34]. He stated that the testimony regarding an

  average of sixty hours per week was fabricated. [Id. at 39]. He explained that he was not stating

  that Jesse Pierce did not work such hours but not everyone else. [Id. at 39-40]. He stated that the

  number of tours on a typical day affected sales representatives’ hours. [Id. at 46].

         With respect to Discovery Sales Representatives, Christian testified that they did not arrive

  early and that they arrived after the tour rounds. [Id. at 47]. He stated that they arrived at 9:00

  a.m., and left work around 1:00 p.m., to 3:00 p.m. [Id.]. He continued that only one Discovery

  Sales Representative stayed behind until all the clients were gone. [Id.]. Further, Christian

  identified his time detail and testified that even if he clocked in at certain times, his hours would

  not be over forty per week. [Id. at 48-58, Ex. 6548].

         On cross examination, Christian testified that he was good about clocking in and out. [Id.

  at 61]. He testified that a manager never completed a fraudulent Punch Form for him. [Id. at 62-

  63]. He continued that Front-Lines Sale Representatives were required to report to work at 7:30

  a.m., for the meeting and that if they missed the meeting, they were placed on overage. [Id. at 64-

  65]. “Overage” means that they were moved to the bottom on the line with respect to receiving a

  tour. [Id. at 65]. He explained that if he came in late, he would miss his tour, which was not good.

  [Id. at 67-68]. He continued that it was rare for him to arrive at work late. [Id. at 68]. When asked

  why he punched in late three times in January 2011, he explained that it was the off-season. [Id.

  at 70]. He continued that he did not work long hours in June or July and that only the mornings



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 66 of 157 PageID #: 16248
  were busy. [Id. at 74]. He stated that he worked mornings all year long. [Id. at 76]. When asked

  why his time detail reflected that he clocked in at 11:32 a.m., 11:40 a.m., 2:50 p.m., 11:30 a.m.,

  and 10:17 a.m., and then out at 11:55 a.m., he stated that he probably forgot to clock in those times.

  [Id. at 76-78]. When asked why his time detail in June showed that he worked between 1.75 to

  4.5 hours for certain days, he stated that the hours do not accurately reflect the actual hours and

  that “you have to add the morning hours in there. Like, if I clocked in at 11:00 or whatever time,

  I’m sure it’s there in the morning round. So you have to add those hours back in.” [Id. at 81].

  When asked why many of his clock in and out times were on the precise hour (e.g., 11:00 a.m.,

  12:00 p.m., 1:00 p.m.), he testified, “Because to be that much of a coincidence tells me we had a

  form we would sign in, and like, if we missed a punch, we’d write it in and write out time out.”

  [Id. at 87].

          Christian further testified that he does not think managers edited time to insert lunch breaks

  because that was a fireable offense. [Id. at 98]. In addition, he stated that the quality assurance

  department usually took thirty minutes to an hour and a half. [Id. at 106]. When asked why there

  were thirty-three days showing that he produced contracts but was not clocked in during those

  days, he testified, “I guess I didn’t clock in those days.” [Id. at 121, Ex. 3250].

          2.     Jeanie Willis

          Jeanie Willis (“Willis”) testified that she is currently employed by Wyndham and has

  worked for Wyndham for over twenty-eight years. [Doc. 395 at 149]. She stated that her current

  position is payroll manager and she has worked in that position since before 2011. [Id.]. She

  works in the cooperate office in Orlando, Florida. [Id.] She oversees a team of payroll specialists,

  who process sales representatives’ and managers’ commissions. [Id.]. During the Recovery




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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 67 of 157 PageID #: 16249
  Period, she was the payroll manager, and she supervised payroll for Tennessee sales

  representatives. [Id. at 149-50].

         Willis testified that she was familiar with the salesperson agreements that Wyndham enters

  into with its sales representatives. [Id. at 152, Ex. 4649B]. She stated that such agreements provide

  that commissions are paid in accordance with the “calculating payroll for sales commission

  employees” document. [Id. at 152-53, Ex. 3301]. She explained that all sales representatives were

  required to record their punches in WynTime and that those (draw) hours were paid at their

  minimum wage rate. [Id. at 153]. Pay periods began on Friday and ended on Thursday. [Id.].

  Sales representatives’ “draw” hours or any “draw” overtime was paid on the following Thursday.

  [Id. at 153-54]. She stated that she was familiar with the company policy to accurately report all

  time that was worked. [Id. at 154].

         Willis continued that on an earnings statement, there was an entry called “comm draw reg,”

  which means “commission draw regular,” referring to regular draw hours. [Id. at 155, Ex. 1687].

  The phrase “sales rep inc.” means “sales representative incentive.” [Id. at 155].          This was a

  monthly bonus that was paid. [Id.]. Further, “sales rep comm,” means “sales representative

  commission.” [Id. at 156]. This was the commission that was paid on a contract. [Id.]. She

  further testified that “LTD imputed inc,” means “long term disability imputed income.” [Id.]. She

  stated that it was a benefit paid for by Wyndham and that it was placed on the earnings statement

  as imputed income so that they could be taxed on that amount. [Id.].

         Willis testified that there could be circumstances where an earnings statement showed

  hours that actually fell within more than one pay period. [Id. at 158]. For instance, she explained

  that on one earnings statement, [Ex. 1687], it reflected 48 hours, but the earnings statement does

  not indicate that there was overtime paid. [Id. at 157]. She stated that if there was a historical edit



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 68 of 157 PageID #: 16250
  that was made to a prior timecard to correct the prior timecard, those hours would be included in

  the current cycle hours and that the hours were added together and reflected on the earnings

  statement when they were paid. [Id. at 157-58]. Thus, she explained that if there was a correction

  that was made to a time for a pay period that had already closed, those hours would appear on a

  future earnings statement. [Id. at 158]. She stated that if an employee worked more than forty

  hours within any workweek, he/she was paid overtime. [Id.].

          She testified that she was familiar with Punch Forms. [Id.]. She stated that, for example,

  on one Punch Form, it showed edits for the dates of August 19 through August 23, with an in

  punch of 8:00 a.m., and an out punch of 3:00 p.m., for each day. [Id. at 159, Ex. 4654A]. The

  explanation for the edit was that “Worldwide ID was not working,” meaning an employee’s

  identification number. [Id. at 159-60]. She understood this explanation to mean that the time

  clock did not allow the person to clock in for some reason. [Id. at 160]. The Punch Form was

  used to make corrections to the sales representative’s time. [Id.]. On another Punch Form, she

  testified that it showed seven hours were added for five days as historical edits. [Id. at 160-61, Ex.

  1690]. If the historical edits were not made, the sales representative would not have been paid for

  those 35 hours. [Id. at 161]. In reviewing the earnings statement [Ex. 1687] with the Punch Form,

  [Ex. 1690], she testified that the sales representative worked 35 hours in one week and 13 hours in

  another week and that was why his earnings statement showed 48 hours but no overtime. [Id. at

  161].

          Willis testified that if an employee worked more than forty hours in a week, he/she received

  overtime on the draw payment. [Id. at 162]. She explained that with respect to any overtime hours

  worked in that pay period, Friday through Thursday, the sales representative received time and

  half at his/her minimum wage rate. [Id.]. She stated that on the earnings statement, the “comm



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 69 of 157 PageID #: 16251
  draw OT,” or “commission draw overtime,” means the overtime on the regular draw payment. [Id.

  at 163]. With respect to paying commissions, sales representatives were keyed to the contract into

  a selling representatives function and that with each contract, there was a net volume associated

  with the contract. [Id. at 164]. Based upon the sales representative’s commission plan that he/she

  was assigned, she calculated the net volume multiplied by the commission rate and that equaled

  the commission on the particular contract. [Id.].

         Willis explained that if a sales representative worked overtime, the system calculated the

  commission overtime premium, which was the halftime on the commission based on the date of

  sale and whatever the overtime hours were worked that week. [Id.]. She stated that in calculating

  overtime commissions, the hours that the sales representatives worked that week were taken into

  account to calculate overtime. [Id. at 164-65]. She further explained that the hours that were in

  WynTime were interfaced to the commission payroll system. [Id. at 165].          The commission

  system stored those hours per pay period. [Id.]. When the system calculated the commission

  overtime premium, it reviewed the date of sale, the hours and the overtime hours that were worked,

  and then calculated the commission overtime premium.            [Id.].   WynTime is the Kronos

  timekeeping system that records all the sales representatives’ clock in and clock out punches. [Id.

  at 165]. She continued that once the pay period closes, she extracted the hours from WynTime,

  which were then sent to the commission payroll system where they were stored so that the

  commission system can calculate the overtime premium. [Id. at 165-66].

         Willis stated that sales representatives were paid weekly, every Thursday, and that

  commissions were usually paid two weeks in arrears according to the payroll calendar. [Id. at

  166]. She stated, for instance, the pay period was Friday to Thursday, and the following Thursday




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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 70 of 157 PageID #: 16252
  was when the sales representative received the commission on his/her check, and the calculation

  of the commission overtime premium. [Id.].

         She stated that on a sales commission statement, [Ex. 1638], commission and overtime

  commission appeared under the “qualified commission” section. [Id. at 167]. She explained on

  this particular sales commission statement, [Ex. 1638], there were two contracts listed. The base

  rate column showed the commission rate that was paid. [Id.]. In addition, the commission column

  showed the commission that was paid on the contract. She stated that the system calculated the

  overtime rate and the overtime amount. [Id.]. The commission and the overtime amount were

  added by the system to show the total earnings for each contract. [Id.]. The system used the

  number of hours worked by sales representatives by pay period to calculate the overtime on

  commissions. [Id.]. The sales commission statements were provided to the sales representatives.

  [Id.]. She stated that the “calculating payroll for sales commission employee” document, [Ex.

  3301], described how overtime was calculated on commissions.             She further testified that

  “qualified bonus” on the sales commission statements were the contracts that qualified for the

  monthly bonus. [Id. at 169].

         Willis testified that each compensation plan had a set of bonus hurdles that sales

  representatives needed to reach in order to qualify for the monthly bonus. [Id.]. Bonus hurdles

  were certain amounts in volume of sales that had to be reached in order to qualify for bonuses. [Id.

  at 170]. Overtime was also calculated on the bonuses in the same manner as the commissions

  were calculated. [Id.]. The commission system reviewed the contract date for each contract that

  received a bonus, reviewed the hours that were stored for that workweek, and then reviewed the

  overtime hours worked. [Id.]. The system then calculated the bonus overtime. [Id.]. The bonus




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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 71 of 157 PageID #: 16253
  overtime was the halftime premium based on the overtime hours worked that week. [Id. at 170-

  71].

          Willis continued that on the earnings statement, “comm OT prem” means the “commission

  overtime premium.” [Id. at 171-72]. This was the halftime calculated by the commission payroll

  system for any overtime paid on the commissions or bonuses. [Id.]. She stated that sales

  representatives had access to their earnings statements. [Id. at 172].

          On cross examination, Willis testified that the contract date was the date that the contract

  was sold and that the sale date was the full down payment date. [Id. at 175]. The contract date

  was the date that the system used to calculate any overtime that was paid on the commission. [Id.

  at 176]. If Wyndham received the full down payment on the date of the sale, then the dates

  matched. [Id. at 176-77]. If the full down payment came in later or if it was a pender contract (a

  sale that had been pending some time), the sale date could be a later date than the actual contract

  date. [Id. at 177].

          With respect to the director of sales, vice presidents, and regional directors at the four

  Tennessee locations, they received a base salary, and Willis believed that the net operating income

  (“NOI”) was an incentive. [Id. at 179]. NOI was at least one component. [Id.]. She continued

  that the time entries into WynTime could be adjusted until they became final. [Id. at 182]. The

  site administrator and the payroll team in Orlando had access to edit the timecards. [Id.]. She

  explained that access to edit timecards varied by site. [Id.]. Once timecards were closed, edits

  could be made, but they were entered as historical edits. [Id. at 182-83]. The payroll team in

  Orlando could make historical edits, along with the site administrator, based on his/her WynTime

  access. [Id. at 183]. With respect to whether sales managers could make historical edits, she

  testified, it depended on their access. [Id.]. Willis testified that she could not recall the names of



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 72 of 157 PageID #: 16254
  the site administrators at all four Tennessee locations but that she remembered Amanda Hill was

  the payroll contact for the Smoky Mountains. [Id.]. Willis stated that clocking in and out was the

  extent of a sales representative’s access to Wyntime. [Id. at 185-86].

         Willis explained that the small box on a timecard meant that there was a comment attached

  to the time. [Id. at 189]. The small box does not necessarily mean that the entries were changed.

  [Id.]. She explained that in WynTime with any punch, a comment could be made. [Id.]. She

  continued that if a punch was made, someone could attach a comment to that punch, meaning that

  it was a missed punch or one of the other various comments that were in WynTime. [Id.]. She

  continued, however, that comments were not required on punches. [Id.].

         Willis testified that neither she, nor her team, performed an audit or analysis of the Punch

  Forms or the adjusted time entries to ensure accuracy or compliance with company policies. [Id.

  at 190]. She stated that when the payroll team received a Punch Form, there were usually

  signatures on it, meaning that someone else had already approved those edits. [Id.]. She stated

  that she was not aware that sales representatives took the position that Wyndham changed their

  time entries after they were entered to avoid paying overtime. [Id. at 190]. She continued that the

  payroll department processed thousands of documents and that they process such documents using

  the data that was entered into the system. [Id. at 190-91]. She explained that the payroll

  department assumed the data was accurate because the individuals in the payroll department were

  not there at the site. [Id. at 191]. She stated that she assumed the time records were accurate.

  [Id.]. She testified that the payroll team did not authorize changes to timecards and that they only

  processed timecards based upon the hours that were recorded. [Id. at 204-05]. She further testified

  that if the payroll team received a request for a change, it requested a Punch Form. [Id. at 204-

  05]. She stated that she did not recall Kristen Creson ever expressing concerns to her or her team



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 73 of 157 PageID #: 16255
  about altering timecards in Nashville and that she had not heard that sales representatives

  complained that they worked while not clocked in and that management shaved their time entries.

  [Id. at 206-07].

         Upon questioning by the Court, Willis testified that she assumed that the hours recorded

  were accurate but that she did not know if the hours recorded were accurate. [Id. at 209-10]. She

  explained that the payroll team was responsible for paying the hours and that it was not responsible

  for the shifts that the sales representatives worked. [Id. at 212]. Willis also explained that “sales

  TO” means commission paid on a TO function. [Id. at 213]. She continued that when a sales

  representative was sitting at the table with a customer and was able to finalize a contract, usually

  a senior sales representatives or a sales manager would take over, and the senior sales

  representative or the sales manager would receive a commission for that TO function based upon

  his/her commission plan. [Id.]. “Sales TO” were reported on the commission statement. [Id. at

  214]. She further explained that “management commission” was the sales manager’s commission,

  and the sales manager could get an override on his/her team’s sales. [Id. at 214].

         3.      Dale Topping

         Dale Topping (“Topping”) testified that he is currently employed at Wyndham and that he

  began his employment with Wyndham in September 2012. [Doc. 397 at 15]. He has worked as a

  Front-Line Sales Representative throughout his employment with Wyndham. [Id. at 16].

         Topping testified that he clocked in and out every day. [Id. at 17]. He stated that he usually

  arrived to work at 7:45 a.m., before the meetings. [Id.]. He stated that tours came in waves:

  morning, noon, and afternoon. [Id. at 19]. He stated that the number of waves varied and that

  sometimes there was no afternoon wave. [Id. at 20]. He continued that if he did not make a sale,

  he had no additional responsibilities and turned the customers over to the Discovery Sales



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 74 of 157 PageID #: 16256
  Representatives. [Id. at 21]. He stated that the closing process took fifteen minutes to an hour and

  that he walked his customers out to their car. [Id. at 21-22]. Topping testified that he typically

  worked 30 to 35 hours a week and that he had never worked more than fifty hours a week. [Id. at

  23].

         Topping testified that had sales involving customers that were called “be-backs.” [Id. at

  29]. The term “be-back” refers to a guest who was interested in purchasing and completed many

  of the preliminary closing documents for the contracts department, but he/she had to come back

  the day, or “be back” tomorrow to complete the sale. [Id.]. He explained that typically the guest

  had a show to attend. [Id. at 29-30]. In a be-back situation, Topping stated that the guest’s

  partially-completed paperwork was pushed off until the end of the day, whenever the contracts

  department was caught up. [Id. at 30]. When the contract was generated, it was not necessary for

  the buyer to be present. [Id. at 30-31] In addition, Topping testified that he was familiar with a

  situation called “come good.” [Id. at 32]. He explained that a “come good” means that a guest

  completed the documents but that the deal would not “come good” until the payment was entered.

  [Id.]. He continued that, for example, if a spouse also wanted to enter the contract, the guest would

  leave with the documents and the deal would come good when the signed documents returned.

  [Id.]. The contracts department generated a contract at some point but the buyer, nor the sales

  representative, needed to be physically present at the time the contract was generated. [Id. at 33].

  Topping explained another scenario called a “mail-out.” [Id. at 35]. A “mail-out” means that a

  sales representative spoke with a prospective client and mailed the documents out to the client to

  complete and send back. [Id.]. He stated that with respect to a mail-out transaction, it typically

  took a week, but it could take longer. [Id. at 36]. Finally, he was also familiar with a “blow out,”




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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 75 of 157 PageID #: 16257
  which means the client started the closing process but did not proceed with the completed

  transaction. [Id. at 33-34]

         Topping testified that with respect to generating a contract while he was not clocked in, it

  could have been a be-back or blow out situation or a missed punch.[Id. at 39, Ex. 6549A]. In

  addition, he stated that in any event, if time was added with respect to the contracts that were

  generated while he was not clocked in, he still would not have worked over forty hours for that

  week. [Id. at 43, 48, 52, 56, 60, 64, 66]. He testified that no manager ever said that he could not

  record all his hours and that he recorded his time. [Id. at 77]. Finally, he testified that he worked

  five days per week. [Id. at 78]

         On cross examination, Topping testified that there were some circumstances in which sales

  representatives did not have morning meetings. [Id. at 85-86]. He testified that June, July, and

  October (or “Rocktober”) were the highest volume months. [Id. at 88]. With respect to his time

  detail, he testified that he typically initiated Punch Forms and that the time that he provided could

  have been incorrect because he was not concerned about the exact number. [Id. at 90-94, Ex.

  6549]. He further testified that the transaction date is the date that he submitted the contract to be

  printed. [Id. at 104-105, Ex. 6549A].

         4.      Eric Mitchem

         The Court will briefly summarize the testimony of Eric Mitchem, Ph.D., since his Expert

  Report, detailing his opinions, was filed as an exhibit. [Ex. 3336].

         Dr. Mitchem testified that when a sample does not reflect the characteristics of a

  population, then it has error or bias, which simply mean that the information gathered from the

  sample is not the same as the information that prevails in the entire population. [Doc. 397 at 134-

  35]. There are three categories of error or bias that raises concerns: (1) sampling error, meaning



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 76 of 157 PageID #: 16258
  that it is unclear if the sample accurately reflects the population; (2) non-sampling error, which

  means drawing conclusions about a larger group from a subset that was not constructed using

  commonly-accepted principles; and (3) measurement error, which means that the measurement is

  not precise. [Id. at 135].

          He testified that the way in which Plaintiffs chose the 47 members of their representative

  sample was not in accordance with standards, statistical and scientific practices. [Id. at 138-39].

  He explained that the 47 selected sample representative class members were not randomly selected

  from the larger class of Plaintiffs because the larger class of class members did not have an equal

  chance of being selected. [Id. at 139-40]. If individuals who were once in the sample are no longer

  in the sample, then selection bias can occur. [Id. at 140]. For example, if a class member who

  was chosen for the sample decides that he/she does not want to testify, there are concerns that the

  reason he/she does not want to testify is that he/she does not have much to say about off-the-clock

  hours. [Id. at 140-41]. On the other hand, an individual who worked a lot of time and feels that

  he/she worked many hours off the clock, may want to testify. [Id. at 141]. When asked if selecting

  other individuals to testify as people drop out raises any issues, Dr. Mitchem testified that if they

  are replaced by random, he would be fairly confident in the result but not if they were chosen for

  convenience. [Id. at 141]. He concluded that he does not have confidence that Plaintiffs’ sample

  reasonably reflects the larger population. [Id. at 141-42]. He further concluded that a sample of

  18 who testified live or by deposition out of the original 47 members would create a sampling error

  that is larger. [Id. at 147].

          Dr. Mitchem testified that after reviewing the data for the number of hours recorded on a

  weekly basis, it was clear that there was a large amount of variation in work hours. [Id. at 154].

  He stated that because the number of hours varied so greatly, the conclusion drawn from the sample



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 77 of 157 PageID #: 16259
  could potentially be inaccurate if applied as representative of the entire class. [Id. at 154-56]. He

  continued that sales representatives’ hours varied depending on the number of tours, whether they

  attended a dinner party, whether they made a sale that day or week, and whether they had to call

  customers. [Id. at 155]. He stated that he relied on the hours that the sales representatives recorded.

  [Id. at 156, Ex. 3336]. He testified that given the differences in the number of hours that existed

  from week to week and from person to person and the differences that exist in the additional hours

  that were not recorded, a small sample may lead to a conclusion that is not a reasonably accurate

  portrayal of the larger group. [Id. at 158].

         Dr. Mitchem testified that if there were a sample of 47 individuals and 46 individual

  testimonies were the same, the Court would not need to hear from the remaining person if the 47

  individuals were chosen at random. [Id. at 159]. He testified to the same if the Court had only

  heard from half of them. [Id.]. Dr. Mitchem testified that this is adjusting the size of the sample

  based on the information learned from the sample, and that at some point, the Court could

  reasonably and confidently determine that what it has heard from the smaller sample is an accurate

  reflection of the larger population. [Id. at 160]. Dr. Mitchem continued, however, that this is true

  if the sample that the Court heard from was constructed in an unbiased, scientific way. [Id.].

         Dr. Mitchem testified that Plaintiffs worked in several different roles, had different duties,

  the number of hours worked varied, and the potentially number of off-the-clock hours varied by

  position. [Id. at 164]. In addition, Dr. Mitchem stated that the data showed that the recorded hours

  worked varied substantially from location to location and that the differences between the recorded

  hours at each of the locations was not likely to have occurred by chance. [Id. at 167]. He explained

  that there was something about each location that affected the number of hours recorded. [Id. at

  168]. Further, he described the differences in annual earnings and stated that it is reasonable to



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 78 of 157 PageID #: 16260
  conclude that given the very different level of earnings, these individuals were not working the

  same number of hours. [Id. at 170].

         Dr. Mitchem stated that it is common to take a sample because measuring the entire

  population is simply too costly. [Id. at 173]. He continued that it is possible to estimate the size

  of the sample needed in order to draw a reasonably accurate inference about the larger population.

  [Id. at 172-73]. One of the key pieces of information that is needed, however, is how much

  variation exists in whatever is being measured. [Id. at 173-74]. In order to determine variation, a

  pilot study could be conducted or some other reasonable measurement of the variation could be

  used. [Id. at 174-75]. He further explained that in his report, he used the variation in recorded

  hours as an estimate for the expected amount of variation in off-the-clock hours that Plaintiffs who

  were sampled intended to testify. [Id. at 175]. He explained that the average number of recorded

  hours was 24.7 hours and that the standard deviation in the number of hours worked per week was

  10.5 hours. [Id.]. He testified, “So if we used the recorded hours as an estimate for the likely

  variation in off-the-clock- time or total work time – 10.5 hours is the estimate of the standard

  deviation –then we would need to sample, scientifically and randomly, 150 of the original 164

  plaintiffs in this case in order to get an estimate from the sample that we could conclude within a

  two-and-a-half percent margin of error that the average off-the-clock time is consistent with the

  average off-the-clock time for the entire class.” [Id. at 176]. He further testified that a less precise

  estimate, but staying within a margin of error of five percent of the average, would be to use a

  sample of 119 out of the 164. [Id.]. He further explained his findings in paragraph 40 of his report.

  [Id. at 177-84].

         On cross examination, Dr. Mitchem acknowledged that some of his findings are based on

  the time records and the recorded number of hours. [Id. at 186]. He stated that his conclusions



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 79 of 157 PageID #: 16261
  drawn from the time records are about the recorded time with the understanding that the issue at

  hand in this case is how much additional time Plaintiffs did or did not work. [Id.]. Dr. Mitchem

  testified that his conclusion is that in trying to draw an inference about the entire class of Plaintiffs

  using a subset, the subset does not accurately reflect the larger group. [Id. at 201].

          The Court questioned Dr. Mitchem as follows: “So if one person enters 20 hours for one

  group of people and another group of people enter 30, but all of them worked 50, then the people

  that recorded 20, they worked 30 hours off the clock.” [Id. at 204]. Dr. Mitchem agreed that was

  correct. The Court continued, “And the people that recorded 30, they worked 20 hours off the

  clock.” [Id.]. Dr. Mitchem agreed that was correct. [Id.]. The Court stated, “But at the same

  time, they all worked 50; so they all worked the same amount of overtime.” [Id.]. Dr. Mitchem

  agreed that, under the Court’s hypothetical, that was also correct. [Id.].

          Further, Dr. Mitchem testified that he was not aware that one sales representative may be

  entitled to fifteen percent of a deal whereas another sales representative may only be entitled to

  eight percent of the deal. [Id. at 207]. He further testified that he had never heard of split

  commissions. [Id.]. He stated that it was reasonable to assume that someone who made ten times

  as much as another person, who was supposedly similarly situated, worked more hours. [Id. at

  210]. He further stated that given the variation of the data, and the relatively small size of the

  class, sampling should not have been used. [Id. at 214].

          5.      Elizabeth Matthews

          Elizabeth Matthews (“Matthews”) testified that she is currently employed by Wyndham

  and that she has worked for Wyndham for approximately eleven years. [Doc. 397 at 233]. During

  the Recovery Period, she worked at both the Lodge and the Crossing as an In-House Sales

  Representative. [Id. at 235]



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 80 of 157 PageID #: 16262
         Matthews testified that the work day began with the morning meeting at 8:00 a.m. [Id. at

  238]. Tours started at 8:30 a.m. [Id. at 238]. She stated that sales representatives were allowed to

  leave in between tours, but she would check with the coordinator to determine where she was on

  the tour line. [Id at 239-240]. She stated that she had lunch, got her hair done, got her nails done,

  and ate lunch with her children in between tours. [Id. at 240]. She stated that other sales

  representatives left the facility in between tours and that was normal. [Id.]. She stated that she

  took lunch every day. [Id.]. She continued that her normal hours were from 8:00 a.m., to 2:00

  p.m., or 3:00 p.m. [Id. at 241] She testified that she never worked pasted 5:15 p.m., unless it was

  a holiday weekend because she picked her children up from school. [Id.]

         Matthews continued that the goal was to schedule a continuance every day, but if sales

  representatives did not have continuances, Wyndham would cut the line and sales representatives

  could leave. [Id. at 242-243]. She stated that tours could last from five minutes to two hours. [Id.

  at 243]. Matthews testified that she absolutely completed paperwork on one day and closed the

  contract the next day. [Id. at 253-254]

         Matthews testified that in January and February, everyone is on vacation and that

  President’s Club also occurred during that time. [Id. at 249]. She explained that the only busy

  times were on Valentine’s Day and President’s Day. [Id.]. She stated that the hours worked at the

  Crossing were similar to the hours worked at the Lodge, except there were more nightlines at the

  Crossing. [Id. at 256-258]. She stated that nightlines occurred four times a year at the Lodge and

  approximately eight to nine times at the Crossing. [Id. at 258]. She stated that 90% of the time,

  she worked five days, maybe six days, per week. [Id. at 261] She continued that at the Lodge,

  she worked 27 to 35 hours per week and that at the Crossing, she may have worked more hours.

  [Id. at 262]. She testified that she did not work less than other sales representatives and that she



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 81 of 157 PageID #: 16263
  may have worked harder. [Id.]. She continued that Wyndham also held dinner parties, which

  were special marketing events. [Id. at 266]. She stated that the dinner would last approximately

  an hour and a half and that the sales representative also ate breakfast with the guests. [Id.] She

  stated that sometimes a sales representative attended dinner parties two or three times per month

  and that sometimes a sales representative would not attend a dinner party for several months. [Id.

  at 266-267]. She explained that attending a dinner party was a privilege and that the top producers

  or sales representatives with the highest volume per guest were the individuals who attended. [Id.

  at 267].

         Matthews continued that there were sales representatives that were difficult to find during

  the day. [Id.]. She explained that “skating” is when a sales representative left without checking

  out. She stated that Brett Williamson was notorious for skating and that when she called him, he

  would state that he was in Morristown at his dad’s car lot or at the grocery store. [Id.] She stated

  that his nickname was “Heely,” referring to the tennis shoes with the wheels because skating meant

  that a sales representative left early. [Id. at 269] She testified that Williamson never worked past

  2:00 p.m. [Id.] She also testified that Cammie Palmer left without checking out. [Id. at 267].

         Matthew testified that out of the 316 contracts she closed, 254 contracts were time stamped

  before 3:30 p.m., and only 26 after 5:00 p.m. [Id. at 275-77, Ex. 376A]. She continued that over

  half of the 26 contracts occurred on a holiday weekend. [Id. at 276-277, Ex. 376A]. When asked

  why she would have clocked out while the contract was being generated, she testified to situations

  where she turned in the paperwork to the contracts department and left for lunch while the contracts

  department finished typing the paperwork. [Id. at 279-280] She continued that even assuming she

  closed contracts while not clocked in, the hours worked would not put her in an overtime situation.

  [Id. at 284-87].



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 82 of 157 PageID #: 16264
         Matthews testified that she rarely worked overtime and that no one instructed her to miss

  punches. [Id. at 288-89]. She stated that she was put on overage when she did not clock in and

  out. [Id. at 289]. She explained that if she missed clocking in or out, she reported it to her manager

  and told her manager the time. [Id. at 64] Her manager provided her a Punch Form, and she

  initialed and signed the Punch Form. [Id.] She also stated that her manager asked for her time and

  that the manager logged into the computer system to enter the time that she arrived and left. [Id.

  at 265] She also signed the box where the time was entered, and she signed the bottom of the

  computer printout. [Id.] She stated that she was a habitual offender and that John Geissberger

  gave her corrective actions for having to complete Punch Forms. [Id. at 264].

         On cross examination, Matthews testified that the morning meeting began at 8:00 a.m., but

  that Legends or sales representatives who were invited to attend President’s Club were not required

  to attend morning meetings. [Id. at 295]. She stated that she attended occasionally but that all

  others had to attend or they were placed on overage. [Id. at 297]. Matthews continued that while

  sales representatives waited on a tour, they were clocked in. [Id. at 299] She stated that at one

  point, her manager, David Fowler, stated that sales representatives could not work over forty hours

  but that he did not state to record less hours and work more. [Id. at 319-320]. She explained that

  if she still had work to do but was approaching forty hours, she continued working and received

  over forty hours. [Id. at 321].

         Matthews testified that most closings occur on the same day as the tour. [Doc. 401 at 17].

  She explained that the phrase “keeping them in the ether” means trying to close contracts on the

  same day of the pitch, while the pitch was still fresh. [Id. at 17-18]. She testified that it was her

  practice to allow customers to leave and come back later and that it was not company policy to try

  to make the customer stay while he/she was in the ether. [Id. at 18]. When asked why in October



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 83 of 157 PageID #: 16265
  she clocked in several times after the first wave of tours, she stated that she was not required to be

  present during the first wave because she was a Legend and that she elected to miss the first round

  of tours. [Id. at 51-52]. When asked why she missed a punch almost every single day for six

  months, she testified that she was told by her managers that if she completed a Punch Form, it was

  fine. [Id. at 52-53]. When asked about closing a contract while she was not clocked in, Matthews

  testified her front-ender, Cammie, could have worked that day, ran the tour, and closed the deal

  without her (Matthews). [Id. at 55-57].

         Matthews testified that she was familiar with the term, “Rocktober.” [Id. at 40-41]. She

  also stated that there was, “Yesvember.”         [Id. at 41].    Matthews described herself as a

  “workhorse.” [Id. at 42]. When asked about her time detail reflecting a total of 97.25 hours in

  October 2010, working 22 days, and thus averaging 4.4 hours per day, she stated that it was correct.

  [Id. at 41-42, Ex. 3262]. When counsel stated that there were 1,109 missed punch entries during

  the Recovery Period, she stated that she would have no reason to disagree with that number. [Id.

  at 48]. She continued that clocking in and out was not important to her because of the draw and

  that Wyndham took it back the next week. [Id. at 49]. She testified that she believed her recorded

  hours accurately reflected the hours that she worked at Wyndham. [Id. at 63]. Matthews also

  testified that she was familiar with hero tours, which were tours assigned based on volume and

  that if a sales representative was assigned a hero tour on his/her scheduled day off, he/she would

  come in on his/her day off. [Id. at 67-68].   She continued that it was not her practice to come in

  for her hero tour because she was number one on the power line. [Id. at 68]. Finally, Matthews

  could not recall how much she made at Wyndham for 2010-2013. [Id. at 46] She stated that in

  2012, she made less than $500,000.00 but could not recall the amount. [Id. at 47].




                                                   84

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 84 of 157 PageID #: 16266
         6.      Greg Minor

         Greg Minor (“Minor”) testified that he currently works for Wyndham as the Project

  Director of Sales and Marketing at the Glade. [Doc. 401 at 101-102]. He explained that his

  position is the equivalent to the vice president at the other sites. [Id. at 102]. He stated that he

  began his employment with Wyndham in January 2012 as a Front-Line Sales Representative in

  Nashville. [Id. at 103]. In September 2012, he became the Front-Line Sales Manager in Nashville.

  [Id.]. He served in that role for less than a year and then became the In-House Sales Manager until

  January 2014. [Id. at 105]. He later worked as the senior Sales Manager for Front-Line and In-

  House Sales Representatives. [Id.].

         Minor testified that he received notification of the lawsuit but that he did not join because

  he believed his recorded hours were fairly accurate. [Id. at 104]. He stated that based on his

  training, he understood that he would receive overtime based on the number of hours that he

  worked and was clocked in. [Id. at 109-110].

         Minor continued that when he worked in Nashville as a sales representative, he normally

  arrived between 7:45 a.m. and 8:00 a.m., and that other sales representatives arrived at the same

  time. [Id. at 112]. He stated that he clocked in and then attended the sales meeting. [Id. at 112-

  113]. After the sales meeting, sales representatives broke up into their teams to meet with their

  managers. [Id. at 113]. The first tour occurred at approximately 8:30 a.m., and the next tour

  occurred at approximately 9:30 a.m. [Id.]. Afterwards, the sales representatives reported to their

  managers whether they were able to schedule a continuance. [Id.]. He continued that at that point,

  if he did not have a guest coming in for an extended period of time, he would take his break and

  later clock back in to either run tours or work the back end of other tours. [Id.]. He stated that

  tours resulting in a sale could last from three to four hours. [Id. at 116]. He explained that he left



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 85 of 157 PageID #: 16267
  work anywhere from 1:00 p.m., to 5:00 p.m., and that it was very rare to leave after 5:00 p.m. [Id.

  at 115-116]. On average, as a sales representative, he worked between 30 to 35 hours per week.

  [Id. at 120]. He stated that some weeks, he worked over forty hours per week and that other weeks,

  he worked under thirty hours per week. [Id. at 120-121]. He testified that no one ever told him to

  record less than forty hours. [Id. at 121]. He stated that he probably did not record all of his hours

  that he worked. [Id.]. He explained that there could be times where he was able to make a deal,

  but the guests left to eat lunch and they returned just for the closing. [Id.]. He continued that he

  saw them when they were done with their closing and that he walked them out. [Id.]. In addition,

  he recalled a time where he made a deal and the following day, which was his day off, the owner

  had questions, so he came into the office to talk to the owner. [Id.]. He stated that his discussion

  with the owner was probably less than twenty minutes. [Id. at 121-122].

         Minor testified that he was never told that sales representatives could not show more than

  forty hours on their timecard. [Id. at 122]. He stated that sales managers were told to run a smart

  and effective business with the team. [Id. at 123]. He explained that, for example, if there was an

  extremely underperforming sales representative, and he/she still had a day left in the workweek

  but already had 38 or 39 hours for the workweek, the sales manager gave the underperforming

  sales representative the next day off. [Id. at 123-124].

         Minor testified that most closings in Nashville occurred around lunchtime from 11:00 a.m.,

  to 2:00 p.m. [Id. at 127]. He stated that closings can take fifteen minutes to over an hour. [Id.].

  Closings could occur later in the day.     [Id.]. He explained that clients could have something

  booked for the day and when they returned, the paperwork would be ready for them. [Id. at 128].

  The sales representative did not always stay on the property during the time he/she was waiting

  for the client to come back to close. [Id.]. He also testified that it was possible that someone else



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 86 of 157 PageID #: 16268
  handled the closing. [Id.]. He explained that there were also occasions where he came back for

  the closing but forgot to clock in. [Id. at 129].

         Minor testified that Punch Forms were used for missed punches, when people forgot to

  clock in, or for off-site events, such as party weekends and dinner parties. [Id. at 136]. He

  explained that with respect to party weekends in Nashville, guests would check-in and the sales

  representatives met them for dinner. [Id.]. The following day, guests attended a Predator’s game

  or visited the Grand Ole Opry. On the third day, guests attended breakfast and a sales presentation

  with the sales representative. [Id.]. He explained that Punch Forms were used for off-site events

  because there were no time clocks. [Id. at 137]. When completing Punch Forms, Minor testified

  that he received the information with respect to the clock in and out times from the sales

  representative and that he would challenge the sales representative “if there was something [he]

  was fuzzy about.” [Id.]. For instance, he explained that if a sales representative stated that he/she

  took a lunch break at a specific time, but Minor saw him/her working at that time, he would

  challenge the sales representative and ask for the correct time. [Id. at 138]. He had no knowledge

  of Punch Forms being used to change a sales representatives’ time so that the timecard would show

  that the sales representative worked less than forty hours. [Id.]. He testified that he never used a

  Punch Form to make it look as though a sales representative worked less than forty hours when

  he/she had actually worked more than forty hours. [Id. at 138-139].

         Minor continued that not all sales representatives worked party weekends. [Id. at 139]. He

  also testified that in order to increase transaction retention, Wyndham began taking owners to

  breakfast. [Id. at 140]. He explained that if a sales representative closed a transaction on Monday,

  the following day, the sales representative would attend breakfast with the owner. [Id.]. If it was




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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 87 of 157 PageID #: 16269
  a split deal, the sales representative with the better rapport attended the breakfast with the guest.

  [Id. at 141].

          He continued that he never clocked anyone in or out and that he did not observe any

  manager clocking individuals in or out. [Id. at 142]. He stated that in Nashville, most sales

  representatives had fewer than three or four closings per week. [Id. at 143]. He stated that he was

  on the sales floor every day that he worked and that he was able to observe other sales

  representatives arrive at work and depart from work. [Id. at 145]. He testified to the following

  individuals’ average hours of work each week:

                     Chad Breece: 25 to 30 hours. Minor stated that they were peers
                      and were sales representatives at the same time. Minor testified
                      that some weeks Breece worked more than the above hours and
                      that some weeks he worked less than the above hours.

                     Corey Shoen: 30 to 35 hours. Minor testified that they were
                      both Front-Line Sales Representatives and that when Minor
                      became a manager, Shoen was on Minor’s team. Minor
                      continued that Shoen was one of the top performers and that he
                      (Minor) and Shoen worked similar hours.

                     Jasyntha Cornwell: 20 to 25 hours. Minor testified that she was
                      a sales representative for a short time and then became a
                      Discovery Sales Representative. He continued that her start
                      time was 10:00 a.m., because she did not talk to guests until
                      their sales presentation was finished. There was no need for her
                      to arrive at work at 8:00 a.m. He continued that she worked
                      from 10:00 a.m., to approximately 2:00 p.m., or 2:30 p.m.,
                      because she had to pick up her child.

                     James Feener: 30 hours. Minor testified that Feener was a
                      Front-Line Sales Representative for a short period of time but
                      that Feener left the company. Feener had one or maybe one
                      and a half transactions per week.

                     Nakia Hatchett: 28 to 30 hours. Minor stated that she was an
                      In-House Sales Representative and that she was really good at
                      the front end of the sales process but not necessarily good at the
                      closing part of the process. Minor stated that Hatchett was
                      excessively busy in the morning and would often times run tour

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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 88 of 157 PageID #: 16270
                  units for other people. He continued that she spent her
                  mornings hooking and setting tours for other sales
                  representatives and that she was finished by 1:00 p.m.

                 Camille Meadows: 25 hours. Minor stated that Meadows was
                  on his team and that she was probably the most difficult to
                  manage from a time standpoint. He explained that she arrived
                  to work at the “skin of her teeth,” if not ten or fifteen minutes
                  late on a regular basis. In addition, Minor stated that she was
                  the first one to leave.

                 James Meadows: 25 to 30 hours. Minor testified that Meadows
                  was an extremely talented sales representative that could have
                  a deal down in less than an hour. Minor testified that there was
                  an incentive called “write and ride,” meaning if a sales
                  representative received a deal, he/she “could ride out for the
                  day,” thus leaving whenever he/she wanted. Minor stated that
                  there were numerous times where Meadows went to a unit at
                  8:30 a.m., and came back with a credit card. Sometimes,
                  Meadows left at 10:00 a.m.

                 Randy Navarro: 30 hours per week. Minor stated that Navarro
                  stayed at the bottom of the rotation for the majority of his
                  tenure. Minor continued that there were times that Navarro
                  finished working and he just sat around and listened and
                  observed other tables. Minor testified that this action drove his
                  hours to about 30 per week. Minor continued that Navarro’s
                  average hours as indicated on his pay stubs, 29.8541, was very
                  accurate. [Ex. 3245].

                 Emily Rasnick: 25 to 28 hours. Minor testified that Rasnick
                  was on a different team but that she was really good at the front
                  end part of the process. He continued that multiple people gave
                  Rasnick their tours, so she was finished by 10:30 a.m., 11:00
                  a.m.

                 Kristen Harrington: 35 to 38 hours. Minor testified that they
                  were on the same sales team and had the same sales manager.
                  He stated that Harrington’s parents were timeshare owners of
                  the company, so she had firsthand experience and helped other
                  sales representatives. Minor stated that there were weeks that
                  she may have worked over 40 hours.

                 Jerry White: 30 to 35 hours. Minor testified that White was a
                  sales representative on another team. He stated that White
                  came from the car business and that he was used to

                                              89

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 89 of 157 PageID #: 16271
                     exceptionally long hours. Minor continued that White was not
                     effective in the units and that he only received two or three
                     appointments each week. Back enders helped White on his
                     appointments. Minor testified what White hung out on the
                     property all the time, smoking cigarettes and that Minor’s
                     average (above) included the time that White was hanging
                     around the property. Minor testified that the average number
                     of hours as reflected on White’s pay stubs, 34.4221, was in line
                     with what Minor personally observed. [Ex. 3245].

  [Id. at 146-54].

         On cross examination, Minor testified that every month the sales managers and the

  marketing department held a site launch meeting or a commitment meeting. [Id. at 161]. Minor

  stated that he attended six meetings out of the twelve meetings each year. [Id.]. He stated that

  overtime was discussed during the meetings as part of the overhead summary. [Id. at 162]. He

  continued that Kristen Creson, Dave LaBelle, and Matt Chodak attended the meetings. [Id. at

  163]. He stated that he never heard them state that they wanted sales representative to not work

  overtime. [Id.]. Minor testified that there were conversations about time management, meaning

  that if a sales representative was underperforming, then he/she did not need to come in because

  the sales representative was not adding value if he/she worked an additional day. [Id.]. He stated

  that he never heard Creson state that she altered entries in WynTime. [Id. at 163-164].

         As a sales manager, he received regular emails from Creson about once a week or seven to

  eight times per week. [Id. at 171]. Creson’s emails provided the weekly total hours for sales

  representatives, she included information about sales representatives who had recorded zero hours

  for the week, and she included information about no lunch breaks being recorded. [Id. at 172-

  173]. He stated that he used the information to have conversations with the sales representatives

  and to ask them why a lunch break was not taken. [Id. at 173-174]. In addition, he stated that the

  purpose of the emails was to determine the hours of the sales representative who had not added



                                                 90

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 90 of 157 PageID #: 16272
  any value that week and to decide whether to bring him/her in for another day. [Id.]. He explained

  that the emails gave the managers the ability to make business decisions. [Id. at 174]. With respect

  to sales representative who recorded zero hours for the week, he would determine if the sales

  representative was on vacation so that he could mark it in WynTime, or whether there was an error

  with WynTime, or whether the sales representative just forgot to clock in. [Id.]. He stated that he

  made changes in WynTime for his team if, for example, the sales representative did not clock in

  in the morning or for party weekend hours, or lunch breaks, and so forth. [Id. at 174-175]. Minor

  testified that he was never told to doctor timecards and that he never doctored timecards. [Id. at

  175]. He testified that he cannot state that other managers did not doctor timecards. [Id.].

         Minor continued that his Punch Forms were used to make legitimate changes. [Id. at 165].

  In addition, he stated that there were times Punch Forms were used to add hours. [Id. at 166].

  Creson brought Punch Forms to the sales managers. [Id. at 177]. He explained that the sales

  representatives had to sign the Punch Form before changes were made in WynTime. [Id.].

         He stated that about 90% of the time, he was able to take a lunch break. [Id. at 167]. He

  stated that his lunches were about thirty to forty minutes. [Id. at 168]. When asked about his time

  detail that showed twenty-four punch-in times at precisely 7:30 a.m., or 8:00 a.m., and twenty-

  seven days that showed punch-in and out times precisely on the hour and half hour, Minor testified

  that he was not sure if that was an inserted punch or a manual punch from the wall clock. [Id. at

  180, Ex. 3270]. When asked why his lunch breaks occurred precisely on the hour or half-hour, he

  explained that he was in training and that a majority of the training was captured by using manual

  Punch Forms and that the trainees left for lunch at the same time. [Id. at 185-87, Ex. 3270A].

  When asked about generating contracts while not clocked in, he explained that once the quality

  assurance department had the documents, he was finished with the owners because they were with



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 91 of 157 PageID #: 16273
  the quality assurance team. [Id. at 200-201]. He continued that the only time he worked after that

  point was to walk the guest out, which took five to ten minutes. [Id. at 201, Ex. 3271]. When

  asked why he recorded zero hours on days that a contract was generated, he explained that he

  visited the units but booked the continuances on days that he did not work. [Id. at 205, Ex. 3271].

  He further testified that with respect to Exhibit 3271, each date on the sale date corresponds with

  the date on the transaction date with the exception of July 9, 2012. [Id. at 209, Ex. 3271]. He

  stated that the sale date is the date that the contract went through the closing officer. [Id. at 209].

  Finally, he testified that he received an email dated October 18, 2013, from Matt Chodak about

  performing random audits of WynTime. [Id. at 206, Ex. 3271].

         7.      Bobby Cummings

         Bobby Cummings (“Cummings”) testified that he currently works for Wyndham at the

  Island in Pigeon Forge and that he has worked for Wyndham for thirteen years. [Doc. 401 at 212-

  13]. Previously, he worked at the Lodge as a Front-Line Sales Manager and as a Discovery Sales

  Representative. [Id. at 213]. As a Discovery Representative, he sold one-time packages and made

  commissions. [Id. at 213-14].

         Cummings continued that he typically arrived at work at 10:00 a.m., and that he worked

  about four to six hours per day on average. [Id. at 216]. He stated that he did not perform work

  before or after he clocked in. [Id.]. He stated that if he worked over six hours, he was given a

  thirty minute lunch break. [Id.]. He worked five days per week. [Id.]

         He stated that the tour waves occurred at 9:00 a.m., or 9:30 a.m., 11:00 a.m., and 2:30 p.m.,

  depending on the site. [Id. at 217]. He stated that there were four Discovery Sales Representatives

  at the Lodge and that whoever sold the previous day was the first to receive a tour. [Id. at 218].

  He stated that Discovery Sales Representatives did not attend a morning meeting. [Id. at 224].



                                                    92

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 92 of 157 PageID #: 16274
  Cummings testified that he did not provide customers with his personal telephone number. [Id.].

  He testified that he was the last one to leave because his sales pitch happened after the tours. [Id.

  at 226]. He stated that in the discovery sales department, there were certain times of the year that

  were busier than others, including summer, Rocktober, Christmas, spring break, and holidays. He

  stated that January and February were slower. [Id. at 218]. Cummings testified that the other

  Discovery Sales Representatives who worked with him did not come in earlier or stay later than

  him. [Id. at 228-29].

         He stated that his time detail was consistent with the time that he clocked in and out each

  day. [Id. at 220-21, Ex. 6550]. He stated that as a Discovery Sales Representative, he worked

  between 20 to 30 hours each week. [Id. at 221]. He stated that he was never asked to sign a Punch

  Form that did not accurately reflect his time. [Id. at 22-23]. He stated that he did not work more

  than forty hours. [Id. at 224]. He continued that if a sales representative worked while not clocked

  in, he/she was written up and terminated. [Id. at 225]. He stated that as a Front-Line Sales

  Manager, he had access to WynTime and that he used Punch Forms to correct time when the time

  clock did not enter an arrival time. [Id. at 230]. He stated that he did not use Punch Forms to

  misrepresent time. [Id. at 231]. He attended Learning Classes, where it was explained that anyone

  who worked needed to be clocked in and that if an individual worked six hours, he/she had to have

  a lunch break. [Id. at 232]. In addition, the Learnings Classes taught him that if an individual

  worked from home, he/she needed to record that time and turn it in to be paid. [Id.]. He stated

  that sales representatives did not work at home and that they were lazy. [Id.].

         Cummings testified that a “mail-out” occurred when a sales representative wrote a deal,

  but the client did not have the money, so the check was postdated and the deal was typed and

  signed. [Id.]. When it was turned in, then the deal became good. [Id.]. This is also called a “come-



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 93 of 157 PageID #: 16275
  good” situation. [Id.]. In addition, he testified that the term, “be back” means that a customer

  leaves and comes back to make a decision on whether to purchase. [Id. at 234].

         Cummings testified that he never used a Punch Form to misrepresent Dale Topping’s time.

  [Id. at 235]. He stated that when he was the Front-Line Sales Manager, he observed the work

  habits of the Front-Line Sales Representatives and that he was there before they arrived and after

  they departed. [Id. at 236]. He testified that they were not required to perform any work before

  or after work. [Id.]. He never instructed them to clock out and continue working. In addition, he

  stated that he never instructed Belinda Drew or Roy Neuenschwander to clock out and continue

  working. [Id. at 236-38]. He continued that he never asked a sales representative to remain

  clocked out while waiting for a tour and that sales representatives were allowed to leave the

  property if not on tour.     [Id. at 238].   He continued that he never told Front-Line Sales

  Representatives to clock out because they were close to forty hours and continue to work and that

  he never instructed them to stay clocked out after their lunch break. [Id. at 238-39]. He was not

  aware of any other manager who used a Punch Form to misrepresent time. [Id. at 239]. He stated

  that he managed the following individuals and observed that they typically clocked in at 8:00 a.m.,

  worked four to six hours, five days per week: Ruth Blanton, Eric Hayward, Roy Neuenschwander,

  Jeff Shepard, Carl Patty, and Brandon Ellis. 35 [Id. at 239-42].

         On cross examination, Cummings explained that as a Discovery Sales Representative, his

  responsibilities were to pick up any deals or prospects from the Front-Line Sales Representatives

  and the In-House Sales Representatives, which occurred occasionally. [Id. at 244]. He stated that

  less than one percent of his sales were mail outs. [Id. at 251].




         35
            Cummings testified that Eric Hayward left a little earlier because he had to pick up his
  child. [Doc. 401 at 240].

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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 94 of 157 PageID #: 16276
         Cummings stated that he knew Amanda Hill and that she was another vice president,

  similar to a secretarial administrator. [Id. at 255]. Hill made sure everyone was paid on their deals.

  She also trained the managers on WynTime. [Id. at 256]. He recalled receiving emails from Hill.

  On one email, Hill told Cummings to change Blanton’s time from 2:16 a.m., to 2:16 p.m. [Id. at

  259-60]. When asked about another email Hill sent to him, he explained that he had a problem

  child that could not clock in and out correctly. [Id. at 265, Ex. 3278]. He continued that this

  particular sales representative attended party weekends without clocking in and out and that he

  (Cummings) wrote on the Punch Form, “PW,” which means “party weekend.” [Id. at 265, Ex.

  3277]. He testified that Hill sent him emails to let him know that someone did not get a break, or

  that someone did not punch out, or someone made an incorrect punch, such as punching in at a.m.

  instead of p.m. [Id. at 269].

         8.      Kyle Smith

         Kyle Smith testified that he currently works for Wyndham in Branson, Missouri, as the

  Director of Sales for In-House Sales Representatives. [Doc. 426 at 9]. He has been employed

  with Wyndham since 1994. [Id.]. He moved to Tennessee in March 2012, and his first position

  in Tennessee was the Vice President of Sales and Marketing. [Id. at 10]. He stayed in this position

  until June 2014. [Id.].

         Smith testified that he received a report from Jesse Pierce in Fall 2013 that he was working

  while not clocked in. [Id. at 12]. Smith stated that Pierce requested a private meeting with him to

  share information on why employees were disgruntled and during that meeting, he mentioned

  working while not clocked in. [Id. at 12, 15]. Pierce stated that Smith needed to be aware that

  there were many people who were not happy and that Smith could lose some employees and that

  one former employee, Craig Thrift, was suing Wyndham over WynTime. [Id. at 15]. Smith asked



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 95 of 157 PageID #: 16277
  why, and Pierce stated that people were working while not clocked in. [Id.]. Pierce admitted that

  he had been working while not clocked in and that he (Pierce) made a general assumption that

  others were not clocking in while at work. [Id.]. Smith instructed Pierce that clocking in was part

  of his duties as an employee. [Id. at 15-16]. Pierce reported that past leaders stated that it was ok

  to not clock in and work. [Id. at 16]. Smith responded that he did not believe Pierce. [Id.]. Smith

  continued that prior to this meeting, he had no reason to believe employees were working while

  not clocked in. [Id. at 16-17].

         Smith stated that after the meeting, he met with Dottie Justice to report the information.

  [Id. at 17]. He also pushed the information to his superior, Dave LaBelle, who was over Tennessee

  at that time. [Id.]. Smith also requested that Dottie Justice perform a sample audit of five Front-

  Line Sales Representatives and five In-House Sales Representatives to determine whether Pierce’s

  report was accurate. [Id.]. The audit showed that people were taking tours and that they were not

  clocked in.   [Id.].   He stated that he partnered with Dottie Justice and that they began a

  communication campaign about expectations of reporting time correctly. [Id. at 18]. He stated

  that they used three-ringer binders to keep track of missed punches. [Id.]. In addition, there was

  an on premise report that was kept at the front desk reception and that sales representatives who

  were not clocked in would not receive a tour. [Id.]. He stated that the above actions were put into

  place immediately after Pierce’s report. [Id.]. In addition, he testified that the changes did not

  affect his income. [Id. at 36].

         Smith testified that prior to the meeting with Pierce, the company policy was if an

  individual was at work, training, attending tours, waiting, he/she was supposed to be clocked in.

  [Id. at 19]. Smith stated that this policy was clear to the sales representatives because it was

  communicated to them. [Id.]. Smith explained that once the above changes were made, he



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 96 of 157 PageID #: 16278
  received push back because sales representatives did not like the change. [Id. at 19-20]. Smith

  continued that sales representatives never liked the draw because they were commissioned

  employees, not hourly employees. [Id. at 20].

            Smith testified that anytime a sales representative was off the premises conducting

  business, he/she should have completed a form to capture the time worked. [Id. at 21-22]. Smith

  stated this form was used for party weekends and for worked performed at home. [Id. at 22]. He

  stated that the practice in Tennessee was to follow up with customers, using company email,

  personal email, landlines, and personal cell phone numbers. [Id.]. He stated that later Wyndham

  determined that sales representative should not communicate via personal cell phone because

  former employees would then have access to customers’ personal identification information. [Id.

  at 23].

            Smith testified that the busiest time was from spring break in March until December 10.

  [Id. at 26-27]. He stated that the slowest times were mid-December through mid-March, with a

  few exceptions, such as the week between Christmas and New Year’s Day and Valentine’s Day.

  [Id. at 27].    He also testified that November was a strong month and was referred to as

  “Yesvember.” [Id.].

            Smith testified that a “be ready” means that an owner has agreed to make a purchase, but

  the customer leaves the premises for personal reasons or activities and then arrives later, or the

  following day, to go through the documents. [Id. at 28]. Neither the customer, nor the sales

  representative, was required to be present when the contract was generated in the contracts

  department. [Id.]. Smith testified that a “come good” situation occurred when a contract became

  good later, after the down payment had been satisfied. [Id. at 28-29]. The sale was finalized when

  the contract became good. [Id. at 29]. Neither the sales representative, nor the client, was needed



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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 97 of 157 PageID #: 16279
  when the deal became good. [Id.]. In addition, Smith testified that a “be back” meant that a

  customer had not committed to the sale and that he/she would come back at a later time to re-

  continue, reconvene, and discuss the sale further before making a decision to purchase. [Id.]. He

  testified that there were also times where a contract was prepared but the deal was not finalized.

  [Id. at 29-30]. He further testified that the phrase “walk out or mail out,” simply means that there

  was a hold on documents or all the parties were not present to sign the documents. [Id. at 30].

  The documents were then mailed out and the deal does not become good until all the paperwork

  had been signed. [Id.]. Smith testified that neither the sales representative, nor the guest, was

  required to be present when the contract was printed. [Id. at 30-31].

           Smith testified that he never used, or instructed anyone else to use, a Punch Form to

  misrepresent time. [Id. at 33]. In addition, he testified that he never told sales representatives to

  not be clocked in for more than forty hours, and his superiors did not instruct sales representatives

  to misrepresent time worked. [Id. at 34]. Smith stated that overtime did not affect the net operating

  income because he was given a budget that included overtime as an item. [Id. at 36].

           On cross examination, Smith testified that he rarely worked Saturdays because he went to

  the lake on the weekends. [Id. at 42]. He stated that Wyndham paid overtime when it was reported

  and when the sales representative earned that amount of time. [Id. at 54]. He continued that

  Wyndham rarely ran into an overtime situation but that Wyndham never tried to restrict overtime.

  [Id.].

           Smith identified an email dated September 24, 2012, from Amanda Hill to Smith and

  several others, including managers, stating that individuals had missed punches that needed to be

  corrected. [Id. at 55, Ex. 1233]. In addition, the email stated that six individuals reported zero

  hours, and Smith explained that information was used to make sure those sales representatives



                                                   98

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 98 of 157 PageID #: 16280
  were out sick or on vacation. [Id. at 56-57, Ex. 1233]. Smith was asked why Lisa Jarvis responded

  to the email, “OVERTIME is not acceptable!” and that “All the reps with overtime hours will be

  receiving written coaching notes. Managers, are you monitoring their time?” [Id. at 58]. He

  explained that Wyndham’s policy was that if a sales representative was going to work overtime,

  he/she was supposed to report it to the manager and that if the sales representative failed to report,

  he/she received a coaching note. [Id., Ex. 1233]. Smith testified to similar emails. [Id. at 59, Ex.

  1102, 842, 800A].

         Smith identified another email, dated August 16, 2013, from Amanda Hill to Smith and

  others, including managers, regarding representatives who reported working zero hours. [Id. at

  60, Ex. 798A]. The email continued, “The following reps were missing a break. The system will

  forever show this missing punch.” [Id., Ex. 798A]. Smith explained that this means that the sales

  representative did not take a meal break once they worked over six hours in a day. [Id.]. In

  addition, Smith identified an email from Kevin Covington, a senior manager, who stated, “The

  following reps had overtime reported. This will cost us!” [Id. at 61, Ex. 798A]. Lisa Jarvis

  responded, “We are on a 6/1. So it is not a surprise. I told John yesterday managers need to monitor

  this better.” [Id. at 61-62, Ex. 798A].        Smith explained that it appeared Lisa Jarvis was

  communicating that people worked overtime without communicating overtime to their team

  leaders. [Id. at 62]. He stated that overtime does not cut into the net operating income because

  Wyndham budgeted for overtime. [Id.]. He explained the reference to “6/1” means working six

  days and taking one day off and that per the email, it appeared that In-House Sales Representatives

  worked six days. [Id.].

         Smith also identified an email dated September 24, 2012, from Dave LaBelle to Smith and

  others, including managers, regarding a Department of Labor Audit in Panama City. [Id. at 63,



                                                   99

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 99 of 157 PageID #: 16281
   Ex. 1206].   Later, Lisa Jarvis sent an email, which Smith did not receive, stating “How Craig

   wrote deals this week but according to the clock wasn’t here will be a mystery to the auditors!”

   [Id. at 65, Ex. 1206]. Smith stated that Lisa Jarvis was referring to Craig Thrift and that according

   to the email, Thrift did not record his hours for the entire week. [Id. at 65-66]. He stated that not

   all of Wyndham knew that Thrift worked off the clock and that Smith stated that he did not know

   at this point. [Id. at 66]. He agreed, however, that at this point, senior managers and managers

   knew that Thrift was working off the clock. [Id. at 66-67]. Smith testified that Dave LaBelle

   requested that his sites conduct a mock audit in the event his sites have an audit from the

   Department of Labor. [Id. at 76-77]. Darryl Langlais reported the results of the mock audit in an

   email dated October 17, 2012, which stated that the missed punch report for September was 501

   pages. [Id. at 77, Ex. 1140].

          Smith identified another email dated June 27, 2013, from Bryce Berkompas to Tammie

   Smith. Berkompas copied Dottie Justice and Kyle Smith to the email, which states:

                  I receive[d] a list of all the FL reps that are currently averaging hours
                  they are working to be less than what allows them to carry benefits,
                  and I have sent an email to everyone of those reps and copied all the
                  managers so everyone is aware of how BIG of a deal it is to pay
                  more attention to time management.

   [Id. at 67-68, Ex. 690]. Smith stated that Berkompas was the Director of Front-Lines Sales at that

   time. Tammie Smith was a Human Resource Analysis, and Dottie Justice was the Human

   Resource Manager. [Id.]. At that point, Dottie Justice was over the Tennessee sites and some sites

   in North Carolina. [Id. at 68]. Smith explained that the email was referring to a time period after

   the off-season where some sales representatives were averaging below 30 hours and that

   Berkompas was making them aware that the sales representatives would be part-time employees.




                                                    100

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 100 of 157 PageID #: 16282
   [Id. at 69-70]. Smith stated that the sales representatives were leaving early from work. [Id. at

   70].

          Smith testified to another audit involving WynTime. [Id. at 86, Ex. 762]. This audit

   showed that in October 2013, there were 1,265 punch edits for the month for 15 sales

   representatives. [Id. at 87, Ex. 762]. Smith explained that when someone missed a punch and

   continued throughout the day, each time is an edit. [Id. at 88]. He continued that there may only

   be one missed punch, but it reflected multiple missed punches throughout the day. [Id.]. Smith

   testified that the audit confirmed that lunch breaks were not being taken and that sales

   representatives were working through their lunch breaks. [Id. at 89-90].

          Finally, Smith testified that John Geissberger sent an email dated July 11, 2012, explaining

   that both representatives must stay for closing and that any representative not on site will be placed

   on overage. [Id. at 91, Ex. 1131].36 Smith testified that staying during closing was more of a

   practice rather than a policy because if the client had a question during the closing and the question

   could not be clarified, the transaction could be lost. [Id. at 92]. He admitted that staying during

   closing was “best practice” and that Wyndham preferred that both sales representatives attended

   the closing. [Id.]. Smith continued that the sales representative who did not stay during a closing

   was placed on overage, meaning that he/she would not receive a tour until all other sales

   representatives received a tour. [Id. at 93]. He stated that there was period of time that both sales

   representatives were not required to stay for the closing. [Id. at 85].




          36
            The Court observes that the email chain also includes on page two that sales were causing
   issues during closing: “During closing, reps are talkative when QA is covering information,
   slouching and over-relaxed body language and occasionally texting during closing.” [Ex. 1131].

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Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 101 of 157 PageID #: 16283
          9.      Connie McGlothin

          Connie McGlothin (“McGlothin”) testified that she is currently employed at Wyndham as

   a sales trainer. [Doc. 426 at 102]. She testified that she started at Fairfield in April 1989. She was

   a sales person until 1991 when the company went through a reorganization. [Id. at 103] She

   returned in 1999 when the office was opened in Sevierville as a Front-Line Sales Manager and

   stayed until 2003. [Id.] She came back in April 2010 as a Front-Line Sales Manager. [Id.] She

   served as a Front-Line Sales Manager at both the Crossing and the Lodge during the Recovery

   Period. [Id. at 104]

          McGlothin testified that as a Sales Manager, she was the first to arrive at work and the last

   person to leave. [Id. at 108]. She stated that the tour waves occurred at 8:00 a.m., or 8:30 a.m.;

   12:00 p.m., or 12:30 p.m.; and if there was a third round, it began at approximately 3:00 p.m., or

   3:30 p.m. [Id. at 109]. The third round tour did not always occur. [Id.] She continued that if a

   sales representative was not on tour, he/she took a break or prepared for the next round. [Id. at

   111] If the sales representative elected to take a break, then McGlothin told him/her to leave and

   get out of the office and not to be seen. [Id.]. She explained that she did not want people to request

   the sales representative’s help while he/she was on break. [Id. at 111-112]. She explained that

   tours were assigned using the power line—the top-ranked sales representatives received the first

   tour. [Id. at 110-111]. She continued that the sales representatives who sold the previous day go

   out on the tour first. [Id. at 111]. A front-line sales tour without a sale took approximately 120

   minutes on average. [Id. at 112-113]. She explained that the length of the tour varied on the tour

   type. [Id. at 113]. McGlothin continued that if a guest was staying in-house, it was difficult to get

   him/her to come to the office for two hours because the guest was already familiar with Wyndham

   and the guest did not need the whole two-hour tour. [Id.] If the tour resulted in a sale, McGlothin



                                                    102

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 102 of 157 PageID #: 16284
   testified that it took an additional couple of hours. [Id. at 114]. She continued that if there were

   more sales occurring, a closing may take a little bit longer because the contract had to be processed

   through quality assurance. [Id.] McGlothin testified that she typically left work at 5:00 p.m., or

   6:00 p.m. [Id. at 120].

           McGlothin stated that nightline was a sales line that took clients at night versus during the

   day. [Id. at 119-120]. She testified that she did not think that front-line ever had nightline. [Id. at

   123-124]. With respect to Punch Forms, she testified that they were used every time a sales

   representative missed a punch. [Id. at 124-125]. If a sales representative forgot to clock in, or

   clock out for lunch, or clock back in for lunch, or if he/she left the building and forgot to clock

   out, a form had to be completed for every missed punch. [Id. at 125-127]. In addition, an Off-Site

   Work Premises form was used to record the time for party weekends or work away from the office

   and that this form was similar to a Punch Form. [Id. at 125]. She stated that she completed Punch

   Forms daily and that she checked WynTime every day. [Id. at 126]. She made sure that when

   someone left on break that he/she clocked out and that when he/she returned, he/she was not

   working while not clocked in. [Id.].       If a sales representative was caught working while not

   clocked in, he/she had to complete a Punch Form and let McGlothin know the correct times. [Id.].

   McGlothin explained that she tried to get everyone in the habit of clocking in when they arrived

   at work. [Id.].   McGlothin stated that she completed Punch Forms throughout the day and that

   sometimes she would complete multiple Punch Forms on one person throughout the day. [Id. at

   127]. She stated that she never used Punch Forms to reduce hours so that the hours would be under

   forty and that she was not aware of any other managers using the Punch Form in such a manner.

   [Id. at 128].




                                                    103

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 103 of 157 PageID #: 16285
          With respect to party weekends, McGlothin explained that not all sales representatives

   participated. [Id.] Typically, the very best sales representatives attended party weekends because

   Wyndham wanted sales. [Id. at 128-129]. Party weekends could be “prospect weekends,” where

   Wyndham catered to new owners or owners who owned discovery packages, or “owner party

   weekends,” where Wyndham brought in existing owners. [Id. at 129]. Guests arrived on Friday

   and met the sales representative at 6:00 p.m. [Id.]. The guests and the sales representative ate

   dinner and attended a show, which ended around 8:00 p.m., or 8:30 p.m. [Id.]. On Sunday, the

   guests and sales representatives ate breakfast together and then the guests went to the sales center.

   [Id.]. During party weekends, if a sales representative was in the office, he/she clocked in, but if

   he/she was not in the office, the sales representative completed a Punch Form. [Id. at 130].

          McGlothin testified that she was able to gauge how many hours a week sales

   representatives worked. [Id. at 133]. She testified as follows:

                 Shirley Benedict: She was a Discovery Sales Representative, who
                  averaged about 30 hours per week.

                 Stephen Bowery: On a busy week, he worked about 28 to 30 hours
                  per week. She stated that he was able to sell quickly and that he had
                  another business and liked to leave at 2:00 p.m.

                 Stacy Caldwell: On a busy week, he worked 30 hours per week. She
                  stated that he was on the RCI team and that he was a seasoned
                  representative, so he left early. In addition, he liked to play golf in
                  the afternoons.

                 James Campbell: He worked 25 to 30 hours per week. He worked
                  with existing owners who were not staying at the properties, so he
                  talked with one client and could be finished for the day.

                 Craig Carson: He worked 30 to 35 hours per week and that her
                  estimate was given him the benefit of the doubt because he did a
                  good job.




                                                   104

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 104 of 157 PageID #: 16286
               Sarah Christy: She worked 25, 28, to 30 hours per week at the
                maximum. McGlothin testified that her work habits were not the
                best.

               Russ Cooper: He worked 28 to 30 hours per week. She testified
                that he worked as a RCI Sales Representative, so he worked with in-
                house guests.

               Amy Dennis: She worked 25 to 30 hours a week at the maximum.
                McGlothin stated that Dennis worked for Wyndham for a short time
                and that she left at 3:00 p.m., or 3:30 p.m., because she drove home
                to Johnson City, Tennessee.

               Robin Dickerson: She worked no more than 30 hours per week.
                McGlothin stated that Dickerson was an In-House Sales
                Representative and that they worked less than Front-Line Sales
                Representative because In-House Sales Representatives’ clients met
                in the morning because they were on vacation.

               Clark English: He worked 30 to 35 hours a week at the office.
                McGlothin testified that he did not sell very much and that when he
                did not make a sale, he clocked out and went home.

               Randy Finley: He worked 35 hours a week. McGlothin testified that
                Finely was a good sales representative and that on some days, he
                stayed after a sale to assist McGlothin.

               James Gallighugh: He worked 25 to 30 hours per week. She testified
                that he was a RCI Sales Representative and that they generally
                worked less.

               Edwin Garret: He averaged 28 to 30 hours per week and that her
                estimate “is on the high side.” McGlothin testified that he had health
                problems and that he could not work a full schedule because of his
                doctor’s appointments. She continued that she was not certain if he
                ever sold anything.

               David Goodall: He worked 30 to 35 hours per week at the
                maximum. McGlothin stated that Goodall was not the best or the
                worse sales representative.

               Pamela Haley: She worked 25 to 30 hours per week. McGlothin
                testified that Haley worked for Wyndham for a short amount of time
                and that she was at the bottom of the power line.

               Stacy Heaton: On average, she worked from 8:00 a.m. to 2:00 p.m.

                                                 105

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 105 of 157 PageID #: 16287
               Dale Heil: He worked the same hours as Stacy Heaton. He was in a
                wheelchair and had serious health issues lingering from a car
                accident. He had somewhat of a scaled-down schedule.

               Twila Higgins: She was on the top of the power line for most of the
                time, so she took a tour early in the morning. After she finished with
                her guests, she took a break and helped others close on their deals.

               Sean Jeter: He worked 30 to 35 hours per week.

               Peter Landers: He came into work at 8:00 a.m., and left at 1:00 p.m.,
                or 2:00 p.m. He worked as a RCI Sales Representative.

               Karl Lewenski: He came into work at 8:00 a.m., but finished by 3:30
                p.m., which is a late day for him. He worked as a RCI Sales
                Representative.

               Chris Maples: He worked 20 to 25 hours per week, which was a
                long, hard week for him because he was lazy and difficult to
                manage.

               Melissa Monday: She worked 30 to 35 hours per week. She was a
                good sales representative, and if she was not closing a deal, she
                helped other sales representatives with their closings.

               Heather Myrick: She came in at 8:00 a.m., and left at 2:00 p.m.

               Paul Naumoff: He worked 30 to 35 hours per week. He was a
                Discovery Sales Representative, and they did not come in to 10:00
                a.m., or 10:30 a.m.

               David Nelon: He worked 25 to 30 hours per week. Nelon was not
                the best or the worse sales representative.

               Patrick Neuenschwander: He came in at 8:00 a.m., or 8:30 a.m., and
                left around 3:00 p.m., or 3:30 p.m. He was a RCI Sales
                Representative. He was an average sales person.

               Trent Pierce: He came in at 8:00 a.m., or 8:30 a.m., and finished by
                2:00 p.m., or 3:00 p.m.

               Mike Pierce, Sr.: He worked 25 to 30 hours per week. McGlothin
                testified that he had a good deal because he did not have to attend
                the meetings and he clocked in right when his tour began. He was
                very good, and sometimes if he did not have any clients, he would

                                                 106

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 106 of 157 PageID #: 16288
                call the night before and state that he was not coming in to work.
                She explained that if he came in at 9:00 a.m., he finished at noon or
                1:00 p.m. In addition, she testified that he was building a home at
                the time, and she vividly remembered her boss calling Pierce, Sr.,
                stating that he needed to report to work because a client was there.
                She stated that she would text Pierce, Sr., requesting for his help and
                that he would be gone.

               Mike Pierce, Jr.: He worked 25 hours a week. McGlothin testified
                that Pierce, Jr., was difficult and that she had to speak with his father
                about it. He would not report to work or reported late to work, and
                McGlothin could not get him to clock in. When he clocked out,
                McGlothin could not get him to clock back in. He had many Punch
                Forms.

               Richard Rang: He worked 25 to 30 hours per week. He worked as
                a RCI Sales Representative.

               James Reid: He worked 30 hours a week at the maximum.
                McGlothin stated that Reid had bad work habits, such as arriving
                late. He did not sell very much, and he did not follow up with the
                clients.

               Leo Shalhoup: He worked 30 hours a week at the maximum. He
                was near the bottom of the power line.

               Tony Siler: He met with his client in the morning or afternoon, but
                he was finished by 1:00 p.m., 2:00 p.m., or 3:00 p.m., similar to
                other RCI Sales Representatives.

               Rebecca Slone: She worked 20 to 25 hours per week. She was an
                attorney, and she maintained her practice while working for
                Wyndham. McGlothin sent her to in-house sales because they work
                fewer hours. She did not dedicate time to Wyndham.

               Bobby Stallings: He worked 30 hours per week. He was a Discovery
                Sales Representative. In addition, he had health issues and was on
                a scaled-back schedule. She stated that he was maybe in his
                seventies, and that the boss allowed staggered hours because there
                were a few people in that department that were elderly.

               Bryan Tesh: He worked about 30 to 35 hours per week. McGlothin
                testified that his child had serious health issues and that he had to
                take time off to be with his child. McGlothin testified that she
                remembered stating that she had not seen him at work for five days.
                He also had another business remodeling and that he sold little to

                                                  107

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 107 of 157 PageID #: 16289
                none as a sales representative. She continued that she would turn
                out the lights but that he was still on his computer and he was not
                performing Wyndham’s work because he did not have any clients.

               Gary Thorn: He came in at 8:00 a.m., or 8:30 a.m., and finished at
                3:00 p.m., or 3:30 p.m., every day, and that was if he stayed with
                McGlothin for training. He sold little to none as a sales
                representative.

               Mark Turner: He worked 30 hours a week. He was a good sales
                representative. If he did not have any tours, he stayed to help close
                deals, which was called a back ender.

               Jamie Waits: She worked an average of 25 to 30 hours per week
                because she was in-house and they work fewer hours.

               Brett Williamson: He worked 25 to 30 hours a week but that
                estimate was “pushing it.” McGlothin stated that he had a difficult
                time reporting to work and that once he arrived, McGlothin had a
                hard time keeping him there. She explained that he also worked at
                his family car dealership. He also liked to play golf and that he
                would come to work dressed for the golf course. He also had to
                complete many Punch Forms because he forgot to clock in and out.
                McGlothin stated that he was hard to manage. McGlothin stated that
                she believed he lost his job because he would leave if he did not
                receive a tour in the morning. He did not work for Wyndham very
                long.

               Jaxon Wirgau: He worked 35 hours a week on average.

               Angela Woods: She may have worked 35 hours per week.
                McGlothin stated that it was hard for her to remember Woods.
                Woods realized that the job was not for her because she was meek
                and soft spoken.

               Jason Yocum: He worked 30 to 35 hours per week. She stated that
                when she first met Yocum, he stated that his wife was an attorney.
                Later, he stated that his wife was an orthopedic surgeon, and then
                later, stated that his wife was a pediatrician. McGlothin started
                micromanaging Yocum because she wondered what he was telling
                the clients. She also had to chase him down to clock in and out and
                that she had to complete three or four Punch Forms for him every
                day. He was very difficult to manage, and she believed he did not
                like working for a woman.



                                                108

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 108 of 157 PageID #: 16290
   [Id. at 133-197].37

          McGlothin testified that there was no policy that sales representatives worked more than

   forty hours but did not record more than forty hours. [Id. at 116]. She stated that she never

   disciplined or reprimanded a sales representative under her supervision for clocking in for more

   than forty hours a week. [Id. at 117]. McGlothin testified that she did not observe any sales

   representatives working while not clocked in. [Id.]. She stated that she never instructed a sales

   representative to clock out and continue working. [Id. at 118].

          Finally, McGlothin testified that a podium presentation is a group presentation conducted

   by a professional trained speaker. [Id. at 120]. She testified that she believed Wyndham started

   using podium presentations as opposed to one-on-one visits with customers and that podium

   presentations helped deliver a consistent message. [Id. at 120-22]. She explained that podium

   presentations allowed sales representatives to observe non-verbal buying queues. [Id. at 122].

          On cross examination, McGlothin testified that she does not recall if she ever disciplined

   Yocum for completing Punch Forms. [Id. at 198]. She agreed that it was reasonable to assume

   that she did not discipline him since there was nothing in his personnel file regarding discipline.

   [Id.] When asked why Yocum had two Punch Forms for October 28, 2011, showing different in

   and out times, and that the second Punch Form was signed on January 6, 2012, she stated that

   someone made a mistake. [Id. at 201-204, Ex. 3278, 3280]. She explained that Yocum wrote the



          37
              The Court observes that the parties filed deposition designations and counter-depositions
   of the following non-testifying Plaintiffs: Craig Carson, Robin Dickerson, Stacy Heaton, Patrick
   Neuenschwander, Richard Rang, Leo Shalhoup, Gary Thorn, and Jason Yocum. Dickerson
   testified that she averaged 58 hours per week; Heaton testified that she worked 65 hours per week;
   Neuenschwander testified that he averaged 67.5 hours per week; Rang testified that he worked 70
   hours per week; and Shalhoup testified that he averaged 55 hours per week. See [Doc. 417-5].
   Carson and Yocum were not asked about their average hours worked per week. [Id.]. Gary Thorn
   testified, “Average for the six months? Probably 50. 55 to 55.” [Doc. 421-32 at 3]. Plaintiffs did
   not counter-designate Gary Thorn’s testimony. [Doc. 413-1 at 2].

                                                   109

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 109 of 157 PageID #: 16291
   wrong date on one of them and that because there are two Punch Forms dated October 28, one of

   those dates was wrong. [Id. at 201, 204].

            McGlothin testified that a sales manager was required to be present when a sales

   representative made a sale. [Id. at 207]. When asked what was the latest time she stayed for a

   closing, she stated that she would be “totally guessing” but 9:00 p.m., or 10:00 p.m., would be a

   late night. [Id. at 208]. She explained that if a tour occurred at 3:30 p.m., that tour lasts until 5:30

   p.m. [Id.]. With a couple of hours of negotiation and getting the customer in and out of closing,

   that would be about 8:30 p.m., 9:30 p.m., or 10:00 p.m. [Id.]. She explained that as a manager,

   she also had reports to finish, emails to answer, and busy work that she could not do during the

   day. [Id. at 209]. Once the sales representatives leave, she completed quite a bit of paperwork.

   [Id.].   She identified an email dated April 17, 2012, that she wrote to several managers and

   directors of sales, explaining that she missed the recruiting dinner because she was closing a sale

   until 10:00 p.m. [Id. at 211-212, Ex. 3281]. She explained that she sent the email because it was

   usual for her to be at the office that late. [Id. at 212].

            McGlothin identified another email dated March 4, 2013, from Amanda Hill to McGlothin

   and other sales managers, that identified sales representative who had overtime. [Id. at 216, Ex.

   3281]. McGlothin explained that it was important for Hill to advise who had overtime because it

   was standard operating procedure. [Id. at 216]. She stated that the sales representatives were

   instructed to let their managers know if they were approaching overtime but that if they went into

   overtime, they were paid. [Id. at 217].

            McGlothin testified that James Campbell’s testimony that McGlothin instructed the sales

   representatives to record less than forty hours was not true. [Id. at 222-223]. She stated that

   Campbell was never on her team and that they had never been in a meeting together. [Id. at 223].



                                                      110

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 110 of 157 PageID #: 16292
   She also stated that Jason Yocum, Angela Woods, and Patrick Neuenschwander were not telling

   the truth about recording less than forty hours. [Id. at 223-224].

          McGlothin testified that she attended President’s Club, meaning that she did a great job,

   which was based on sales volume. [Id. at 230]. To be invited to President’s Club as a sales

   manager, she had to have approximately four million dollars in sales. [Id. at 231]. She stated that

   she was not aware if the sales representatives, who she testified to above, performed work after

   they left for the day. [Id. at 231-232]. She stated that all the sales representative above clocked

   out to take a break. [Id. 232-233]. She stated that she was not aware if Russ Cooper closed forty-

   two deals after 3:00 p.m. [Id. at 239]. When asked if she was aware Robin Dickerson closed thirty

   deals after 2:00 p.m., McGlothin testified that Dickerson worked there for quite a while and that

   she may have closed that many deals after 2:00 p.m. [Id. at 239-240]. She was not aware that

   James Campbell closed 101 deals after 12:00 p.m. [Id. at 240]. She explained that printing a

   contract did not mean that was when the deal closed. [Id. at 242]. She stated closing the next

   morning was not a rare occurrence and that for in-house, next day continuances were typical

   because the clients were busy. [Id.]. She stated that just because a contract was printed does not

   mean that was when the deal went into closing. [Id.].

   III.   ANALYSIS

          The Court will begin with an overview of the FLSA and then turn to its findings of fact

   and conclusions of law. The Court will also address Defendants’ Motion for Partial Findings and

   Conclusions Regarding Representative Evidence [Doc. 403].

          A.      Overview

          Pursuant to the FLSA, an employer generally must compensate an employee “at a rate not

   less than one and one-half times the regular rate at which he is employed” for work exceeding



                                                   111

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 111 of 157 PageID #: 16293
   forty hours per week. 29 U.S.C. § 207(a)(1). As explained by the Sixth Circuit, “Congress passed

   the FLSA with broad remedial intent.” Keller v. Miri Microsystems, LLC, 781 F.3d 799, 806 (6th

   Cir. 2015) (citing Powell v. U.S. Cartridge Co., 339 U.S. 497, 509-11, 515 (1950)). Further, the

   Sixth Circuit has stated that “[c]ourts interpreting the FLSA must consider Congress’s remedial

   purpose.” Id. (citing Lilley v. BTM Corp., 958 F.2d 746, 750, n. 1 (6th Cir. 1992)).

          The FLSA authorizes collective actions “by any one or more employees for and on behalf

   of himself or themselves and other employees similarly situated.” 29 U.S.C. § 216(b). Unlike

   class actions under Federal Rule of Civil Procedure 23, participants in a collective action must

   consent in writing. Comer v. Wal-Mart Stores, Inc., 454 F.3d 544, 546 (6th Cir. 2006). Although

   the FLSA does not define “similarly situated,” the Sixth Circuit has articulated three factors that

   courts should consider: (1) factual and employment settings; (2) the different defenses to which

   plaintiffs may be subject on an individual basis; and (3) the degree of fairness and procedural

   impact of certifying the action as a collective action. O'Brien v. Ed Donnelly Enters., Inc., 575

   F.3d 567, 584 (6th Cir. 2009), abrogated on other grounds by Campbell-Ewald Co. v. Gomez, 136

   S. Ct. 663 (2016). As mentioned above, the Court has already determined that Plaintiffs were

   similarly situated and allowed this case to proceed as a collective action. [Doc. 362].

          Plaintiffs who bring claims under the FLSA for unpaid overtime compensation must

   establish that they performed work for which they were not properly compensated. Anderson v.

   Mt. Clemens Pottery Co., 328 U.S. 680, 688-87 (1946), superseded by statute on other grounds,

   Portal-Portal Act of 1947; see also O’Brien, 575 F.3d at 602 (plaintiffs must “prove by a

   preponderance of evidence that [they] performed work for which [they were] not properly

   compensated”) (other quotations omitted). The Supreme Court has cautioned, however, that the

   “remedial nature of this statute and the great public policy which it embodies . . . militate against



                                                   112

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 112 of 157 PageID #: 16294
   making that burden an impossible hurdle for the employee.” Mt. Clemens Pottery, 328 U.S. at

   687. This is simply because under the FLSA, it is the employer’s responsibility to keep proper

   records, and employees “seldom keep such records themselves.” Id.

          The Supreme Court as further explained that when an “employer has kept proper and

   accurate records[,] the employee may easily discharge his burden by securing the production of

   those records.” Id. Other the other hand, if the records are inaccurate or inadequate, “and the

   employee cannot offer convincing substitutes, . . . [t]he solution . . . is not to penalize the employee

   by denying him any recovery on the ground that he is unable to prove the precise extent of

   uncompensated work.” Id. The Court reasoned, “Such a result would place a premium on an

   employer’s failure to keep proper records in conformity with his statutory duty; it would allow the

   employer to keep the benefits of an employee’s labors without paying due compensation as

   contemplated by the Fair Labor Standards Act.” Id. The Court continued:

                  In such a situation we hold that an employee has carried out his
                  burden if he proves that he has in fact performed work for which he
                  was improperly compensated and if he produces sufficient evidence
                  to show the amount and extent of that work as a matter of just and
                  reasonable inference. The burden then shifts to the employer to
                  come forward with evidence of the precise amount of work
                  performed or with evidence to negat[e] the reasonableness of the
                  inference to be drawn from the employee's evidence. If the employer
                  fails to produce such evidence, the court may then award damages
                  to the employee, even though the result be only approximate.

                  The employer cannot be heard to complain that the damages lack the
                  exactness and precision of measurement that would be possible had
                  he kept records in accordance with the requirements of § 11 (c) of
                  the Act. And even where the lack of accurate records grows out of a
                  bona fide mistake as to whether certain activities or non-activities
                  constitute work, the employer, having received the benefits of such
                  work, cannot object to the payment for the work on the most
                  accurate basis possible under the circumstances. Nor is such a result
                  to be condemned by the rule that precludes the recovery of uncertain
                  and speculative damages. That rule applies only to situations where
                  the fact of damage is itself uncertain. But here we are assuming that


                                                     113

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 113 of 157 PageID #: 16295
                  the employee has proved that he has performed work and has not
                  been paid in accordance with the statute. The damage is therefore
                  certain. The uncertainty lies only in the amount of damages arising
                  from the statutory violation by the employer. In such a case it would
                  be a perversion of fundamental principles of justice to deny all relief
                  to the injured person, and thereby relieve the wrongdoer from
                  making any amend for his acts. It is enough under these
                  circumstances if there is a basis for a reasonable inference as to the
                  extent of the damages.

   Id. at 688 (other citations omitted). The approach announced in Mt. Clemens Pottery has been

   repeatedly utilized within the Sixth Circuit. Monroe v. FTS USA, LLC, 860 F.3d 389 (2017),

   petition for cert. filed (U.S. Oct. 31, 2017) (No. 17-637); Herman v. Palo Group Foster Home,

   Inc., 183 F.3d 468 (6th Cir. 1999); Baden-Winterwood v. Life Time Fitness, Inc., 729 F. Supp.2d

   965 (S.D. Ohio 2010).

          The Court observes, however, that “Mt. Clemens Pottery and its progeny do not lessen the

   standard of proof for showing that a FLSA violation occurred.” O’Brien, 575 F.3d at 602. Instead,

   “Mt. Clemens Pottery gives a FLSA plaintiff an easier way to show what his or her damages are”

   when an employer’s records are inaccurate. Id. In this circumstance, a plaintiff is not required

   “to prove every minute of uncompensated work. Rather, [he or] she can estimate her damages,

   shifting the burden to the employer.” Id. “If the employer cannot negate the estimate, then the

   ‘court may award damages to the employee, even though the result be only approximate.’” Id.

   (quoting Mt. Clemens Pottery, 328 U.S. at 688).

          Further, § 216(b) of the FLSA provides that “[a]ny employer who violates the provisions

   of section 206 or section 207 of this title shall be liable to the employee or employees affected in

   the amount of their unpaid minimum wages, or their unpaid overtime compensation, as the case

   may be, and an additional equal amount as liquidated damages.” 29 U.S.C. § 216(b). Such

   damages are “compensation, not a penalty or punishment.” Elwell v. University Hospitals Home



                                                   114

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 114 of 157 PageID #: 16296
   Care Servs., 276 F.3d 832, 840 (6th Cir. 2002) (quoting McClanahan v. Matthews, 440 F.2d 320,

   322 (6th Cir. 1971)) (other quotations omitted). The court, however, has the discretion not to

   award liquidated damages to a prevailing plaintiff if “the employer shows to the satisfaction of the

   court that the act or omission giving rise to such action was in good faith and that he had reasonable

   grounds for believing that his act or omission was not a violation of the Fair Labor Standards Act

   of 1938.” Elwell, 276 F.3d at 840 (quoting 29 U.S.C. § 260). Courts have referred to employer’s

   burden as “substantial” because it requires “proof that [the employer’s] failure to obey the statute

   was both in good faith and predicated upon such reasonable grounds that it would be unfair to

   impose upon [it] more than a compensatory verdict.” Id. (quoting McClanahan, 440 F.2d at 322)

   (emphasis in Elwell). “In the absence of such proof, however, a district court has no power or

   discretion to reduce an employer’s liability of the equivalent of double unpaid wages.” Id. (quoting

   McClanahan, 440 F.2d at 322).

          Finally, the FLSA has a two-year statute of limitations for non-willful violations and a

   three-year statute of limitations for willful violations. 29 U.S.C. § 255(a). The Supreme Court

   has defined “willfulness” in this context to require that the “employer either knew or showed

   reckless disregard for the matter of whether its conduct was prohibited by the [FLSA].”

   McLaughlin v. Richland Shoe Co., 486 U.S. 128, 133 (1988) (citing Trans World Airlines, Inc., v.

   Thurston, 469 U.S. 111 (1985)).

          With the above analysis in mind, the Court will now turn to the present facts.

          B.      Findings of Fact and Conclusions of Law

          After consideration of the witnesses’ credibility, the admitted exhibits, and the admitted

   depositions, the Court finds as follows:




                                                    115

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 115 of 157 PageID #: 16297
          Plaintiffs and Opt-In Plaintiffs are 156 current and former Sales Representatives who

   worked during the Recovery Period at one or more of the four Tennessee resorts owned and

   operated by Defendants: (1) Lodge, (2) Crossing, (3) Glade, and (4) Nashville.            Defendants

   divided its sales force into three groups: (1) Front-Line Sales Representatives; (2) In-House Sales

   Representatives; and (3) Discovery Sales Representatives.38 Despite the different titles, the job

   duties and responsibilities of the sales force were similar. Specifically, the Sales Representatives

   sold ownership interests or trial packages to prospective owners and existing owners. Front-Line

   Sales Representatives attempted to sell ownership interests to prospective owners who did not

   already have an ownership interest. In-House Sales Representatives attempted to sell additional

   ownership interests to existing owners.        Discovery Sales Representatives attempted to sell

   prospective owners a trial package.

          At all four locations, Sales Representatives’ compensation was the same: they were paid

   on commissions with a minimum wage advance that was recouped from commissions. Further,

   Wyndham’s four Tennessee resorts had common management structures and utilized the same

   practices and procedures for timekeeping and compensation.

          In January 2009, Wyndham reclassified Plaintiffs from exempt employees to non-exempt

   employees and began using time clocks to record time.                 As mentioned above, Sales

   Representatives received commissions and minimum wage, but the minimum wage was later

   recouped if the Sales Representative made a sale. Wyndham maintained several written policies

   regarding how Sales Representatives were supposed to be paid, and Plaintiffs signed Wyndham’s

   written policies. For example, the Sales Person Agreement (Non-California) explained how




          38
               The Court will refer to all three groups collectively as “Sales Representatives.”

                                                     116

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 116 of 157 PageID #: 16298
   commissions were structured.      In addition, Plaintiffs signed Wyndham’s Timekeeping and

   Overtime Policy, which provided as follows:

                  The Company requires that each non-exempt employee accurately
                  accounts for all time they have worked. All non-exempt employees
                  must accurately record the time they began and end their work, as
                  well as the beginning and ending time of each unpaid meal period.
                  They must also record the beginning and ending time of any split
                  shift or departure from work for personal reasons. In addition, your
                  manager must approve all overtime work before it performed. Paid
                  Time Off such as sick days, holiday, and vacation days will not be
                  toward hours worked from overtime calculations. The Company is
                  required to and will pay all overtime to non-exempt employees.
                  “Comp” time is not provided. All overtime, approval or
                  unapproved, must be paid. It is the employees’ responsibility to
                  verify the accuracy of their submitted time records.

                  All clock punches will be rounded to the nearest quarter hour. When
                  corrections or modifications are made to the time record, the
                  employee and manager must verify the accuracy of the changes.
                  You may not alter, falsify, or tamper with time records, or clock or
                  sign another employee in or out. Such conduct will result in
                  corrective action, up to and including termination.

          In addition to the above language, the Timekeeping and Overtime Policy stated that meal

   periods must be taken if an employee is scheduled to work five of more hours. The policy

   continued that supervisors/managers would schedule the meal periods and that employees would

   be relieved of all active responsibilities and restrictions during meal periods and would not be

   compensated for that time. The policy stated that meal periods must be for at least thirty minutes.

   Finally, the policy explained that employees were given rest periods in the middle of their work

   periods but because the time was counted and paid as time worked, employees must not be absent

   from their work areas beyond the allotted rest period time.

          While Wyndham maintained written policies regarding overtime and employees’

   responsibility to record all hours worked, the Court finds that Wyndham did not follow such

   policies. The Court finds that in 2009, when Wyndham reclassified its employees to nonexempt,


                                                  117

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 117 of 157 PageID #: 16299
   upper management at all four locations in Tennessee became concerned that overtime would affect

   each site’s net operating income. Overtime pay affected upper management’s compensation

   because the compensation plan included a component for a net operating income bonus. Because

   overtime pay affected the net operating income, Wyndham began violating its own written policies

   with respect to recording all hours and paying overtime compensation. In fact, the overwhelming

   evidence establishes a consistent practice of prohibiting Sales Representatives from recording

   overtime and managers doctoring timecards to prevent overtime compensation.

          These two practices were implemented by requiring Sales Representatives to work off the

   clock and requiring Sales Representatives to sign inaccurate Punch Forms after managers altered

   their timecards (or risk being placed on overage). Many times managers simply forged Punch

   Forms. In furtherance of Wyndham’s unwritten policy to not record overtime, Sales

   Representatives (1) clocked out when not on tour but were still working, (2) clocked out for lunch

   breaks, despite not taking a lunch break, (3) clocked out before working nightline, if approaching

   overtime; and (4) did not accurately record time spent working party weekends and/or dinner

   parties. The Court also finds that Plaintiffs worked from home and did not record such hours,

   despite their managers having knowledge of such work. See also [Ex. 1024] (email from Matt

   Chodak stating to complete home work every night). Furthermore, the Court finds that Sales

   Representatives were lulled into believing that underreporting actual hours did not mean anything

   financially because the hours would only be credited as hours at minimum wage, and therefore,

   recouped from their commissions. They were never told that they were entitled to overtime based

   on their commission amounts.

          In particular, the Court finds Plaintiffs and Plaintiffs’ witness (Kristen Creson), who

   testified that managers edited timecards, highly credible on this issue, especially in light of the



                                                  118

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 118 of 157 PageID #: 16300
   documentary evidence and managers’ own admission that they did in fact doctor timecards. For

   instance, Kristen Creson, a non-party to this action, testified that as the administration manager in

   Nashville, she was directed to doctor timecards. She described how she made illegitimate edits to

   the Sales Representatives’ timecards using WynTime. She was instructed to make such edits by

   Dave LaBelle, the site Vice President and later promoted to the area Vice President, and the

   Directors of Sales, Jerry Prosise and Mike Carneal. Importantly, her testimony was consistent

   with the ways Plaintiffs described the edits on their timecards and how they were required to sign

   Punch Forms that did not accurately reflect the time that they worked. Further, she testified that

   90% of her edits were not legitimate and were made to keep Sales Representatives’ hours under

   forty.

            Creson also attended monthly meetings with the department heads and the site vice

   president, where she would bring doctored timecards to explain to the sales managers that she

   needed signatures on the doctored timecards. When she grew tired of being the “middle man,” she

   passed this responsibility onto the sales managers. She sent emails on Tuesdays, Wednesdays, and

   Thursdays to the sales managers identifying sales representatives’ time that needed to be edited.

   These emails were also sent to the regional administrative directors, Corey Miller and Mellissa

   Camper. Further, she even attended a meeting in Florida, with the administrative directors at the

   Glade and at the Smokies, wherein they discussed and shared how to doctor timecards. As noted

   above, Defendants did not even cross examine Creson, let alone impeach her testimony, nor did

   they call as witnesses those against whom she made such damning claims.

            The Court also finds David Nelon’s testimony regarding how he made illegitimate edits

   credible. During the Recovery Period, Nelon was a manager and an In-House Sales Representative

   at the Crossing.     Nelon testified that he logged on to the computer and adjusted sales



                                                   119

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 119 of 157 PageID #: 16301
   representatives’ time every Thursday before timecards were turned in on Friday mornings. He

   knew that sales representatives were working more than forty hours, but he was instructed by

   management, such as John Geissberger, to adjust the timecards. In fact, he identified several

   emails from Amanda Hill requesting permission from Jim Acee and John Geissberger to approve

   edits, which they approved within minutes. [Ex. 930]. These emails from Hill were similar to the

   emails that Creson described that she sent to sales managers. Nelon even testified to examples

   where he clocked an employee in at 5:00 p.m., and then later realized the employee was close to

   forty hours, so he clocked him out at 5:12 p.m. [Ex. 1619A]. He testified to similar situations of

   altering time cards. [Ex. 1619B, 1619C, 1622A, 1622B]. His cross examination did not impeach

   his primary testimony at all, nor were any witnesses called to impugn his testimony.

          The Court further finds the testimony of Jeff Cross, a manager at the Glade, also credible.

   He instructed his sales representatives to clock out and continue working. When questioned why

   he gave them these instructions, he stated that the sales representatives had to pay the money back

   and that overtime affected the net operating income. He explained that he also received emails

   from his Human Resource Representative, Camille Combs, which included information about

   sales representatives’ timecard entries, including whether they were missing a punch, whether they

   were approaching thirty-two hours, or whether they had made a sale while they were not clocked

   in. Again, these emails were similar to the emails described by Creson, who was located in

   Nashville, and the emails sent by Hill, who was located at the Smokies. While Bryan Tesh was

   not a manager, he testified that he helped Nelon make edits in WynTime and that 90% of the edits

   he made were to reduce hours. He further went into detail on how he made edits in WynTime.

   For instance, Tesh described that when he made an edit in WynTime, a small box appeared

   reflecting an edit had been made. He further described that when he made a change in WynTime,



                                                  120

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 120 of 157 PageID #: 16302
   he had to ensure the written form matched the change made in WynTime. With respect to this

   written form, he obtained the signature of the specific sales representative and the manager. He

   continued that often managers would sign blank forms and that it was his job to ensure everyone

   completed the form. His description of this process is consistent with the Plaintiffs’ testimony

   regarding signing inaccurate and/or blank Punch Forms and the other managers’ testimony

   regarding how they altered timecards. Moreover, defense witness, Connie McGlothin, testified

   that when she turned out the lights, Tesh was still on his computer. She claimed he was not

   performing work for Wyndham because he did not have any clients, but the Court finds that he

   was editing timecards as he explained in detail.

          As mentioned above, the Court finds Plaintiffs performed work while not clocked in and

   for which they were not properly compensated. In further support of the Court’s finding, Kyle

   Smith, a defense witness, stated that Wyndham performed several audits (one of which he

   requested based on Plaintiff Jesse Pierce’s claims that sales representatives were working off the

   clock) that showed that sales representatives were working while not clocked in.39 Additionally,


          39
              The Court also observes that in Kyle Smith’s deposition, he was questioned about an
   email from Dave LaBelle to Smith and others dated October 31, 2013, a week after this lawsuit
   was filed. [Doc. 414-10]. The email references a visit from Karen Case. [Id.] Smith testified that
   Karen Case was the Human Resource partner for the South Region and that as a result of her visit,
   John Geissberger, Dave Fowler, and Dottie Justice were terminated. [Id.]. He further testified that
   all the other managers were given a written warning to keep better WynTime records for sales
   representatives. [Id. at 53]. Further, Defendants’ 30(b)(6) witness, Laurie Saltman-Kovatch, also
   testified that Karen Case terminated John Geissberger, Dave Fowler, and Dottie Justice. [Doc.
   414-7 at 39]. In addition, Fowler stated in his deposition that he was terminated “because of the
   prior violation due to the time clock situation.” [Doc. 414-8 at 23]. Given Plaintiffs’ serious
   allegations against Geissberger, Fowler, and Justice, the Court wanted to hear their testimony, but
   Defendants never called them as witnesses. The Court was surprised to discover, in a deposition
   designation as opposed to at trial, that they had in fact been terminated. However, this immediate
   termination only serves to corroborate and confirm Plaintiffs’ evidence and particularly the
   testimony of Creson and Nelon. Plaintiffs submitted portions of Fowler’s deposition with respect
   to his termination, [Doc. 414-8], and Defendants filed counter-designations. [Doc. 423-8].
   However, the Court notes that Dottie Justice, John Geissberger, and David Fowler were listed on
   Defendants’ witness list [Doc. 312] but were not called to testify.

                                                  121

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 121 of 157 PageID #: 16303
   an earlier audit in 2012 established Sales Representatives were not recording their time accurately.

   [Doc. 414-9 at 30-33].40 41 Kyle Smith testified that on October 17, 2012, Darryl Langlais reported

   the results of the audit to Smith and several others. [Ex. 1140]. Langlais reported, “Though the

   team is doing well at documenting missed punches, the missed punch report for the month of

   September was 501 pages.” [Ex. 1140].

          The Court further finds that Wyndham’s policy of prohibiting its Sales Representatives

   from recording overtime, despite working overtime, turned on its head in 2013 when two events

   occurred. First, several sales representatives discovered that another sales representative, Terry

   McGlothin, was not deemed eligible for medical benefits/leave because his timecards did not

   reflect sufficient hours worked. Plaintiffs, including Michael Pierce, Sr., began questioning the

   accuracy of their time records, given that they worked well more than thirty hours a week. Second,

   two employees complained about working while not clocked in, Jesse Pierce and Josh Carr. [Doc.

   414-9 at 34]. Specifically, Jesse Pierce met with Kyle Smith over several issues and the fact that

   sales representatives were not recording all the time that they worked was mentioned. As

   previously noted, Smith acknowledged that afterwards Dottie Justice performed a sample audit,

   which showed that sales representatives were working while not clocked in. Further, Laurie

   Saltman-Kovatch testified in her deposition that she partnered with Karen Case to perform an




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             The Court observes that it appears the 2012 audit was triggered because an audit was
   being conducted in Panama City by the Department of Labor. Kyle Smith testified that Dave
   LaBelle wanted to conduct a mock audit in case the Department of Labor investigated the other
   sites. [Doc. 426 at 76].
          41
             Defense counsel objected to Plaintiff’s counsel question, stating “it’s outside the scope
   of what the judge as allowed.” [Doc. 414-9 at 33]. The Court finds the objection overruled as the
   question is relevant to the issues and allegations against Wyndham.

                                                   122

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 122 of 157 PageID #: 16304
   investigation into Carr’s complaints. [Doc. 414-9 at 36, 38]. Their audit resulted in the termination

   of Dottie Justice, John Geissberger, and David Fowler. [Id.].

          Around the time the 2013 audits were occurring, Susan Middleton, a sales manager at the

   Crossing, sent an email from her Wyndham email account to her personal email account on

   October 12, 2013, that states as follows:

                  Spoke with Tammie in HR on or about October 7th about wyntime.
                  I informed her that we had been doing this wrong all along. I told
                  her that we were always told that the reps could not have over 40
                  hours. Also, I told her that we were told to put in a break if the
                  employees had over 5.75 hours in one shift. I always did my
                  Wyntime how I was taught by my senior leadership team. We were
                  always told that it didn’t matter because they had to pay the money
                  back anyway. I was concerned after the meeting we had in early
                  September as to most of our processes, and I had started doing it
                  different since then. I used to fill out the forms for the reps with
                  whatever time I had put in and had them sign it. I never worried
                  about hours on the PAW or nightline because, once again, I had
                  always been told that they had to pay back the money anyways. I
                  explained to her that I was fearful for my job because everyone was
                  saying that any wrong doings were the managers fault because we
                  are the ones who approved Wyntime.

                  For the week ending 10/10/13, I repeatedly asked my senior
                  manager, Lisa Jarvis, if I should let reps continuing working even
                  though they were going into overtime. She said yes.

                  I was informed on wed, 10/8 that Elizabeth Knox and Emily Rasnick
                  were being transferred to the waterpark. John had repeatedly
                  promised that he would not break up my team or move anyone until
                  after November. Feeling like it would be related to my visit with
                  Tammie, I sent him a text that day asking if this was done because I
                  had gone to HR over Wyntime. He didn’t respond. The 2 reps that
                  were transferred were no where near the quality of the two they
                  moved off my team. Quite honestly, it did feel like retaliation.

                  On Thursday, the 10th




                                                   123

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 123 of 157 PageID #: 16305
   [Ex. 1275]. 42     Middleton’s email (being from another one of Defendants’ managers) further

   supports the Court’s finding that Sales Representatives were prohibited from recording more than

   forty hours despite working more than forty hours and that managers were editing timecards.

          The Court further finds Wyndham’s time records are grossly inaccurate and support

   Plaintiffs’ claim that they were performing work while not clocked in. Furtherance, there were

   voluminous records showing that Punch Forms and timecards were forged and/or unsigned. Some

   managers even brought Sales Representatives, such as Cheij, Johnson, Siler, Chappell, Stallings,

   Bogardus, and Jesse Pierce, blank Punch Forms to sign.43 If the Sales Representatives did not

   sign the Punch Forms, they were placed on overage, which is a form of discipline. There were

   numerous emails, which were sent weekly and prior to the pay period closing, instructing sales

   managers to edit time records. The Court further notes that in 2012, Lisa Jarvis sent an email

   stating, “How Craig wrote deals this week but according to the clock wasn’t here will be a mystery

   to the auditors!” [Ex. 1206]. Further, Thrift testified that his manager began clocking him in and

   out, which was supported by the fact that someone continued to fictitiously clock him in and out

   when he was not even working at Wyndham.

          Further, the Court observes that the average number of hours reflected on the timecards

   during the Recovery Period is incredibly low. [Ex. 3245]. For instance, Jesse Pierce averaged

   26.9531 hours per week according to his time records during the Recovery Period, despite him



          42
              The Court notes that the parties agreed that in lieu of Susan Middleton testifying at trial
   as part of Plaintiffs’ rebuttal proof, Plaintiffs would submit Exhibit 1275, the October 12, 2013
   email from Susan Middleton’s Wyndham email address to her personal email address. [Doc. 426
   at 253-54]. The Court also notes that the email does not continue after, “On Thursday, the 10th,”
   and that the Court did not correct any grammatical errors in the email. The Court notes that
   Defendants never called Susan Middleton, nor Tammie Smith in human resources as witnesses.
          43
               See infra note 28.


                                                    124

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 124 of 157 PageID #: 16306
   being one of the highest earners. Greg Christian, a defense witness, even described Jesse Pierce

   as a “workaholic.” Further, and to highlight a few examples of such inaccuracies and that the

   time on the timecards were just “made up”, Amanda Hill, the commissions analyst, sent an email

   requesting permission to add 8 a.m. to 5 p.m., for five days on Jesse Pierce’s timecard because

   there were no hours recorded that week. [Ex. 930]. Geissberger responded within seven minutes,

   “Approved.” [Ex. 930].        Further, in another email from Hill dated October 21, 2010, to John

   Geissberger and Jim Acee, Hill requests their approval to fix a number of sales representatives’

   timecards, including their approval to insert breaks for certain sales representatives. [Ex. 937].44

          In addition, many Plaintiffs, and several defense witnesses, testified that they were familiar

   with the term “Rocktober,” which is one the busiest months at Wyndham. Despite being one of

   the busiest months, however, James Shannon Abbott’s timecards show that he worked a total of

   17 hours from September 30, 2011, to October 6, 2011, and 16.25 hours from October 7, 2011, to

   October 13, 2011. [Ex. 1881].         Several of Jesse Pierce’s timecards for September to October

   2011 show as follows: 12.75 hours for September 2, 2011, to September 8, 2011, [Ex. 1482C];

   and 18.5 hours for October 7, 2011, to October 13, 2011, [Ex. 1482D]. Craig Thrift’s timecards

   show: 29 hours for September 30, 2011, to October 6, 2011;45 31.25 hours for October 7, 2011,

   through October 13, 2011; 22 hours for October 14, 2011, to October 20, 2011; 33 hours from

   October 22, 2011, to October 27, 2011;46 and 18.25 hours from October 28, 2011, to November 3,



          44
               The parties stipulated to Exhibit 937 in lieu of Amanda Hill testifying at trial. [Doc. 426
   at 254].
          45
            The Court observes that there are two timecards from September 20, 2011, to October 6,
   2011. Both timecards reflect 29 hours for the week and show the same clock in and out times;
   however, the signatures and initials on the timecards are different. [Ex. 1491].
          46
            This timecard is a bit odd. Thrift’s other timecards begin with Friday and end on
   Thursday. This timecard begins on Saturday, October 22, 2011, and ends on Friday, November 4,

                                                     125

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 125 of 157 PageID #: 16307
   2011. [Ex. 1491]. These are but examples and was used because these sales representatives were

   among the highest compensated sales representatives (Abbott averaged greater than $450,000 year

   from 2010 to 2013; Pierce averaged greater than $700,000 a year in 2010 to 2013; Thrift averaged

   greater than $500,000 a year in 2011 to 2013; and Garrett averaged greater than $275,000 per year

   in 2011 to 2013).

          Thomas Garret’s timecards show as follows: 16.25 hours September 30, 2011, to October

   6, 2011; 25.75 hours from October 7, 2011, to October 13, 2011; 22.5 hours from October 14,

   2011, to October 20, 2011; 32.25 hours from October 22, 2011, to October 27, 2011;47 and 30.75

   hours for October 28, 2011, to November 3, 2011. [Ex. 1627].

          It is hard to imagine that these hard working, high earners worked these few hours in the

   most productive month, yet earned the six-figure incomes they did. Finally, all Plaintiffs testified

   that they were not allowed to record over forty hours on their timecards, despite working more

   than forty hours, and that their managers edited the time on their timecards.

          Further, all Plaintiffs testified that they worked while they were not clocked in. They

   clocked out in between tours despite working, they clocked out for lunch despite not taking a lunch

   break, they did not clock in for party weekends, dinner parties, or nightline if they were

   approaching forty hours, and they closed contracts while not clocked in. With respect to closing

   contracts, Plaintiffs submitted documentary evidence showing that many Plaintiffs, and defense

   witnesses, were working on the clock while closing a contract. [Ex. 3236]. With respect to closing

   a contract while not clocked in, Defendants were able to rebut only a few of these entries by




   2011. Neither the timecard before it, nor the timecard after it, shows Friday, October 21, 2011.
   [Ex. 1491].
          47
               See infra note 46. This timecard is also missing Friday, October 21, 2011.

                                                    126

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 126 of 157 PageID #: 16308
   explaining that the transactional date and sale date “could” be different, but for a large majority of

   these entries, the transaction and sale dates are the same. [Ex. 3236].

           Accordingly, based on the above findings of fact and the analysis of the FLSA, the Court

   concludes that Wyndham violated the FLSA by prohibiting Sales Representatives from recording

   or recovering overtime, despite working overtime, and by instructing sales managers to edit

   timecards to misrepresent the time that Sales Representatives worked to achieve that result.

           The Court further finds that Wyndham knew that it was violating the FLSA because upper

   management instructed sales managers to edit timecards and to make sure that Sales

   Representatives did not record overtime.          Specifically, the Court finds that not only did

   management know about the FLSA violations, but management was also involved in violating the

   FLSA at all four Tennessee locations. All Plaintiffs testified that their managers instructed them

   to record less than forty hours despite working more than forty hours. Managers acknowledged

   that they edited timecards and were told to do so by site vice presidents, directors of sales, and/or

   human resource officers. Further, it appears this was done to increase the income/bonuses of upper

   management, but whatever the reason, it was a violation of the law.

           Because Wyndham knew and even participated in the FLSA violations, the Court finds it

   appropriate to assess liquidated damages. Defendants have not shown that the failure to obey the

   law was in good faith and predicated on reasonable grounds. To the contrary, all they offered

   were current employees who testified they did not do such things, but those supervisors accused

   of such did not testify as noted herein.

           Further, because the Court finds that Defendants’ actions were willful, the Court also finds

   that the three-year statute of limitations is applicable in this case.




                                                     127

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 127 of 157 PageID #: 16309
          The Court finds the testimony to the contrary not credible. For instance, Defendants

   attempted to rebut Plaintiffs’ testimony by emphasizing that Plaintiffs did in fact receive overtime

   on several paychecks.      However, the overtime hours that were emphasized during cross

   examinations were only occasional and not substantial, handpicked by Defendants out of

   thousands of records, and did not occur regularly. Further, Defendants’ position is weakened by

   Defendants’ emails regarding overtime and changes made to timecards. For example, an email

   dated August 16, 2013, from Amanda Hill to Kyle Smith and other managers, states, “The

   following reps had overtime reported. This will cost us!” [Ex. 798A]. Kyle Smith attempts to

   explain this and other emails were not found credible by the Court.        In another email dated,

   September 24, 2012, Lisa Jarvis, the Senior In-House Manager, states:

                  Craig has no hours??? He needs to fill out a time card for the week
                  on a missed punch form. Stef you know how big of an issue this is.
                  Fill these sheets out, get them signed and bring them to John before
                  you go home today. OVERTIME is not acceptable! All the reps with
                  overtime will be receiving coaching notes. Managers are you
                  monitoring their time?

   [Ex. 1233].

          Further, the Court finds that Defendants’ witnesses’ testimony regarding off-the-clock

   work was questionable. For example, on cross examination, Greg Christian was asked why he

   was not clocked in for the 98 contracts, out of the 237, that he closed. [Ex. 3250]. He testified

   that Wyndham would not approve that and that “it is what it is.” [Doc. 395 at 123]. He further

   explained that he missed those punches. On direct examination, he testified that he worked

   mornings in June and July, and his explanation as to why he did not clock in until mid-morning or

   afternoon was that he simply forgot. [Ex. 6548].

          The Court did not find Greg Christian’s testimony particularly credible. He is still currently

   employed at Wyndham and despite him being a top earner and a “Legend,” he claimed he started


                                                   128

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 128 of 157 PageID #: 16310
   work at 7:30 a.m., and was done by 12:30 p.m., and thus worked only 25 to 30 hours per week.

   This would mean that he never did an afternoon tour, nor stayed for closings. From his testimony,

   it appears he did both but was not on the clock, as per the Plaintiffs’ testimony. He also testified

   that he was good at clocking in and keeping accurate records, but the cross examination impeached

   such testimony. Christian also testified that he was a Legend, giving him more freedom, and his

   experience was different than others. Further, he denied that managers did what managers

   admitted doing, and the proof was consistent that other non-testifying managers doctored time.

   Further, the managers’ testimony was consistent with the other proof in this case

          There were similar deficiencies in Defendants’ other witnesses. For instance, Elizabeth

   Matthews described herself as a “workhorse,” yet in October 2010, she recorded on average of 4.4

   hours per day. [Ex. 3262]. This means, at best, the undersigned and Matthews do not share the

   same understanding as a “workhorse,” or at worse, Matthews was simply not telling the truth.

   Further, on direct examination, Matthews testified that her normal work hours were only from 8:00

   a.m., to 2:00 p.m., to 3:00 p.m. On cross examination, however, when asked why in October, she

   clocked in after the first tour wave, she testified that she elected to miss the first round of tours.

   Such testimony is inconsistent with her direct examination, and the Court finds it to be not credible.

   Further, the Court finds her testimony that her recorded time was accurate is unrealistic and

   incredible in light of the fact that Matthews legitimately missed a punch almost every day for a

   period of six months, had 1,109 missed punches, and her admission that she was a habitual offender

   at not clocking in.   She also testified that everyone was on vacation in January and February,

   which is obviously not credible.

          With respect to Dale Topping’s testimony, the Court finds that he is a current Wyndham

   employee, and most of his testimony was an explanation regarding procedure but not very relevant



                                                    129

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 129 of 157 PageID #: 16311
   to the issues. His testimony regarding generating a contract while he was not clocked in not

   credible. He explained that he may not have been clocked in because it was a be-back, a blowout

   situation, or a missed punch and that in any event, even if he was given additional time, it would

   not put him in an overtime situation. The Court finds his explanation doubtful. For instance, on

   October 10, 2013, a contract was printed and closed, and he was not clocked in for the entire day.

   [Ex. 6549A] He testified that he only worked 30 to 35 hours, starting work at 7:45 a.m. This

   would mean he, like Christian, would have been done by 12:45 p.m., or so. It appears unlikely

   that he never worked an afternoon tour or completed all his closings so early, which took up to an

   hour, and after which, he walked the customers out to their cars.

          Similar deficiencies exist with respect to Greg Minor’s testimony. See [Ex. 3271]. Minor

   is also a current management employee of Wyndham. He testified he arrived between 7:45 a.m.,

   or 8:00 a.m., and left between 1:00 p.m. and 5:00 p.m., but rarely stayed after 5:00 p.m. Yet, he

   only estimated his average hours at 30 to 35 hours per week. He admitted that he probably did not

   record all the hours that he worked. He also purported to be able to testify about precise hours

   worked weekly by almost a dozen sales representatives up to seven years ago.

          Further, Connie McGlothin is also a current Wyndham employee. She initially claimed

   that she was the first to arrive and last to leave work, leaving at 5:00 p.m., to 6:00 p.m. She

   acknowledged that the first tours began at 8:00 a.m., to 8:30 a.m., and that the last tours began at

   3:00 p.m., to 3:30 p.m. She admitted on cross examination that those 3:30 p.m. tours, would last

   until 5:30 p.m., and the closing would not be over until 8:30 p.m., to 10:00 p.m. She “guessed”

   that the latest she stayed for a closing was 9:00 p.m., to 10:00 p.m. She also testified that after the

   sales representatives left, she had lots of paperwork and reports to complete. Thus, it does not

   seem credible that she left by 5:00 p.m., to 6:00 p.m., on a daily basis. In this regard, the Court



                                                    130

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 130 of 157 PageID #: 16312
   also finds the testimony of Nelon, Pierce, Sr., Siler, Tesh, Slone and Stallings—all sales

   representatives who worked for her—more credible in their testimony than her. Further, she had

   inaccurate Punch Forms that she could not adequately explain. [Ex. 3278, 3280]. The Court also

   finds it unusual that she could recall forty-four sales representatives’ average number of hours

   worked in a workweek up to seven years ago but could not recall if she had ever disciplined Jason

   Yocum, who she allegedly had to chase down to sign Punch Forms. She agreed that it was

   reasonable to assume that she had not disciplined him given that there was nothing in his personnel

   file indicating that she had done so. She also did not know that certain sales representatives closed

   a substantial number of contracts after 3:00 p.m., (42 by Cooper), after 2:00 p.m. (30 by

   Dickerson), or after noon (101 by Campbell).            Finally, although she testified that sales

   representatives left earlier, she admitted a late night for a closing could be 9:00 p.m., or 10:00 p.m.

          With respect to Bobby Cummings, he is also a current Wyndham employee and was a

   Discovery Sales Representative. He acknowledged that Discovery Sales Representatives were the

   last to leave because their pitch came after a tour. He also testified that sales representatives who

   worked off the clock were fired or written up (which the Court finds not credible) and testified that

   sales representatives did not work at home as they were all lazy. In light of all the other testimony,

   the Court finds this not credible either.

          Further, the Court finds several statements by Kyle Smith not to be credible. For instance,

   while Smith claims he did not know that sales representatives were working while not clocked in

   until the audit, the Court finds this testimony not credible because he was sent various emails from

   Amanda Hill regarding sales representatives’ time. [Ex. 1233, 798A].         The Court finds Smith’s

   claims that he did not know what was occurring implausible, given the documentary evidence in

   this case. In addition, when asked whether both representatives were required to stay through a



                                                    131

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 131 of 157 PageID #: 16313
   closing, he claimed it was not a policy but instead a “best practice,” despite John Geissberg’s email

   stating that it was a requirement. [Ex. 1131]. He did admit that in the Tennessee properties, sales

   representatives were to follow up with their customers by telephone and email. His testimony,

   however, regarding the emails referring that overtime “will cost us” and “is not acceptable” is not

   credible as relating only to prior reporting of overtime.

          Further, with respect to Jeanie Willis, another current employee of Wyndham, she was

   located in Florida and not present on any of the sites. She could not testify as to whether Sales

   Representatives’ timecards were accurate. In fact, when she processed payroll, she assumed the

   entries in WynTime were accurate, and she never performed an audit of the timecards. She further

   acknowledged that she did not know if the hours recorded were accurate. The Court finds her

   testimony was not relevant to the allegations against Wyndham.

          The Court further notes that all of Defendants’ witnesses are also still employed at

   Wyndham while testifying on its behalf. Finally, the Court notes that while Plaintiffs signed

   Wyndham’s policies regarding timekeeping and overtime, these policies were not explained to

   Plaintiffs and that they believed and followed their managers’ directions regarding overtime hours

   and believed what they were told—that is, both their overtime hours and their non-overtime hours

   were recouped by Wyndham.

          The Court must now determine the amount of uncompensated hours worked. The Court

   observes that its “determination is by necessity imprecise, involving estimates and averages, since

   Defendant[s] failed to keep records of the precise time Plaintiffs worked.” Baden-Winterwood,

   729 F. Supp. 2d at 991-92. Specifically, Plaintiffs have requested that the Court award 63.66 hours

   per week for all Plaintiffs. See [Doc. 417-5]. While the Court finds Plaintiffs have established

   that they worked overtime, the Court finds Defendants have somewhat rebutted Plaintiffs’ average,



                                                    132

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 132 of 157 PageID #: 16314
   and further finds Plaintiffs’ own testimony, albeit only estimates, to be a bit on the high side, and

   thus, a reduction is warranted.

          Plaintiffs testified and the Court finds that virtually all of the Plaintiffs (except Discovery

   Representatives) regularly began their day by attending a mandatory meeting at approximately

   8:00 a.m.    Tour waves were scheduled in the morning, around noon, and in the afternoon.

   Plaintiffs rarely took uninterrupted lunch breaks. If Plaintiffs were not on tour, they were waiting

   for the next tour, at a continuance, shadowing other sales representatives, or following up with

   clients but were on the clock at the work premises.     The Court notes that there was no set time

   for Sales Representatives to leave because it ultimately depended on when clients stopped

   checking in for the evening or whether a client agreed to purchase. Defendants assert that based

   on their Payment Gateway Data, 84% of the transactions relating to payment for contracts

   associated with Plaintiffs occurred before 5:00 p.m., and that 63% of the transactions relating to

   payments for contracts associated with Plaintiffs occurred before 3:00 p.m. [Doc. 420]. Plaintiffs

   respond that using Defendants’ percentages, this means that Plaintiffs were involved in 19,065

   contracts during the Recovery Period. Plaintiffs continue that this further means that the payment

   for 7,054 contracts was received after 3:00 p.m., and that the payment for 3,050 contracts were

   received at 5:00 p.m. [Doc. 425]. The Court finds that Sales Representatives were expected to,

   and indeed required, to stay with the customers through closings.

          The Court finds that the above numbers do not rebut but confirms Plaintiffs’ position that

   they often stayed late. As Plaintiffs testified, many deals were split between a front ender and back

   ender and that both sales representatives, per John Geissberger, were required to stay throughout

   the closing. See [Ex. 1046] (email explaining that both representatives must stay through the

   closing or be placed on overage). In addition, they were also required to walk the client to his/her



                                                   133

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 133 of 157 PageID #: 16315
   car and answer any follow-up questions. Further, the Court notes that not every tour ended in a

   closing and that closings were not the only duties Sales Representatives performed. For instance,

   Sales Representatives also participated in nightline, dinner parties, and party weekends. Finally,

   often times, Sales Representatives performed work when they arrived home such as answering

   emails and making telephone calls, and the Court finds that although Discovery Representatives

   often stayed later, in those cases where there was not a sale or closing, they stayed and made their

   presentation. Thus, while they started later, they often stopped later.

            The Court further finds that Plaintiffs often worked five to six days a week.       Plaintiffs

   testified that they were familiar with “six-ones” (i.e., six days on, one day off) and that they worked

   “six-ones.” In fact, an email from John Geissberger canceled all leave requests from June to

   September and specifically states that the sales representatives were to work “six-ones.” [Ex.

   1144].

            The Court finds, however, that January and February were considered the slow season and

   that during these months, Plaintiffs did not work as many hours. While a number of Plaintiffs

   testified that they worked the same amount of hours during the slow season as the busy season, the

   Court finds otherwise. A number of Plaintiffs acknowledged that January and February were

   slower and that they did not work as many hours. To highlight a few examples, Tony Siler

   acknowledged that in January and February, he worked about 20 to 30 hours per week and that his

   recorded hours were probably accurate during those months. Shannon Abbott testified that he left

   for Florida every year on December 31 and that he stayed in Florida for two months. Michael

   Pierce, Sr., testified that he attended President’s Club every year and that they were always in

   January or February. He also testified that he wanted to schedule his back surgery during the “off

   season.” Jesse Pierce also attended President’s Club, along with David Nelon.           While Pierce



                                                    134

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 134 of 157 PageID #: 16316
   testified that he attended daily meetings during his trips, he did not provide any testimony with

   respect to how much work he performed during these trips or how long he spent in meetings. Stacy

   Heaton testified during his deposition that sales representatives had time off in January and

   February and that they did not work that long because it was the slower season. [Doc. 421-15].

   While several Plaintiffs testified that they did road shows, it was not clear to the Court how much

   work they actually performed or hours they spent working.

          Defendants tried to rebut Plaintiffs’ testimony because several Plaintiffs testified that they

   could not recall the most amount of hours or the least amount of hours that they worked in a

   workweek. Further, the Court observes that in the deposition designations (e.g., Alexander Grimal,

   Craig Carson, Clayton Dalton, Doug Kyle, Jeanne Swafford, Robin Dickerson, Stacy Heaton,

   Randolph Navarro), Defendants questioned how many hours were worked in a specific workweek.

   The fact that Plaintiffs cannot recall the specific amount of hours that they worked in a specific

   workweek approximately six years ago does not discredit their testimony. In fact, the Court would

   question such testimony if they were able to recall such specific details without detailed records.

   Further, the case law previously cited supports the same proposition.

          The Court agrees that the Sales Representatives often stayed late, “often” worked greater

   than forty hours whether on tours, at closings, doing follow-up contact works, nightlines, dinner

   parties, party weekends, and so forth. But the Court does not find that they “always” or even

   “regularly” worked as long as some claimed. The Court finds that the January through February

   time period was slower and Sales Representatives generally worked less hours and took off more

   then; that there was likely time taken off for trips, vacations, personal matters, medical and family

   issues. The Court finds there were some very busy days, weeks, and months (i.e., Rocktober,

   Yesvember, holidays, and summers), but there were also slows days, less tours, and leaving early.



                                                   135

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 135 of 157 PageID #: 16317
   It appears virtually unanimous that most of all the Sales Representatives arrived by 7:30 a.m., to

   8:00 a.m., for the start of business (except the Discovery Representatives, who started later but

   often stayed later due to trying to sell to those who did not buy). When they left, was a function

   of tours, sales success and contracts to be closed. There was also some work done after they left.

   Accordingly, the Court has weighed all the evidence, testimony, and exhibits and finds that the

   reasonable inference to be drawn is that the average number of hours worked were 52 hours per

   week, meaning that the Sales Representatives are entitled to 12 hours per week of overtime

   compensation.

           C.      Representative Testimony

           As mentioned above, Defendants have moved [Doc. 403] this Court for partial findings

   and conclusions regarding the representative evidence. The Court will first summarize the parties’

   positions on this Motion and then determine whether the testimony of the Sales Representatives

   was representative of the non-testifying Sales Representatives.

           1.      Positions of the Parties

           Defendants move [Doc. 403] the Court, pursuant to Federal Rule of Civil Procedure 52(c),

   to find that Plaintiffs failed to carry their burden to show that their trial evidence was representative

   of the class. Defendants assert that Plaintiffs failed to prove at trial that their small, hand-picked

   sample of witnesses was sufficiently representative to show class wide liability and damages.

   Defendants assert that the Court excluded Dwight Steward, Plaintiffs’ expert, as a witness but that

   Plaintiffs did not even follow their own expert’s methodology. Defendants assert that, instead,

   Plaintiffs handpicked a small number of them to testify and then added Plaintiffs who were not

   part of the original sample. Defendants assert that there was no expert testimony at trial to prove

   that their sample was reliable or representative. Defendants assert that Plaintiffs ask that the Court



                                                     136

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 136 of 157 PageID #: 16318
   presume without any proof that the testimony of 30 hand-picked trial witnesses are representative

   of 156 Plaintiffs and that the testimony is scientifically valid and reliable.

          Further, Defendants argue that the unrebutted expert evidence at trial showed that

   Plaintiffs’ small, hand-picked sample was not representative.          Defendants provide that Dr.

   Mitchem, through his report and trial testimony, exposed fatal flaws in Plaintiffs’ claim that their

   sample of witnesses was representative and reliable.

          In addition, Defendants assert that Plaintiffs’ trial witnesses varied significantly from the

   class to their own sample. Defendants explain that out of 156 Plaintiffs, nineteen worked at the

   Glade and only seven testified. Further, Defendants state that twenty Plaintiffs worked at the

   Nashville location but only one of the testifying Plaintiffs worked exclusively at the Nashville

   location. They state that ninety-seven of the Plaintiffs worked at one or both of the Sevierville

   locations but twenty out of twenty-five Plaintiffs who testified worked only at the Smokies. They

   assert that the Smokies Plaintiffs were overrepresented and the Glade and Nashville Plaintiffs were

   underrepresented at trial. Defendants argue that such differences also extend to the positions held

   by Plaintiffs. Defendants submit that the Court heard from a disproportionally high number of In-

   House Sales Representatives from the Smokies who claim to have worked more hours off the clock

   than any other category of Plaintiffs.

          Defendants also argue that Plaintiffs’ purported sample provided testimony that was

   internally inconsistent and irreconcilable. For example, Defendants explain that the amount of

   time that Plaintiffs claim to have worked each week varied among the Plaintiffs from an average

   of 50 hours a week to 80 hours a week with tremendous variations in between. In addition,

   Defendants argue that Plaintiffs also offered different theories of proof relating to working off the

   clock, which demonstrates that the testimony is not representative. Defendants assert that its



                                                     137

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 137 of 157 PageID #: 16319
   witnesses further show the individualized nature of Plaintiffs’ claims and the extensive variation

   among Sales Representatives’ testimony.

          Defendants submit that Plaintiffs’ testimony was vague and insufficient to prove liability

   and damages for each member of the collective action. Defendants argue that Plaintiffs’ so-called

   representative evidence would not be admissible in individual lawsuits under Tyson Foods, Inc.,

   v. Bouaphakeo, 136 S. Ct. 1036 (2015). Finally, Defendants submit that Monroe is different than

   the present matter.

          Plaintiffs respond [Doc. 407] that they called a sufficient number of witnesses. They

   explain that thirty Plaintiffs testified (live or by deposition), which equals 19.23% of the 156

   member class. Plaintiffs claim that they testified about their own personal experiences as well as

   others; Kristen Creson provided damning testimony about the illegal practices; Bryan Tesh

   confirmed the widespread practice of altering WynTime records at the Crossing and Lodge; Jeff

   Cross confirmed that the “higher-ups” sanctioned and endorsed the illegal practices; and Plaintiffs

   presented documentary evidence on the issue of liability and the inaccuracy of Defendants’ time

   records.   Plaintiffs continue that its witnesses were not “hand-picked,” but instead, they were

   either part of a random sample group or the Plaintiffs that Defendants chose to depose, with the

   exception of Kristen Creson (a non-party). Plaintiffs claim that Defendants’ trial proof was the

   epitome of cherry-picking, since they chose to call only current employees, with the exception of

   Dr. Mitchem, their expert.

          Further, Plaintiffs submit that the proof adequately covered the four Tennessee properties.

   Plaintiffs state that out of the 156 Plaintiffs, thirty-one worked at the Glade, and that out of these

   thirty-one, three Plaintiffs testified live (Danny Chappell, Jeffrey Cross, and Jimmy Dixon) and

   one Plaintiff testified by deposition (Judith McGinty).         In addition, Plaintiffs submit that



                                                    138

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 138 of 157 PageID #: 16320
   Defendants designated deposition testimony from four other Plaintiffs who worked at the Glade

   (Craig Carson, Brandon Evans, Alexander Grimal, and Jeane Swafford). Plaintiffs assert that

   Defendants focus on the quantity of those testifying while ignoring the quality and expansiveness

   of their testimony. Plaintiffs continue that in Nashville, thirty out of the 156 Plaintiffs worked in

   Nashville and that two Nashville Plaintiffs testified at trial (Alana Cheij and Michael Pierce, Sr.),

   while two others testified by deposition (Mark Kost and Laurie McBride). With respect to

   Defendants’ argument that In-House Sales Representatives were disproportionally represented at

   trial, Plaintiffs state that Defendants provide no corroboration for Defendants’ numbers and that

   137 of the 156 Plaintiffs worked as an In-House Sales Representative at some point.

          Plaintiffs also argue that their proof was not internally inconsistent and irreconcilable.

   Plaintiffs claim that Defendants mischaracterize the testimony of Plaintiffs. In addition, Plaintiffs

   assert that although Defendants attempt to make artificial distinctions regarding the various ways

   that Plaintiffs testified about working off the clock, Plaintiffs testified to several of the many means

   utilized by Defendants to achieve its illegal practice of requiring Plaintiffs to work while not

   clocked in. Plaintiffs continue that Defendants’ hand-picked witnesses were not credible.

          Plaintiffs state that their proof satisfies, Mt. Clemens Pottery, O’Brien, and Monroe and

   that Defendants’ remaining arguments are meritless. Finally, they argue that expert proof is not

   required.

          Defendants respond [Doc. 412] that Plaintiffs have failed to demonstrate that the evidence

   they offered is representative of the class. Further, they assert that Plaintiffs’ legal arguments

   attacking Dr. Mitchem’s expert testimony are not based in fact and are not sufficient to satisfy

   their burden of proof. Finally, Defendants argue that this case is distinguishable from Monroe




                                                     139

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 139 of 157 PageID #: 16321
   because in the instant matter there is unrebutted expert testimony that Plaintiffs’ evidence is not

   representative.

          2. Standard for Representative Testimony

          The Court has reviewed both parties’ positions and finds Defendants’ position not well

   taken. The Court further finds that the testifying Sales Representatives were representative of the

   non-testifying Sales Representatives.

          As previously explained [Doc. 362], courts within the Sixth Circuit have allowed the use

   of representative testimony to establish liability and damages. As stated in Monroe, “In FLSA

   cases, the use of representative testimony to establish class-wide liability has long been accepted.”

   860 F.3d at 408. The court continued, “Our sister circuits overwhelmingly recognize the propriety

   of using representative testimony to establish a pattern of violations that include similarly situated

   employees who did not testify.” Id. The court concluded, “In the face of these consistent

   precedents, many with fact patterns similar to this case, FTS and UniTek point to no case

   categorically disapproving of representative testimony to prove employer liability to those in the

   collective action who do not testify.” Id. at 409; see also Morgan v. Family Dollar Store, Inc., 551

   F.3d 1233 (11th Cir. 2008) (“If anything, the Mt. Clemens line of cases affirms the general rule

   that not all employees have to testify to prove overtime violations.”).

          The same holds true with damages. Specifically, with respect to damages in a collective

   action, courts have also allowed representative testimony.         See Monroe, 860 F.3d at 411

   (explaining that the “testimony of fairly representative employees may be the basis for an award

   of back wages to nontestifying employees”) (quoting U.S. Dep’t of Labor v. Cole Enters., Inc., 62

   F3d 775, 781 (6th Cir. 1995)); Baden-Winterwood, 729 F. Supp. 2d at 989-92 (“Relying on Mt.

   Clemens Pottery, courts, including the Sixth Circuit, have uniformly held that damages in FLSA



                                                    140

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 140 of 157 PageID #: 16322
   overtime cases can be proved with testimony from a representative group of plaintiffs.”); Takacs

   v. Hahn Automotive Corp., No. C-3-95-404, 1999 WL 33127976, at *1-3 (S.D. Ohio Jan. 25, 1999)

   (Based upon Mt. Clemens Pottery, courts, including the Sixth Circuit, have uniformly held that

   damages in an FLSA overtime case can be proved, with testimony from a representative group of

   plaintiffs, and, thus, without requiring each plaintiff seeking same to testify.”).

          For example, in Takacs, an issue arose as to how the plaintiffs intended to prove damages

   in a FLSA case. 1999 WL 33127972, at *1. Defendants argued that at least one plaintiff from

   each location needed to testify. Id. Plaintiffs responded that Defendants’ suggestion would result

   in nearly all of them being required to testify. Id. The court determined, “There is no magic

   formula for the number or percentage of plaintiffs who must testify.” Id. The court relied upon a

   Second Circuit decision that explained as follows:

                  Although [defendant] is correct that most cases resting on
                  representational evidence “involve a fairly small employee
                  population, a limited number of employee positions, and uniform
                  work tasks,” Reich v. Southern Maryland Hosp., Inc., 43 F.3d 949,
                  952 (4th Cir. 1995); see, e. g., Bel–Loc Diner, 780 F.2d at 1115
                  (testimony of 22 employees for DOL supporting award of backpay
                  to group of 98 employees); Donovan v. Williams Oil Co., 717 F.2d
                  503, 505 (10th Cir. 1983) (testimony of 19 supported award to group
                  of 34); Donovan v. Burger King Corp., 672 F.2d 221, 224–25 (1st
                  Cir. 1982) (testimony of six employees from six restaurants, with
                  stipulations from 20 others, found to support backpay award to 246
                  employees at 44 restaurants); Brennan v. General Motors
                  Acceptance Corp., 482 F.2d 825, 826, 829 (5th Cir.1973) (testimony
                  of 16, award to 26), there is no bright line formulation that mandates
                  reversal when the sample is below a percentage threshold. It is
                  axiomatic that the weight to be accorded evidence is a function not
                  of quantity but of quality, DeSisto, 929 F.2d at 793 (“ ‘the adequacy
                  of the representative testimony necessarily will be determined in
                  light of the nature of the work involved, the working conditions and
                  relationships, and the detail and credibility of the testimony” ’)
                  (quoting, with approval, brief of Secretary of Labor), and that,
                  depending on the nature of the facts to be proved, a very small
                  sample of representational evidence can suffice. Cf. Mt.
                  Clemens, 328 U.S. at 690–91 (testimony of 8 of approximately 300


                                                    141

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 141 of 157 PageID #: 16323
                  employees, or 2.7% of group, sufficient to establish entitlement to
                  recovery under the FLSA). Our focus is not on the numbers in
                  isolation but on whether the district court could reasonably conclude
                  that there was “sufficient evidence to show the amount and extent
                  of ... [uncompensated] work as a matter of just and reasonable
                  inference.” Id. at 687.

   Id. at *2 (quoting Reich v. Southern New England Telecommunications Corp., 121 F.3d 58, 67-68

   (2d Cir. 1997)). The court determined that plaintiffs may attempt to prove damages with testimony

   from only four to six members but that they bear the risk of failing to establish that the testifying

   employees are fairly representative. Id.

          With the above analysis in mind, the Court will now determine whether the testifying

   Plaintiffs are fairly representative of those who did not testify so that the Court can reasonably

   conclude that there was sufficient evidence to show the amount and extent of uncompensated work

   as a matter or just and reasonable inference. See Baden-Winterwood, 729 F. Supp. 2d at 997.

          3.      Findings of Fact and Conclusions of Law

          After hearing the evidence in this case, and for the reasons further explained below, the

   Court finds that the Sales Representatives’ testimony is representative of the non-testifying Sales

   Representatives and is sufficient to show to the Court’s satisfaction the extent and amount of

   uncompensated hours.      As an initial matter, the Court observed during the trial that Plaintiffs’

   testimony was fairly repetitive, as well as the cross examinations of the Plaintiffs. Further, the

   evidence presented established that the job expectations among the positions were generally

   uniform. See Baden-Winterwood, 729 F. Supp. 2d at 997. For instance, the Sales Representatives’

   job was to sell. As explained above, the only difference between In-House Sales Representatives,

   Front-Line Sales Representatives, and Discovery Sales Representatives was to whom they were

   selling. The Sales Representatives conducted tours in hopes of selling a timeshare or discovery

   package. Further, the Sales Representatives worked common schedules. They were required to


                                                   142

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 142 of 157 PageID #: 16324
   report to work each morning at approximately 8:00 a.m. for a morning meetings, except Discovery

   Sales Representatives who stayed later. Afterwards, tours began in the morning, around noon, and

   in the afternoon. If they were not on tour, they shadowed other Sales Representatives, followed

   up with clients, or waited on the tours. The Court observes that none of the Plaintiffs had a specific

   end time because it ultimately depended on customers’ actions (i.e., whether Sales Representatives

   were still discussing sales with customers, whether customers were still checking in, or whether

   customers had agreed to purchase). However, the Court has taken this into account when

   determining the average. Further, the Court notes that Sales Representatives were scheduled five

   days a week but often worked “six-ones.” Further, Plaintiffs testified that it was common to come

   in on their day off to work if they had a continuance or a hero tour scheduled. In addition, all

   Plaintiffs were paid using the same compensation system—that is, commissions with minimum

   wage being recouped by Defendants. More importantly, Plaintiffs testified uniformly about the

   FLSA violations. Specifically, Plaintiffs testified that they could not record more than forty hours,

   despite working more than forty hours, and that managers edited, falsified, and “doctored” their

   time records.

          Defendants argue that Plaintiffs failed to prove at trial that their small, hand-picked sample

   of witnesses was sufficiently representative to show class wide liability and damages. Defendants

   assert that Plaintiffs did not have expert proof to establish their sample was reliable or

   representative. The Court finds, however, that Defendants’ arguments are misplaced. Whether

   there is sufficient evidence in the record to support a conclusion that can be applied to the collective

   action is a decision reserved for the undersigned. As previously noted by the Court, if Plaintiffs

   establish that they are similarly situated and therein chose to rely on a sample at trial, they risk not

   being able to establish liability and damages on a representative basis. See Takacs, 1999 WL



                                                     143

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 143 of 157 PageID #: 16325
   33127976, at *3. Here, the Court finds that Plaintiffs were able to establish liability and damages

   on a representative basis. Defendants continue that Plaintiffs “ask the Court to presume—without

   any proof—that the testimony of their 30 hand-picked trial witnesses were representative of 156

   opt-in Plaintiffs.” [Doc. 404 at 7]. The proof of representativeness, however, was the Plaintiffs’

   own testimony with respect to their own experiences and what they observed on behalf of others.

   The Court is satisfied that Plaintiffs have established liability and damages with respect to the non-

   testifying Sales Representatives. The overall testimony of Plaintiffs’ witnesses was so repetitive

   and consistent on the key issues and that to have heard more witnesses would have only lengthened

   the already long trial (three weeks). Further, if there were other witnesses who would have testified

   contrary to these Plaintiffs called, the Defendants were free to call them as witnesses. Their failure

   to call more witnesses than they did is telling.

           Defendants again rely on Tyson Foods, Inc., v. Bouaphakeo, 136 S. Ct. 1036 (2015). The

   Court has already explained why the instant matter is different than Tyson Foods, and the Court

   will not repeat its analysis of Tyson Foods herein. See [Doc. 363].           Defendants also rely on

   Espenscheid v. DirectSat USA, LLC, 705 F.3d 770, 776 (7th Cir. 2013), stating, “The Seventh

   Circuit affirmed and rejected the use of ‘representative testimony’ to prove FLSA violations where

   the Plaintiffs failed to provide expert statistical analysis to set forth the evidentiary basis for their

   ‘sample’ and extrapolation.” [Doc. 404 at 9]. As noted by Plaintiffs, however, the Sixth Circuit

   has expressly stated that Espenscheid is at odds with Sixth Circuit precedent:

                   Lastly, FTS and UniTek argue that Espenscheid—a Seventh Circuit
                   case affirming the decertification of a collective action seeking
                   unpaid overtime—compels decertification here. 705 F.3d at 773.
                   Espenscheid, however, is based on Seventh Circuit authority and
                   specifically acknowledges that it is at odds with Sixth Circuit
                   precedent. Id. at 772 (citing O'Brien, 575 F.3d at 584). Though
                   recognizing the differences between Rule 23 class actions and FLSA
                   collective actions—and admitting that Rule 23 procedures are


                                                      144

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 144 of 157 PageID #: 16326
                  absent from the statutory provisions of the FLSA—the Seventh
                  Circuit determined that “there isn't a good reason to have different
                  standards for the certification of the two different types of action.”
                  Id. This conflicts with our precedent. Explaining that Congress
                  could have but did not import the Rule 23 predominance
                  requirement into the FLSA and that doing so would undermine the
                  remedial purpose of FLSA collective actions, we have refused to
                  equate the FLSA certification standard for collective actions to the
                  more stringent certification standard for class actions under Rule 23.
                  O'Brien, 575 F.3d at 584, 585–86.

                  The difference between the Seventh Circuit's standard for collective
                  actions and our own is the controlling distinction for the issues
                  before us. The facts and posture of Espenscheid, however, also
                  distinguish it from this case. There, the district court decertified the
                  collective action before trial, after which the parties settled their
                  claims but appealed the decertification. Reviewing for abuse of
                  discretion, the Seventh Circuit affirmed the district court. The circuit
                  opinion noted that the plaintiffs had recognized the possible need for
                  individualized findings of liability for a class of 2,341 members—
                  nearly 10 times larger than the group here—but “truculently”
                  refused to accept a specific plan for litigation or propose an
                  alternative and failed to specify the other kinds of evidence that they
                  intended to use to supplement the representative testimony.
                  Espenscheid, 705 F.3d at 775–76; see Thompson v. Bruister &
                  Assocs., Inc., 967 F.Supp.2d 1204, 1216 (M.D. Tenn. 2013)
                  (holding that Espenscheid cannot “conceivably be read as an overall
                  indictment of utilizing a collective action as a vehicle to establish
                  liability in piece-rate cases ... because the Seventh Circuit was
                  presented with little choice but to hold as it did, given the lack of
                  cooperation by plaintiffs' counsel in explaining how they intended
                  to prove up their case”). The opinion additionally references no
                  evidence similar to that supporting the time-shaving policy here.
                  And the proposed, but not agreed-upon, representative sample in
                  Espenscheid constituted only 1.8% of the collective action, and the
                  method of selecting the sample was unexplained. Espenscheid, 705
                  F.3d at 774.

   Monroe, 860 F.3d at 405–06; see also Biggs v. Quicken Loans, Inc., No. 10-cv-11928, 2014 WL

   12661985, at *3 n.2 (E.D. Mich. Feb. 19, 2014) (explaining that Espenscheid relies on the Seventh

   Circuit’s rule that certification of Rule 23 class actions and § 216 collective actions have identical

   standards and the Sixth Circuit has held the opposite).



                                                    145

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 145 of 157 PageID #: 16327
           Defendants continue that the unrebutted expert evidence at trial showed that Plaintiffs’

   small, hand-picked sample was not representative. Defendants assert that Dr. Mitchem described

   in detail that reasons why the sample did not meet commonly accepted standards of statistical

   proof and that he exposed fatal flaws in Plaintiffs’ claim that their sample witnesses were

   representative and reliable. Further, Defendants argue that Dr. Mitchem explained that the 47

   individuals in Plaintiffs’ sample were not random and that Plaintiffs only offered 24 individuals’

   testimony (nineteen at trial and five by deposition) that were originally part of the sample of 47.

   Defendants state that six other individuals who were not part of the sample were selected as

   additional trial witnesses.

           As an initial matter, the Court observes that Defendants can hardly complain about

   Plaintiffs’ amount of proof, given that they have objected at every request to effort to try this case

   fairly and efficiently.       Defendants refused to ever propose a fairly representative size or

   configuration and essentially persisted that every Plaintiff needed to be called and/or testify and

   that no representative proof would be substantially reliable. Defendants originally agreed that the

   parties should be limited in the number of depositions taken. [Doc. 203]. Later, in December

   2016, Plaintiffs presented their representative sample and Defendants insisted that representative

   sampling was not appropriate and that discovery should be conducted as to each Plaintiff. The

   Court limited discovery but granted Defendants leave to request additional discovery should they

   need it. When Plaintiffs filed their witness list, Defendants objected to additional witnesses,

   despite the fact that Defendants had deposed many of the additional witnesses.48 The Court further

   observes that Defendants identified 206 witnesses on their witness list [Doc. 312] but only called

   nine witnesses to trial.


           48
              As the Court made clear in its Order [Doc. 374], the Court would not allow Plaintiffs to
   call party witnesses that had not been deposed by Defendants.

                                                    146

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 146 of 157 PageID #: 16328
          Further, while Defendants claim that Dr. Mitchem’s testimony was unrebutted, the Court

   finds otherwise. First, the Court did not find Dr. Mitchem’s testimony persuasive at all. Dr.

   Mitchem acknowledged that some of his findings were based on the recorded hours with the

   understanding that Plaintiffs claimed that they worked more hours. It appeared to the Court that

   his “some” equaled “most.” The variation of the recorded hours is no help to the Court because

   based on the overwhelming evidence, the recorded hours were not reliable and grossly inaccurate

   and any testimony based on punches would not be reliable or credible. He also testified that for

   him, a representative sample would have required 120 to 150 Plaintiffs. He also based his opinions

   on some unsubstantiated correlation of variances between the inaccurate recorded hours and the

   expected variation in “off the clock” hours, using such unreliable data (i.e., false, inaccurate, and

   doctored time records) to determine off the clock hours, which makes no logical, scientific or

   economic sense, nor did he establish the basis for such a method, nor was it established as reliable

   or credible.   In fact, the evidence supports the fact that managers altered time on a routine basis

   and basically did whatever was necessary in WynTime to keep hours under forty.           In addition,

   the Court questioned Dr. Mitchem as follows:

                  The Court:      All right. Let me just ask him a couple of question, if
                                  you don’t mind.

                                  So if you had a sample, let’s say, of 47, if 46 people
                                  have testified to the same thing, is it your position I
                                  still need to hear from the 47th?

                  The Witness: If the 47 people were chosen at random, then I would
                               say no. But I don’t believe that they were.

                  The Court:      Okay. And if they were chosen at random and I’ve
                                  heard from 43 of them and they all say the same
                                  thing, do I need to hear from the next four.

                  The Witness: No.



                                                    147

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 147 of 157 PageID #: 16329
                 The Court:     If I heard from half of them and they all said the same
                                thing, do I need to hear from the other half?

                 The Witness: No.

                 ....

                 The Court:     If I heard from a third of them or a fourth of them and
                                they all said the same thing, isn’t that the whole
                                point, that you don’t have to hear from the rest of
                                them?

                 The Witness: Yeah. So I think what you’re describing is adjusting
                              the size of the sample based on information that
                              you’re learning from the sample.

                 The Court:     Right.

                 The Witness: Right.

                 The Court:     So if I’ve heard the same thing from everybody, do I
                                need to hear from more?

                 The Witness: No. At some point you could determine that you are
                              reasonably confident that what you’ve heard from
                              the smaller sample is an accurate reflection of the
                              larger population.

                 The Court:     Okay.

                 The Witness: However, again, I just want to point out that that is if
                              the sample that you heard from was constructed in an
                              unbiased scientific way.

   [Doc. 397 at 159-60].49    The Court finds that from the testimony heard, the undersigned is

   reasonably confident that what was heard is an accurate reflection of the larger population. The


          49
            The Court observes that Dr. Mitchem’s testimony was also inconsistent with Defendants’
   proof. For instance, Dr. Mitchem opined that it was reasonable to conclude that an individual who
   made more money worked more. [Doc. 397 at 172]. According to Connie McGlothin,
   Defendants’ witness, David Nelon worked 25 to 30 hours each week. During the cross
   examination of David Nelon, he identified his W2s that showed approximately $200,000 each for
   2010 and 2011 and $100,000 each for 2012 and 2013. [Ex. 4037]. McGlothin testified, however,
   that Bryan Tesh worked approximately 30 to 35 hours each week. During Bryan Tesh’s cross
   examination, he also identified his W2s, which showed substantially less earnings than Nelon.

                                                  148

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 148 of 157 PageID #: 16330
   Court has considered that Pierce, Sr., Thomas Garrett, James Abbott, Bryan Tesh, Jeff Cross, and

   Brett Williamson were not part of Plaintiffs’ original sample. For the most part, however, their

   testimony was consistent with the other Plaintiffs. Further, Defendants deposed these individuals,

   so their testimony was of no surprise. Finally, as mentioned above, Defendants could have called

   the remaining Plaintiffs in the Plaintiffs’ original sample but chose not to do so. They also chose

   not to call their own management people, who were accused of causing and now allowing the

   altering of time records.

          Defendants argue that Plaintiffs’ purported averages vary and that if their averages are

   taken as true, some Plaintiffs will be overpaid and some Plaintiffs will be underpaid. Damages in

   collective actions are not exact, nor could they be given that Defendants did not keep accurate time

   records. Here, Plaintiffs have specifically requested an average for all Plaintiffs, and taking an

   average naturally means that some Plaintiffs may be overpaid and some may be underpaid.

   Regardless, this does not affect Defendants as the amount of overtime remains the same.

          Defendants also assert that the use of statistically defective representative testimony to

   impose liability in this case would deny them due process. The Court, however, finds that

   Defendants were not denied due process. Defendants were free to challenge the testimony of each

   witness, which they did through cross examination, and they were allowed to call anyone whom

   they wanted to call to the stand. Further, Defendants do not explain what defenses that they were

   not allowed to explore with the collective action.

          In addition, Defendants assert that Plaintiffs’ trial witnesses varied significantly from the

   class and from Plaintiffs’ sample. Defendants continue that Plaintiffs’ proof was unrepresentative




   [Ex. 5209]. Thus, if Connie McGlothin’s testimony were true, Dr. Mitchem’s conclusion would
   not be accurate.

                                                   149

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 149 of 157 PageID #: 16331
   of all 156 Plaintiffs and that the Smokies and In-House Sales Representatives were

   overrepresented.

          Both parties agree that 156 Plaintiffs are involved in this lawsuit. With respect to the Glade

   and Nashville locations, the Court observes as follows:

                 Out of 156 Plaintiffs, thirty-one Plaintiffs worked at the Glade.
                  Three Plaintiffs from the Glade testified at trial (Danny Chappell,
                  Jeffrey Cross, and Jimmy Dixon) and one testified by deposition
                  (Judith McGinty). In addition, Defendants designated depositions
                  of four other Plaintiffs who worked at the Glade (Craig Carson,
                  Brandon Evans, Alexander Grimal and Jeane Swafford). Thus, the
                  Court had testimony from eight Plaintiffs at the Glade.

                 Out of 156 Plaintiffs, thirty Plaintiffs worked at the Nashville
                  location. Two Plaintiffs from Nashville testified at trial (Alana Cheij
                  and Michael Pierce, Sr.) and two others testified by deposition
                  (Mark Kost and Lauie McBride). In addition, Defendants designated
                  and Plaintiffs counter-designated a deposition from one other
                  Plaintiff who worked at the Nashville location (Randolph Navarro).
                  The Court also heard the unrebutted testimony of Kristen Creson,
                  who was in management in Nashville.

          While not necessarily dispositive, see Takacs, 199 WL 331127976, at *3 (noting that

   “[a]lthough the Defendant has cited a number of cases in which courts commented that there was

   testimony from an employee at each location, it has not cited any case in which a court said that

   such was an absolute requirement”), the Court observes that multiple Plaintiffs from each location

   and from each sales position testified in this case. With respect to Defendants’ argument that In-

   House Sales Representatives were overrepresented, the Court notes that 137 out of 156 Plaintiffs

   worked as an In-House Sales Representative at some point, see [Doc. 407 at 6], so the fact that

   more In-House Sales Representatives testified can only be expected. Moreover, the Court finds

   Defendants’ arguments too focused on the quantity of testimony rather than the quality. As

   mentioned above, there was overwhelming evidence, including testimony and documentary

   evidence, showing that Sales Representatives were not allowed to record over forty hours despite


                                                   150

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 150 of 157 PageID #: 16332
   working forty hours and that managers doctored timecards to keep Sales Representatives’ hours

   under forty. In fact, three managers located in Nashville, Glade, and the Crossing testified that

   Sales Representatives worked while not clocked in. In addition, all Sales Representatives testified

   that they were told that they were not allowed to record more than forty hours.

           As emphasized earlier, “[i]t is axiomatic that the weight to be accorded evidence is a

   function not of quantity but of quality . . . and that, depending on the nature of the facts to be

   proved, a very small sample of representational evidence can suffice.” Reid, 121 F.3d at 67-68;

   see also Mt. Clemens Pottery, 382 U.S. at 690-91 (testimony of 8 of approximately 300 employees,

   or 2.7% of the group, sufficient to establish entitlement to recovery under the FLSA). As further

   explained by Reid, “Our focus is not on the numbers in isolation but on whether the district court

   could reasonably conclude that there was “sufficient evidence to show the amount and extent of

   . . . [uncompensated] work as a matter of just and reasonable inference.” Reid, 121 F.3d at 67-68

   (quoting Mt. Clemens Pottery, 328 U.S. at 687) (brackets in Reid). Here, the Court finds that the

   evidence was sufficient to show the amount and extent of uncompensated work as a matter of just

   and reasonable inference and that the testifying Plaintiffs are representative of the non-testifying

   Plaintiffs.

           Defendants continue that the testimony was internally inconsistent and irreconcilable.

   Defendants emphasize that Plaintiffs’ testimony regarding their average number of hours were

   different and that they offered different theories of proof relating to working off the clock. The

   Court has already addressed Defendants’ arguments regarding Plaintiffs’ averages. Further, while

   Defendants assert that the “[s]uch variation among even their basic theories of recovery is

   additional evidence of the need to decertify the collective [action],” [Doc. 404 at 19], the Court

   disagrees. All Plaintiffs testified that they were prohibited from recording over forty hours, despite



                                                    151

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 151 of 157 PageID #: 16333
   working forty hours, and that managers altered their timecards. Moreover, a similar argument was

   raised in Monroe:

                 The dissent asserts that FTS Technicians allege “distinct” violations
                 of the FLSA and “define the company-wide ‘policy’ at such a lofty
                 level of generality that it encompasses multiple policies.” (Dis. at
                 418.) The definition of similarly situated does not descend to such a
                 level of granularity. The Supreme Court has warned against such a
                 “narrow, grudging” interpretation of the FLSA and has instructed
                 courts to remember its “remedial and humanitarian” purpose, as
                 have our own cases. See Tenn. Coal, Iron & R.R. Co., 321 U.S. at
                 597, 64 S. Ct. 698; Keller, 781 F.3d at 806; Herman, 308 F.3d at
                 585. Many FLSA cases do focus on a single action, such as the
                 donning and doffing cases that the dissent's reasoning would suggest
                 is the only situation where representative proof would work. But
                 neither the statutory language nor the purposes of FLSA collective
                 actions require a violating policy to be implemented by a singular
                 method. The dissent cites no Sixth Circuit case that would compel
                 employees to bring a separate collective action (or worse, separate
                 individual actions) for unreported work required by an employer
                 before clocking in, and another for work required after clocking out,
                 and another for work required during lunch, and yet another for the
                 employer's alteration of its employees' timesheets. Such a narrow
                 interpretation snubs the purpose of FLSA collective actions.

                 The dissent concludes that FTS Technicians' claims do “not do the
                 trick” because a “company-wide ‘time-shaving’ policy is lawyer
                 talk for a company-wide policy of violating the FLSA.” (Dis. at
                 419.) But FTS Technicians' claims do not depend on “lawyer talk”;
                 they are based on abundant evidence in the record of employer
                 mandated work off the clock. That an employer uses more than one
                 method to implement a company-wide work “off-the-clock” policy
                 does not prevent employees from being similarly situated for
                 purposes of FLSA protection. This is not a new concept to our court
                 or to other courts. In accordance with O'Brien, we have approved
                 damages awards to FLSA classes alleging that employers used
                 multiple means to undercompensate for overtime. See, e.g., U.S.
                 Dep't of Labor v. Cole Enters., Inc., 62 F.3d 775, 778 (6th Cir. 1995)
                 (approving damages award where employers required employees to
                 work uncompensated time both before *404 and after their
                 scheduled shifts and to report only the scheduled shift hours on their
                 timesheets). Other circuits and district courts have done so as
                 well. See McLaughlin v. Ho Fat Seto, 850 F.2d 586, 588 (9th Cir.
                 1988) (affirming damages award where employees gave varied
                 testimony on the means employer used to underpay


                                                  152

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 152 of 157 PageID #: 16334
                   overtime); Donovan v. Simmons Petroleum Corp., 725 F.2d 83, 84
                   (10th Cir. 1983) (affirming damages award where employer failed
                   to compensate for overtime both before and after work, at different
                   locations); Wilks v. Pep Boys, No. 3:02-0837, 2006 WL 2821700, at
                   *5 (M.D. Tenn. Sept. 26, 2006) (denying motion to decertify class
                   that alleged employer deprived employees of overtime
                   compensation by requiring them to work off the clock and shaving
                   hours from payroll records).

                   Like the plaintiffs in O'Brien, FTS Technicians' claims are unified
                   by common theories: that FTS executives implemented a single,
                   company-wide time-shaving policy to force all technicians—either
                   through direct orders or pressure and regardless of location or
                   supervisor—to underreport overtime hours worked on their
                   timesheets. See O'Brien, 575 F.3d at 584–85; see also Brennan v.
                   Gen. Motors Acceptance Corp., 482 F.2d 825, 829 (5th Cir. 1973)
                   (affirming finding of uncompensated overtime where employees
                   understated overtime because of pressure brought to bear by
                   immediate supervisors, putting upper management on constructive
                   notice of potential FLSA violations). Based on the record as to FTS
                   Technicians' factual and employment settings, therefore, the district
                   court did not abuse its discretion in finding FTS Technicians
                   similarly situated.

   Monroe, 860 F.3d 389, 403–04. The Court agrees with the above analysis and finds it applicable

   to the instant case.

           Defendants continue that its witnesses further demonstrate the individual nature of

   Plaintiffs’ claims and the extensive variation among Sales Representative and that the trial

   testimony of Plaintiffs’ witnesses was vague and insufficient. The Court has already addressed

   the credibility of the parties’ witnesses and the sufficiency of Plaintiffs’ proof and will not repeat

   its findings here. Defendants assert that at least six Plaintiffs testified that they did know the hours

   of other Sales Representatives, but other Plaintiffs were able to testify to such, and as noted above,

   there is ample evidence that Defendants violated the FLSA.50 Further, while Defendants argue



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             Defendants name David Nelon as someone who could not testify to other sales
   representatives’ hours; however, Nelon specifically testified that, as a manager, he edited
   timecards to ensure this his sales representatives’ hours remained under forty.

                                                     153

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 153 of 157 PageID #: 16335
   that Plaintiffs spoke in vague generalities and speculated, “[t]he employer cannot be heard to

   complain that damages lack the exactness and precision of measurement that would be possible

   had he kept records in accordance with the requirements of [the FLSA].” Mt. Clemens Pottery,

   328 U.S. at 768-88.

          Finally, Defendants’ arguments with respect to Tyson Foods and Monroe have already been

   addressed herein. See also [Doc. 362]. Defendants assert a few arguments, however, that the

   Court has not previously addressed. Defendants argue that Monroe is not applicable here because

   the parties in Monroe essentially stipulated that the witness sample was representative, there was

   an abundance of evidence in Monroe of a company-wide-time-shaving policy that originated from

   Defendants’ corporate office, and that in Monroe, plaintiffs held the same position, compensation

   plan, and job duties, regardless of location. [Doc. 404 at 23].

          The Court disagrees with Defendants’ assertions. Here, there was ample evidence that

   upper management, including sales managers, directors of sales, vice presidents, and human

   resource officers, knowingly violated the FLSA. Further, the Court finds Plaintiffs are similarly

   situated in that they had the same job duties, were paid utilizing the same compensation method,

   and kept track of hours using the same time system, despite their different job titles.        Finally,

   Defendants argue that in Monroe, the parties essentially stipulated that the sample was

   representative. In Monroe, defendants agreed to limit discovery to a representative sample of 50

   opt-in plaintiffs and to approach the court after discovery regarding a trial plan based on

   representative proof that would propose a certain number of plaintiffs from the pool that could be

   called as witnesses. 860 F.3d at 410. After discovery closed, defendants objected to the use of

   representative proof at trial. Id. The Sixth Circuit held, “[T]he district court’s denial of that motion

   is not grounds for reversal at this stage.” Id.



                                                     154

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 154 of 157 PageID #: 16336
          Here, the parties agreed to limit the number of depositions, and the undersigned adopted

   the parties’ agreement as outlined in the Scheduling Order: “The parties have agreed that the

   Defendants will be allowed to take up to twenty-four (24) additional depositions.” [Doc. 203 at

   3]. During the Scheduling Conference, the Court instructed the parties to provide their proposed

   sample representatives, and the undersigned scheduled a hearing on the sample representation on

   December 12, 2016. [Id.]. Despite agreeing to limit depositions, Defendants argued at the hearing

   that representative testimony was inappropriate and that they should be allowed to take each

   Plaintiffs’ deposition.   The Court limited discovery to Plaintiffs’ representative sampling but

   granted Defendants’ leave to request additional discovery beyond the representative list. [Doc.

   215]. Defendants subsequently sought leave to take additional depositions of the members in

   Plaintiffs’ sample representation, and the Court granted [Doc. 254] this request. Later, Defendants

   filed a motion for decertification, wherein the Court reviewed the evidence before it, and the Court

   determined that Plaintiffs were similarly situated to proceed as a collective action. Defendants’

   arguments herein do not change the Court’s analysis.

          Moreover, the Court emphasizes that Defendants deposed all Plaintiffs who testified, and

   the Court specifically instructed the parties that any Plaintiff who was supposed to testify had to

   participate in a deposition with Defendants. Finally, Defendants had the opportunity to call other

   Sales Representatives and other managers, but they simply chose not to do so. Monroe, 860 F.3d

   at 410 (defendants “had the opportunity to call other technicians but chose not to”); Morgan, 551

   F.3d at 1278 (“Family Dollar cannot validly complain about the number of testifying plaintiffs

   when . . . Family Dollar itself had the opportunity to present a great deal more testimony from

   plaintiff store managers, or its own district managers, [but] it chose not to.”). Accordingly, the

   Court finds Defendants’ arguments not well taken.



                                                   155

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 155 of 157 PageID #: 16337
   IV.     CONCLUSION

           Accordingly, for the reasons explained above, the Court finds the Plaintiffs performed

   work for which they were not properly compensated and that the amount and extent of the work

   performed can be and has been determined as a matter of just and reasonable inference. The Court

   finds the Defendants failed to come forward with a credible and precise amount of the work

   performed and failed to negate the reasonableness of the inference drawn by the Court from all the

   evidence in this case. Further, the Court finds that Defendants violated the FLSA by prohibiting

   Sales Representatives from accurately recording their time and by instructing sales managers to

   edit timecards to ensure Sales Representatives’ timecards did not reflect over forty hours per week.

   The Court finds that liquidated damages shall be awarded and that the statute of limitations shall

   be three years. Further, the Court finds that testifying Sales Representatives fairly represent the

   non-testifying Sales Representatives. The Court finds that the Sales Representatives averaged 52

   hours each week, during the Recovery Period and as such are entitled to 12 hours of overtime per

   week.

           The Court arrives at its conclusion by considering all of the testimony of all the various

   witnesses, as well as the exhibits provided. Obviously, the Court finds some testimony more

   credible, reasonable, and persuasive than other testimony, and this has been set forth in this

   opinion. The Court concludes that the Sales Representatives worked five to six days per week

   from March to December and something less in January and February. The Court is mindful that

   the time records are essentially of no use due to their falsity and inaccuracy. The Court is also

   mindful that the estimates of hours of all witnesses were, at best, estimates of hours worked years

   ago. The Court is also mindful that each witness may have been somewhat biased, high or low, in

   their respective testimony and estimates on hours worked. Nonetheless, the Court is comfortable



                                                   156

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 156 of 157 PageID #: 16338
   that based on all the testimony that Sales Representatives averaged 52 hours per week. This means

   that they worked an average of 12 hours of overtime per week for the three year Recovery Period.

           Finally, the Court observes that following the trial in this matter, the parties agreed that if

   the Court were to find violations of the FLSA, they would be able to calculate and agree on the

   appropriate dollar amount of damages in prompt fashion as this task was purely a mathematical

   function.       At this point, the Court will not enter a monetary Judgment until the parties have

   reported to the Court on the amount of damages, given the Court’s Memorandum Opinion. The

   Court will thereafter enter a final Judgment reflecting the above findings and the parties’ reports

   on the damage calculation. The parties shall file a joint status report on the calculation of damages

   on or before noon on February 2, 2018. If the parties cannot agree, they shall file separate reports

   on the same explaining their respective proposed calculation by noon on February 2, 2018. The

   Court will award Plaintiffs reasonable attorney’s fees pursuant to 29 U.S.C. § 216(b). Plaintiffs

   shall file their motion requesting attorney’s fees within thirty days of entry of the final Judgment

   in this case.

                                                  ORDER ACCORDINGLY:

                                                       s/ C. Clifford Shirley, Jr.
                                                  United States Magistrate Judge




                                                    157

Case 3:13-cv-00641-DCP Document 427 Filed 01/29/18 Page 157 of 157 PageID #: 16339
